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                     EXHIBIT	  4	  
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Contact
                                      James Olwell
www.linkedin.com/in/james-olwell-     Cloud Technical Solutions Engineer (Networking) at Google
b72212aa (LinkedIn)                   Austin

Top Skills                            Summary
Security
                                      I am a Cloud Technical Solutions Engineer (Networking focus) at
Networking
                                      Google, with previous work experience at Cisco. I am a graduate
Network Security
                                      of Santa Clara University for a bachelor's in computer engineering.
Certifications                        I am an Army veteran, having experience as an Information
                                      Technology specialist.
ITIL Foundation in IT Service
Management
                                      I have experience in problem solving, critical thinking, leadership,
                                      and customer support, and I am looking to acquire more technical
                                      proficiency and expertise with my education.



                                      Experience
                                      Google
                                      Cloud Technical Solutions Engineer (Networking)
                                      December 2020 - Present (2 months)
                                      Austin, Texas, United States

                                      I am a Cloud Technical Solutions Engineer with a Networking focus, supporting
                                      the Google Cloud Platform.


                                      Cisco
                                      Technical Consulting Engineer
                                      July 2017 - December 2020 (3 years 6 months)
                                      Raleigh-Durham, North Carolina Area

                                      Member of Cisco's Managed Voice team under the Cisco Customer
                                      Experience (CX) organization. My duties included performing operations
                                      troubleshooting and support of network voice and data devices for multiple
                                      different customer environments in support of their voice network, while
                                      providing excellent customer service and communication while resolving their
                                      issues and incidents.


                                      Santa Clara University
                                      Student Network Technician
                                      February 2016 - June 2017 (1 year 5 months)
                                      Santa Clara, California

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                   Student worker that helped support university implementation, maintenance,
                   and administration of their telecommunications network. I also troubleshooted
                   network outages and service disruptions for clients on the university network.


                   Cisco
                   Intern
                   June 2015 - September 2015 (4 months)
                   San Jose

                   As an intern, I was a member of the Cisco Security Incident Response Team
                   (CSIRT), which is the main incident response team for Cisco users.


                   US Army
                   Information Technology Specialist / S-6
                   June 2011 - May 2014 (3 years)
                   Primarily responsible as an IT Help Desk support technician. Additional
                   responsibilities included, but not limited to, video teleconference technician,
                   and Information Assurance Support Officer, responsible for over $250,000
                   worth of information systems.




                   Education
                   Santa Clara University
                   Computer Engineering, Computer Engineering · (2014 - 2017)


                   United States Military Academy at West Point
                   Systems Engineering, Systems Engineering · (2007 - 2011)




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Contact
                                   Nathan D.
www.linkedin.com/in/kirbyquerby    Software Engineer at Google
(LinkedIn)                         Austin

Top Skills                         Experience
Java
Go                                 Google
JavaScript                         Software Engineer
                                   July 2020 - Present (7 months)
                                   Austin, Texas, United States


                                   Orijtech
                                   Software Developer
                                   September 2019 - May 2020 (9 months)
                                   Various work related to observability including contributions to the Go
                                   programming language tools and benchmarks of Go logging frameworks.


                                   Google
                                   Software Engineering Intern
                                   May 2019 - August 2019 (4 months)
                                   Sunnyvale, CA

                                   ● Worked on the Cloud Databases team.
                                   ● Created monitoring agent to sample and report database query performance
                                   metrics to time-series database.
                                   ● Exposed an API for query metrics, allowing customers to determine
                                   performance bottlenecks from the GCP Console.
                                   ● Combined information about running queries with finished query information
                                   to provide smoother information about long-running queries that span multiple
                                   sampling periods.


                                   Google
                                   Software Engineering Intern
                                   May 2018 - August 2018 (4 months)
                                   Sunnyvale, CA

                                   ● Worked on the Cloud SQL team.
                                   ● Redesigned Cloud SQL proxy code to tunnel connections over gRPC rather
                                   than raw TCP.
                                   ● Project was extended to involve adding gRPC functionality to Java socket
                                   factory in addition to the go proxy client.



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                   ● Explored replacing server-side code with C++ to improve performance and
                   created working demos with measurable improvement in memory usage that
                   supported more than twice as many connections as the existing go server.


                   OTI Studios
                   Software Engineer
                   March 2017 - May 2018 (1 year 3 months)
                   ● Worked on multiplayer game with dynamically generated world with a Unity
                   client, Java server, and PostgreSQL database.
                   ● Implemented UDP and TCP pipelines to transmit game data using Protocol
                   Buffers.
                   ● Created backend for server-dictated physics with client-side movement
                   prediction and smoothing.
                   ● Delegated server work to and merged in changes from other developers




                   Education
                   The University of Texas at Austin
                   Bachelor of Science - BS, Computer Science · (2017 - 2020)


                   Seven Lakes High School
                   · (2013 - 2017)




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Contact
                                      Aaron Michaels
www.linkedin.com/in/                  Software Engineer, Google
aaronjmichaels (LinkedIn)             Austin

Top Skills                            Experience
JavaScript
React.js                              Google
Public Speaking                       Software Engineer
                                      May 2019 - Present (1 year 9 months)

Languages
Thai (Native or Bilingual)            Booking Holdings (NASDAQ: BKNG)
English (Native or Bilingual)         Software Engineering Intern
                                      June 2018 - August 2018 (3 months)
                                      Architected and wrote a chatbot interfacing with multiple internal systems, built
                                      with Node.js, ElasticSearch, and SQL Server.
                                      Ported frontend of internal deployment tool from Knockout.js to React.js.
                                      Worked on backend of internal deployment tool; helped diagnose CPU and
                                      memory issues in Scala codebase.
                                      Started and lead discussion group meetings teaching data structures and
                                      algorithms.


                                      Penn Labs
                                      Software Engineer
                                      2016 - 2018 (2 years)
                                      Developer for Penn’s premier student coding group.
                                      Head developer for office hours queue app, implemented with ES6+
                                      JavaScript, Express, React, Redux, Webpack, Babel, and other modern JS
                                      libraries.
                                      Helped introduce new technology and practices (e.g. Continuous Integration,
                                      Continuous Deployment, Docker).
                                      Contributed to a variety of different projects.


                                      University of Pennsylvania
                                      CIS 197 (JavaScript) Teaching Assistant
                                      January 2017 - May 2017 (5 months)
                                      Held office hours & helped teach class material.


                                      Taskworld Inc.
                                      Software Engineer
                                      2015 - 2016 (1 year)

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                   Worked as a frontend and backend engineer on the Taskworld webapp, a fully
                   modern JavaScript (Node/Hapi backend, React frontend) stack.
                   Rewrote the built-in chat platform resulting in a 5x performance increase.
                   Worked with team to architect and implement various new client features




                   Education
                   University of Pennsylvania
                   Bachelor of Arts - BA, Major in Cognitive Science & Minor in Computer
                   Science · (2019)


                   Phillips Exeter Academy
                   · (2012)




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Contact
                                      ‍Abhinav Deep Singh
www.linkedin.com/in/abhinav-deep-     Software Engineer at Google
singh (LinkedIn)                      Austin

Top Skills                            Summary
Computer Science
                                      Currently working in Google Cloud as a Software Engineer.
Machine Learning
Mathematics


Languages                             Experience
Hindi (Native or Bilingual)
                                      Google
English (Native or Bilingual)         Software Engineer
Korean (Elementary)                   June 2020 - Present (8 months)


Certifications
                                      The University of Texas at Austin
Self Driving Car Nano Degree          Graduate Research Assistant
                                      January 2020 - May 2020 (5 months)
Honors-Awards                         Austin, Texas Area

Summer Undergraduate Research         Worked with Prof. Raymond Mooney on Causal Graphs for Language
Award                                 Understanding.
Aditya Birla Scholarship
National Talent Search Examination
- Scholarship                         Google
                                      Software Engineer Intern
High School Merit Certificate
                                      May 2019 - August 2019 (4 months)
                                      Sunnyvale, California, USA
Publications
                                      • Worked on Time-Series Forecasting and Anomaly Detection.
Quantifying sentence complexity
based on eye-tracking measures        • Analysed different available datasets to check seasonality and holiday
                                      effects.
                                      • Worked on Data and ML Pipeline, to continuously ingest, and train neural
                                      network
                                      models, on new data, using Tensorflow Extended library.


                                      Samsung Electronics
                                      Software Engineer
                                      September 2016 - August 2018 (2 years)
                                      Seocho-gu, Seoul, Korea

                                      • Worked on developing Samsung’s Autonomous Vehicle.
                                      • Worked on handling dynamic object detection, like pedestrians and cars
                                      using cameras and LiDARs using deep CNNs implemented in Tensorflow.


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                   • Successfully got Highway Autonomous Driver Permit for the car in August
                   2017 after test conducted by Korean Transportation Authority. The car then
                   successfully navigated around in the city in loop of 10 km.


                   Samsung Electronics
                   Software Engineer Intern
                   May 2015 - July 2015 (3 months)
                   Suwon, Gyeonggi-do, Korea

                   • Helped a robot decide navigable indoor space in real time by training a deep
                   neural network using Caffe with various images of household objects and
                   obstacles (like door thresholds, table bottoms, etc.).
                   • Achieved the F1-score of 90.4% on the dataset curated by the company.




                   Education
                   The University of Texas at Austin
                   Master of Science - MS, Computer Science · (2018 - 2020)


                   Indian Institute of Technology, Delhi
                   Bachelor of Technology - BTech, Computer Science and
                   Engineering · (2012 - 2016)


                   INSA Lyon - Institut National des Sciences Appliquées de Lyon
                   Exchange Student, Computer Science · (2014 - 2014)




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Contact
                                  Adam Newman
www.linkedin.com/in/adam-         Software Engineer at Google
newman-ba1aa65b (LinkedIn)        Austin, Texas Metropolitan Area

Top Skills                        Experience
SAN
Software Development              Google
Xen                               4 years 1 month

                                  Senior Software Engineer
                                  March 2018 - Present (2 years 11 months)
                                  Austin, Texas Area


                                  Software Engineer
                                  January 2017 - Present (4 years 1 month)
                                  Austin, Texas Area


                                  Bottle Rocket
                                  Android Architect
                                  May 2011 - December 2016 (5 years 8 months)
                                  Develop custom applications for the Android platform from backend
                                  components to custom UI elements.


                                  City Of Tyler - Municipal Government
                                  IT Specialist III Advanced
                                  April 2002 - May 2011 (9 years 2 months)
                                  x86 server admin for mostly Windows servers with some Debian boxes.
                                  Microsoft AD and Exchange admin. Virtualization using VMWare and Xen on
                                  an IBM Bladecenter backed by IBM fiber channel SAN. Software development
                                  for internal applications. ETL tools to connect iSeries, MSSQL, and other
                                  databases/applications.




                                  Education
                                  University of Texas at Tyler
                                  Bachelor of Science (BS), Computer Science


                                  Mt. Pleasant High School




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Contact
                                   Alex Davis
www.linkedin.com/in/alexhdavis     Sr Manager, Software Engineering at Google Austin
(LinkedIn)                         Austin

Top Skills                         Summary
Agile Methodologies
                                   Google is building a software engineering office in Austin,
JBoss Application Server
                                   TX! Google is hiring software engineers of all levels to build
Scrum
                                   out new teams. Come be a part of the #1 Company to Work
                                   For (Fortune.com 6 years running) in the #1 Best City to Live
                                   (USNews.com 3 years running)!



                                   Experience
                                   Google
                                   Sr Manager, Software Engineering
                                   June 2019 - Present (1 year 8 months)
                                   Austin, Tx


                                   Amazon.com
                                   6 years 7 months

                                   Senior Software Development Manager, Amazon Business
                                   April 2014 - June 2019 (5 years 3 months)
                                   Austin, Texas

                                   Amazon Business beought Amazon.com forward into the B2B world, executing
                                   a grand vision to make Amazon the go-to marketplace for all corporate
                                   purchasing needs, as we have in the consumer space.


                                   In 2014 I founded the Austin office for Amazon Business, starting with myself
                                   and two newly hired engineers. Since then I have helped grow Amazon
                                   Business in Austin to multiple engineering teams, plus teams for User
                                   Experience Design, Technical Program Management, Quality Assurance
                                   Engineering, and Product Management.
                                   I have recruited, built, and led 5 teams of engineers, managing both managers
                                   and engineers directly.
                                   I own the core platform and infrastructure for Amazon Business, enabling our
                                   acquisition of over $1 billion in sales and 300,000 business customers in the
                                   first year of public launch.



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                   In addition, my teams are responsible for global expansion of Amazon
                   Business and delivering the features that enable large enterprise customers
                   with hundreds of thousands of employees.
                   As an Amazon Bar Raiser, I have helped organizations across the company
                   hire outstanding candidates, participating in over 500 interviews with Amazon.



                   Software Development Manager, Amazon AWS EC2
                   December 2012 - April 2014 (1 year 5 months)
                   Seattle, WA

                   My team builds the systems and services that keep the EC2 cloud safe.
                   We are the engineering team responsible for design and implementation of
                   Amazon's tools for:
                   - Automatically detecting and responding to botnets, DDoS attacks, and
                   spammers
                   - Distributed and auto-scaling firewall management
                   - Abuse case management and tracking
                   - Intrusion Detection monitoring
                   - Public Key Infrastructure
                   - and more


                   Team technologies include: Java, Ruby, Perl, NoSQL, MySQL
                   Key design principles: Network security, Cloud computing, Service Oriented
                   Architecture, Eventual Consistency, RESTful services, Data sharding


                   AllClear ID, formerly Debix
                   Vice President of Engineering
                   January 2006 - August 2012 (6 years 8 months)
                   Austin, TX

                   Founded the engineering department and developed it into multiple teams of
                   architects, software engineers, and QA engineers.


                   Defined engineering processes, provided technical vision, and led the
                   engineering department to build and deliver the company's products and
                   services for more than 1.7 million consumers nationwide.


                   Led the development of enterprise applications that have serviced over 1000
                   data breaches affecting more than 50,000,000 consumers, including the
                   world’s largest data breach response and the three largest healthcare data
                   breaches.


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                   Established Agile software development processes focusing on iterative
                   development, continuous improvement, close collaboration between
                   development and QA, and maintaining the ability to rapidly react to emerging
                   business opportunities.


                   In addition to Vice President of Engineering, served as interim Vice President
                   of IT and Operations for 3 years. Managed IT team of production sysadmin,
                   database administrator, and corporate sysadmin. Managed Operations team of
                   business analysts and operations admins.


                   Brief description of systems:
                   Applications built in a 3-Tier Architecture consisting of Presentation (Apache,
                   PHP, mod_jk), Application (JBoss, Seam, Mule ESB) and Data (Oracle 10g).
                   High availability/high capacity components deployed to cloud servers (AWS
                   S3/CloudFront).
                   Stateless web services (REST and SOAP) created for integration and
                   communication with third party systems.
                   Outsourced development of mobile iPhone application communicating with in-
                   house backend via RESTful API.


                   Renew Data
                   Software Architect / Engineering Manager
                   August 2004 - January 2006 (1 year 6 months)
                   Founding member of Austin Engineering department, reporting to Vice
                   President of Engineering.
                   Responsible for hiring and managing software engineers, setting quarterly
                   goals for team members, evaluating personal performance, and awarding
                   bonuses.
                   Responsible for technical vision and design for enterprise application capable
                   of sifting through terabytes of data to identify and deliver electronic forensic
                   evidence.
                   Pioneered Agile Project Management in Austin office. Prioritized and
                   scheduled feature delivery, working with QA to continuously deliver product
                   enhancements. Successfully kept team on schedule or ahead of schedule
                   throughout product development.
                   Drove automated unit testing and continuous builds for rapid, reliable iterative
                   development.




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                   Additional duties include managing Technical Writing team. Developed
                   corporate documentation development policy to ensure rapid, correct product
                   documentation with maximum usability.


                   ClearCommerce
                   Sr Software Engineer
                   November 2000 - July 2004 (3 years 9 months)
                   Lead designer and developer for all Java projects. Developed products using
                   Servlets, Java Server Pages, XML data representation, and XSL stylesheets
                   leveraging a central database, clusterable application nodes, and thin client
                   APIs to maximize performance and throughput. Used Java Secure Sockets
                   Extension and Java Cryptographic Extension to secure communications and
                   data. Implemented data authentication using secure HMAC to prevent possible
                   data tampering such as Man-in-the-Middle or Replay Attacks.


                   Acted as the Engineering representative for Sales for large domestic and
                   international customers, including assisting in relationship management and
                   traveling overseas to present solutions and answer technical questions for
                   customers. Worked closely with Marketing to derive customer requirements,
                   Quality Assurance to release stable products, and Support to quickly resolve
                   customer issues.
                   Simultaneously led multiple cross-functional teams consisting of developers,
                   technical writers, and quality assurance engineers to release products within
                   compressed timeframes.


                   Served as Senior Software Engineer for multiple areas of a high-volume
                   secure transaction processing engine that interfaces with a wide selection of
                   financial institution backends to provide real-time online credit card purchasing
                   and fraud detection.


                   Globeset
                   Software Developer
                   February 1997 - October 2000 (3 years 9 months)
                   Designed and implemented enterprise server software to secure online credit
                   card transactions using the Secure Electronic Transaction payer authentication
                   protocol developed jointly by Visa and MasterCard.
                   Interacted closely with Product Management, Quality Assurance, Customer
                   Support, and Professional Services to constantly improve the quality of
                   products and meet customer needs and expectations.


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                   Designed and implemented APIs to integrate common web merchant solutions
                   with the SET electronic payment server. Implemented solutions in C++, Java,
                   and .COM, providing access to the API through a wide variety of technologies
                   including CGI, Servlets, Java Server Pages, and Active Server Pages.


                   Responsible for web-based interface and client/server messaging of electronic
                   payment server using Java Servlets, Java Server Pages, and XML.




                   Education
                   The University of Texas at Austin
                   Bachelor's degree, Computer Science




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Contact
                                 Andrew Matsusaka
www.linkedin.com/in/             Senior Software Engineer at Google
andrewmatsusaka (LinkedIn)       Austin

Top Skills                       Experience
Python
NHibernate                       Google
Java                             Senior Software Engineer
                                 February 2020 - Present (1 year)
                                 Austin, Texas, United States


                                 Amazon
                                 7 years

                                 Senior Software Development Engineer
                                 July 2018 - July 2019 (1 year 1 month)
                                 San Francisco Bay Area

                                 Set technical direction for several initiatives across Amazon Music that touched
                                 areas such as marketing, client/service communication, verification services,
                                 and subscriptions.


                                 Regularly led interview loops across several different job roles. Ensured the
                                 right information was sought after and candidate experiences were great.

                                 Software Development Manager
                                 March 2016 - July 2018 (2 years 5 months)
                                 San Francisco Bay Area

                                 Started the Music Subscriptions backend team that led and delivered Amazon
                                 Music Unlimited subscription management solution. This included expanding
                                 subscriptions to over 30 countries, iOS in-app purchase support, promotions,
                                 student plans, and bundling with physical devices.

                                 Software Development Engineer
                                 August 2012 - March 2016 (3 years 8 months)
                                 San Francisco Bay Area

                                 Developed backend systems for fulfilling customer music for features such as
                                 MP3 store purchases, AutoRip, and Prime Music.


                                 Redesigned fulfillment to easily extend to additional track types while also
                                 integrating with a new asynchronous, eventually-consistent data store.


                                 HFOSS
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                   Open Source Developer
                   January 2012 - May 2012 (5 months)
                   Collaborated with a distributed team of developers to contribute new features
                   and improvements to an Android search and rescue application called POSIT.


                   Technologies used: Android, Java, XML


                   EISI
                   Software Developer (Co-op)
                   May 2011 - September 2011 (5 months)
                   Contributed to a large scale financial planning application in an Agile
                   environment. Assisted several different teams with projects.


                   Technologies used:
                   C++, XHTML, JavaScript


                   Prime Focus
                   Software Developer (Co-op)
                   September 2010 - December 2010 (4 months)
                   Contributed to two major projects:


                   Refactored, debugged and thoroughly tested as well as implemented new
                   features for a render farm management application


                   Technologies used:
                   C#, PostgreSQL, Java with Android/BlackBerry interaction


                   Initiated the development of a cross platform, extensible and scalable
                   application that would replace FileMaker Pro for hundreds of artists and
                   producers across the globe.


                   Technologies used:
                   Qt with Python, Qt with C++, C# with .NET 3.0, NHibernate, MySQL


                   Manitoba Hydro
                   Software Developer (Co-op)
                   January 2010 - April 2010 (4 months)
                   Developed an IT project information repository for all areas responsible for IT
                   within Manitoba Hydro.



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                   Technologies used:
                   SQL Server 2005, SharePoint, C#




                   Education
                   University of Manitoba
                   B.Sc (Honours, Cooperative Option), Computer Science · (2007 - 2012)




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Contact
                                      Andrew Tucker
www.linkedin.com/in/tuckeran1992      Gmail Technical Solutions Engineer at Google
(LinkedIn)                            Austin

Top Skills                            Summary
Linux
                                      Helping enterprises with Google Gmail!
Python (Programming Language)
System Administration


Languages                             Experience
English (Native or Bilingual)
                                      Google
                                      2 years 7 months
Certifications
                                      Technical Solutions Engineer L3
A+                                    November 2020 - Present (3 months)
DevOps Foundations                    Austin, Texas, United States
Learning Jenkins                      • Working with Google's Enterprise customers supporting Gmail at an L3 Level.

                                      Information Technology Resident
                                      July 2018 - November 2020 (2 years 5 months)
                                      Mountain View, California

                                      • Supported and managed a fleet of nearly 400,000 corporate MDM Managed
                                      assets.
                                      • Provided L2 Technical support (on-site, chat, phones, videos, tickets) to all of
                                      Google's employees and vendor workforce.
                                      • Completed over 40,000+ support interactions in 2 years, averaging a 4.92 / 5
                                      CSAT score.
                                      • Increased in-person user support feedback collection potential by 70+%
                                      using Google Cloud Infrastructure.
                                      • Guided and educated new techs and newly onboarded employees at a scale
                                      of roughly 300+ per week.
                                      • Automated scripts with bash and python to automate system administration
                                      tasks.

                                      Corporate Operations Engineer
                                      July 2019 - September 2019 (3 months)
                                      Sunnyvale, Ca

                                      • This role equates to a 3 Month IT Internship inside Google.
                                      • Developed queries and tables using Google SQL to create a table of users
                                      who possess sensitive to changes qualities.



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                   • Migrated over 900 lines of javascript, python, ansible files team's Javascript,
                   and python codebases to production and updating, formatting and cleaning up
                   the code prior to the push.
                   • Launched a system job on Google's internal distributed compute cluster
                   (BORG) to run continuous testing on our production systems.
                   • Created a monitoring tool using Ansible that monitors a custom application
                   from scratch.
                   • Added flags to the same workflow above, to alter the logic, and allow a live
                   dev instance start microservices up for the team.


                   Ellucian
                   Cloud Solutions Engineer Associate
                   January 2018 - June 2018 (6 months)
                   Lake Mary, Florida

                   • Provided 24/7 on-call support to Ellucian's cloud customers on AWS
                   Cloud platforms utilizing AWS Tools such as EC2 Windows VM instances,
                   HIGHWAY53, SQL databases.
                   • Worked on Ellucians higher education platform: Colleague.
                   • Maintained team training documentation using Confluence.
                   • Ticketing system experience in ServiceNow.
                   • Attended AWS training workshops, learning from Ellucians senior cloud
                   developer managers.


                   IZEA
                   Information Technology Intern
                   August 2017 - November 2017 (4 months)
                   Winter Park, Florida, United States

                   • Provided General helpdesk support to the office.
                   • Provisioned Laptops for newly onboarded employees and backed up and
                   reimaged outbound employee equipment.
                   • Improved network throughput by 20% by optimizing access point placements
                   to fix congestion and Handoff conflicts.
                   • Built MDM Profiles for IoT Devices in the office to automate system updates
                   across the fleet.


                   TeleSpeak Inc.
                   Information Technology Intern
                   January 2017 - May 2017 (5 months)
                   Orlando, Florida, United States

                   • Managed and fixed a fleet of 100+ Windows 10 Production machines.

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                   • Diagnosed Hardware and Software problems.
                   • Worked with IT Manager to optimize company SEO.
                   • Assisted IT Manager with rollout of new VOIP software to fleet of machines.


                   Walmart
                   Connection Center Associate
                   January 2012 - February 2017 (5 years 2 months)
                   Oviedo, Florida

                   Store # 5894
                   • Provided Top-Notch Customer service.
                   • Performed triage on customer electronics.
                   • Maintained an inventory log system for high-value merchandise.
                   • Worked Freight and both Unloaded and Loaded trucks.
                   • Worked with Heavy Power-Lifting Equipment like Scissorlift and Walking
                   Stacker.
                   •Participated in store customer engagement opportunities by dressing as the
                   Easter Bunny / Santa Claus for holidays events.




                   Education
                   University of Central Florida
                   Bachelor's degree, Information Technology · (2014 - 2017)


                   Valencia College
                   Associate's degree, Information Technology · (2010 - 2014)




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Contact
                                      Aurelio Christian
www.linkedin.com/in/aurelio-          Cloud Technical Solutions Engineer Manager at Google
christian (LinkedIn)                  Austin

Top Skills                            Summary
Agile Methodologies
                                      I excel at finding what is broken and introduce holistic solutions to
Integration
                                      turn things around. I am well versed in driving long-term relationships
Enterprise Software
                                      and forging strategic partnerships. I turn to analytics for fact-base
Languages                             decision-making to avoid missteps and maximize results.

English (Native or Bilingual)
                                      I think that knowing how to communicate and connect with people
Spanish (Native or Bilingual)
                                      is essential, and I am a firm believer that trust, likability, and
Certifications                        confidence are also cornerstones to developing relationships. I use
                                      a tailored approach to presenting complex ideas and solutions when
AWS Certified Developer –
Associate                             speaking with clients and project stakeholders, always keeping their
AWS Certified Solutions Architect –   understanding, interest, and expertise in mind. These core assets
Professional                          have helped me to create structure in ambiguity.
Data Manipulation at Scale: Systems
and Algorithms
                                      ME.
AWS Certified SysOps Administrator
– Associate                           I work collaboratively. I’m fiercely loyal to my organization and
Practical Predictive Analytics:       the people I support. I’m energetic. I have business and technical
Models and Methods                    acumen. I excel at challenges. I get results.


                                      PROCESS.
                                      True success is ultimately measured by a strong organizational
                                      culture, as I believe a healthy culture fosters innovation and
                                      longevity.


                                      PLANNING.
                                      Planning is key. I realize sometimes plans may not work. When that
                                      happens, I innovate to manage change.


                                      PROOF.
                                      I never give up. I love a challenge. I thrive under pressure. I build
                                      relationships. I get results.


                                      I’m on Linkedin to build my professional network.
                                      Let’s Connect.


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                   Experience
                   Google
                   Cloud Technical Solutions Engineer Manager
                   December 2020 - Present (2 months)
                   Austin, Texas, United States


                   Blacklight Solutions
                   Chief Technology Officer
                   September 2020 - December 2020 (4 months)
                   Austin, Texas, United States


                   Axiros
                   President / Managing Director of Operations, North America
                   June 2017 - July 2020 (3 years 2 months)
                   Austin, Texas, United States

                   Directed end-to-end implementation projects with executive oversight of
                   staffing operations, including project assignments, capacity planning, and
                   project P&L. Managed implementation of projects for Axiros software platform.
                   Controlled project schedule, budget, and risk. Core member of senior
                   management team with leadership of capacity planning, strategic direction,
                   budgeting, and staffing.


                   - Spearheaded development of Wi-Fi mesh remote management application
                   for leading hardware manufacturer.
                   - Advised customers on software solutions, architecture, and enterprise
                   implementations.
                   - Provided technical expertise for pre-sales and account management
                   professionals to develop new business.


                   Nokia/Alcatel-Lucent
                   Senior Architect
                   August 2012 - June 2017 (4 years 11 months)
                   Greater Atlanta Area

                   Operated as deployment manager and lead architect for on-site customer
                   deployments, bridging communication between customers and internal product
                   teams to define requirements for new features. Led extensive functional,
                   performance, and scalability testing and training at customer sites, including
                   troubleshooting and customization of enterprise platform.


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                   - Architected solution transition and support for geo-redundant active/active
                   product deployment.
                   - Spearheaded largest deployment of Motive’s carrier-grade device
                   management platform; designed proof of concept for analytics solution to
                   detect and fix consumer device issues and improved CSR operation execution
                   time by 45%.
                   - Developed and delivered first full-featured mobile device management
                   deployment.


                   Blacklight Solutions
                   Product & Project Manager
                   January 2012 - August 2014 (2 years 8 months)
                   Austin, Texas Area

                   Led offshore teams dispersed across Mexico and Ukraine in design and
                   implementation of web-based rapid development kit for source code
                   generation of content supporting CA Release Automation, including adapters
                   for popular enterprise software.


                   - Delivered final software product on time and under budget.
                   - Advised clients and initiated proof of concepts of BI solutions for embedding
                   and white-labeling existing products.


                   Directed nearshore team in establishing compliance standards designed on
                   CA Compliance Automation and based on Center for Internet Security (CIS)
                   and PCI DSS standards.
                   - Provided recommendations to achieve CIS rules, along with reporting
                   requirement documents for PCI, SOX, HIPPA, DISA/STIG, and FISMA
                   standards mapping with CIS Benchmark rules.
                   - Administered all resources, budget, staffing, client contact, and task
                   monitoring; delivered all projects on time/under budget.


                   Motive
                   Integration Consultant
                   June 2010 - January 2012 (1 year 8 months)
                   Austin, Texas Area

                   - Transitioned millions of consumer devices from competitors’ products to HDM
                   and executed custom integrations with customer products
                   - Oversaw firmware upgrade and maintenance, and offered appropriate
                   solutions and testing of consumer devices that were not conforming with the
                   standard industry protocol

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                   - Demonstrated technical design and construction expertise in the execution of
                   Motive’s device management platform


                   Hoovers Inc.
                   Integrations Software Engineer
                   July 2009 - June 2010 (1 year)
                   Austin, Texas Area

                   - Played a pivotal role in a small Agile team in charge of generating new
                   customer support application through utilization of Oracle, iBATIS, Spring,
                   MVC, and Velocity
                   - Made use of RESTful APIs and web services to merge customer
                   support, fulfillment, authentication, and customer-facing application with
                   Salesforce.com, Cisco enterprise policy manager, and iLantern
                   - Drafted “Manage Your Account” component of Hoovers Online, comprised of
                   profile, preferences, groups, and licensing management


                   AlterPoint
                   Solutions Engineering Consultant
                   January 2009 - May 2009 (5 months)
                   Austin, Texas Area

                   - Devised custom extensions using Java, Flex, and Perl
                   - Carried out enterprise installations as well as enterprise integration with EMC
                   Smarts, CiscoWorks, and syslog
                   - Presided over training on the utilization of NetworkAuthority and best
                   practices for network configuration and change management


                   USPTO
                   Patent Examiner
                   June 2008 - January 2009 (8 months)
                   Washington D.C. Metro Area

                   - Reviewed patent applications in computer networking
                   - Trained in networking, case law, and Manual of Patent Examining Procedure
                   (MPEP); earned a perfect score on the MPEP competency exam


                   Walt Disney Internet Group; IFilm/MTV
                   Software Engineer
                   2005 - 2006 (1 year)
                   Greater Los Angeles Area

                   - Designed and developed new partner video upload campaign management
                   system; wrote tests for over 70% code coverage; architected global registration
                   application.
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                   - Wrote secure layer to allow communication between middleware and external
                   services; built APIs for encryption and regular expression evaluation.


                   AlterPoint
                   Staff Software Engineer
                   2002 - 2005 (3 years)
                   Austin, Texas Area

                   - Designed and developed of web component for enterprise-class network
                   configuration and change management tool.
                   - Hand-picked to serve as technical lead in installation of beta product at
                   customer sites.


                   Earthlink / OneNetNow (acquired by Earthlink)
                   Software Engineer / Senior Markup Engineer
                   2000 - 2002 (2 years)
                   Pasadena, CA

                   - Worked cross-functionally in distributed team to create presentation and
                   business tiers of customer-facing IMAP web client.
                   - Built interactive website for Los Angeles hosting committee of the 2000
                   Democratic National Convention.




                   Education
                   The George Washington University
                   M.S., Computer Science · (2006 - 2008)


                   The University of Texas at Austin
                   B.S., Mathematics · (1988 - 1994)




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Contact
                                   Austin Kyker
www.linkedin.com/in/austin-        Software Engineer at Google
kyker-1ba898a8 (LinkedIn)          Austin
austinkyker.com (Personal)

                                   Summary
Top Skills
Node.js                            I like building things. http://austinkyker.com
iOS Development
JavaScript
                                   Experience
Languages
                                   Google
Spanish
                                   Software Engineer
                                   September 2019 - Present (1 year 5 months)
                                   Austin, Texas Area


                                   Kyker Computing LLC
                                   Founder
                                   December 2017 - Present (3 years 2 months)
                                   Indianapolis, Indiana Area

                                   Developing mobile and web applications to solve business problems.


                                   Microsoft
                                   Software Engineer
                                   August 2016 - February 2017 (7 months)
                                   Bellevue, Washington

                                   Worked as a full-stack engineer on bing.com on the Personalization Team. We
                                   used .NET Framework, HTML, CSS, and JS to create experiences where
                                   users
                                   could see updates and information about sports teams, news topics, and
                                   stocks.


                                   eBay Inc
                                   Software Engineer Intern
                                   May 2015 - August 2015 (4 months)
                                   San Jose, California

                                   - Worked on the Monetization Team at Ebay in San Jose.
                                   - Built a java project to transport a large volume of data from OracleDB to a
                                   Cassandra database
                                   - Used MEAN (Mongo, Express, Angular, Node.js) stack to build a fully
                                   featured UI for framing queries to Druid, a real-time analytics database.
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                   Cerner Corporation
                   Velocity Software Engineering Intern
                   May 2014 - August 2014 (4 months)
                   Kansas City, Missouri Area

                   - Added features to a django app allowing patients to view their health records
                   and interact with doctors.
                   - Made frontend changes to the app using HTML, CSS, and JS


                   Duke Chronicle
                   Web Developer
                   December 2013 - May 2014 (6 months)
                   Duke University

                   Added features to Duke's online student-newspaper. The application is written
                   on Rails and sees several thousand views monthly.




                   Education
                   Duke University
                   Electrical and Computer Engineering BS, Computer Science
                   BS · (2012 - 2016)


                   Park Tudor
                    · (2008 - 2012)




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Contact
                                     Barbara Davila
www.linkedin.com/in/barbara-         Software Engineer at Google
davila-364b0360 (LinkedIn)           Austin

Top Skills                           Experience
Java
C                                    Google
C++                                  Software Engineer
                                     September 2019 - Present (1 year 5 months)

Languages
Spanish                              AlienVault
                                     Staff Software Engineer
                                     June 2017 - March 2019 (1 year 10 months)
Honors-Awards
                                     Austin, Texas Area
Spring 2013 Honor Roll
Fall 2013 Honor Roll
Fall 2012 Dean's List                Accenture
                                     2 years
2015 Honor Roll
                                     System Developer Senior Analyst
                                     December 2016 - June 2017 (7 months)


                                     System Developer Analyst
                                     July 2015 - December 2016 (1 year 6 months)


                                     The University of Texas at San Antonio
                                     Research Assistant
                                     January 2015 - May 2015 (5 months)


                                     The University of Texas at San Antonio
                                     1 year 4 months

                                     Research Assistant
                                     January 2013 - December 2013 (1 year)


                                     Engineering Tutor
                                     September 2012 - May 2013 (9 months)
                                     Thomas Rivera Center at the University of San Antonio




                                     Education
                                     The University of Texas at San Antonio
                                     Bachelor of Science (BS), Computer Engineering
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                   University of Sydney
                   Computer Engineering




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Contact
                                     Brian Berke
www.linkedin.com/in/brian-berke      Software Engineer at Google
(LinkedIn)                           Austin

Top Skills                           Experience
Perforce
Unreal Engine 3                      Google
C++                                  Software Engineer
                                     January 2015 - Present (6 years 1 month)
                                     Irvine, CA


                                     Carbine Studios
                                     2 years 10 months

                                     Senior Game Designer
                                     April 2014 - October 2014 (7 months)
                                     Aliso Viejo, CA


                                     Content Designer
                                     January 2012 - April 2014 (2 years 4 months)
                                     Aliso Viejo, CA


                                     Play Frenzy Inc.
                                     Owner / Developer
                                     November 2010 - January 2012 (1 year 3 months)
                                     Gilbert, AZ


                                     Dark Comet Games
                                     Software Engineer
                                     March 2010 - November 2010 (9 months)


                                     Cheyenne Mountain Entertainment
                                     Software Engineer
                                     February 2008 - March 2010 (2 years 2 months)


                                     SMS.ac
                                     Software Engineer
                                     June 2007 - September 2007 (4 months)




                                     Education
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                   University of Arizona
                   Bachelors, Computer Science · (2002 - 2007)




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Contact
                                     Cankut Guven
www.linkedin.com/in/cguven           Software Engineer at Google
(LinkedIn)                           Austin, Texas Metropolitan Area

Top Skills                           Summary
Java
                                     I have been programming in Java since the age of 15 and it has so
JavaScript
                                     far retained the position of "my favorite language." My introduction
SQL
                                     to programming was, to say the least, quite a while ago and I've
Languages                            come across many technical challenges that I chose to solve with
                                     other languages. Doing so was always an exciting adventure and
Turkish (Limited Working)
                                     whenever I have a new project I want to pursue, I always revisit
English (Native or Bilingual)
                                     which languages are available to best serve the project needs.
Honors-Awards                        While I maintain my proficiency in Java as a backend developer, I've
                                     expanded my skills into mobile and web development, most recently
2013 Honor Roll
                                     working with Swift and react.js.


                                     I am very passionate about programming and strongly value
                                     programmers that share my sentiments. In a team environment,
                                     I am a strong proponent of maintaining a tightly knit group of
                                     developers that interact frequently about their ideas, especially in
                                     large projects. It allows for great flexibility in the code (for future
                                     growth) and often discourages any single developer from straying
                                     towards a bad design "just to make it work."



                                     Experience
                                     Google
                                     Software Engineer
                                     February 2020 - Present (1 year)
                                     Austin, Texas Area


                                     Cue Health Inc.
                                     Sr. Software Engineer (Full Stack)
                                     April 2015 - November 2018 (3 years 8 months)
                                     Greater San Diego Area

                                     - Developed and maintained a backend service for use with various different
                                     client applications (e.g. web, mobile)
                                     - Developed and maintained a front end client in Swift for iOS (minor role)


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                   - Led the creation, development and maintenance of a full-stack internal
                   inventory management solution (ReactJS, play! framework, MySQL)
                   - Collaborated with Regulatory Personnel to ensure compliance of software
                   with relevant regulations
                   - Setup AWS resources for continuous deployment of production and staging
                   environments
                   - Managed software releases and sprint composition using JIRA


                   Northrop Grumman Information Systems
                   Software Engineer
                   June 2011 - April 2015 (3 years 11 months)
                   Greater San Diego Area

                   - Developed an enterprise web application with a team of 15+ software
                   engineers and served as one of the core members
                   - Developed software to interface with radios and various other hardware
                   - Worked with test engineers to verify correctness of software behavior
                   - Worked with Systems Engineers to maintain Software Requirements
                   Specification (SRS)
                   - Supported the successful completion of software testing at several
                   government testing facilities
                   - Lead a small team of 3 to add capability to existing software
                   - Shipped and deployed the developed software at customer sites


                   San Diego Gas & Electric
                   Engineering Intern
                   June 2010 - September 2010 (4 months)
                   Researched Microgrids and analyzed the feasibility of implementing them at
                   specific locations
                   Formulated a financial analysis for such a Microgrid development with a team
                   of engineering and MBA professionals


                   Entropic Communications
                   Engineering Intern
                   May 2009 - March 2010 (11 months)
                   Verified MoCA Test Plans
                   Setup and test home networks
                   Analyzed radio frequency and power emitted by devices




                   Education
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                   University of California, San Diego
                   Bachelor of Science, Computer Science · (2007 - 2011)


                   Scripps Ranch High School
                    · (2004 - 2007)




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Contact
                                        Carolina Hernandez
www.linkedin.com/in/carolina-           Engineer at Google Cloud
hernandez-1026b5176 (LinkedIn)          Austin

Top Skills                              Summary
Google Cloud Platform (GCP)
                                        Automate processes with the cloud technology. Experienced Cloud
Java
                                        Engineer with a demonstrated history of working in the internet
Software Development
                                        industry. Skilled in Google Cloud Platform, Continuous Integration
Certifications                          and Continuous Delivery (CI/CD), Cloud Computing, Java, and
                                        Kubernetes.
Professional Cloud Architect
Essential Cloud Infrastructure: Core
Services
How Google does Machine Learning        Experience
Google Cloud Platform
Fundamentals: Core Infrastructure       Google
Reliable Cloud Infrastructure: Design   15 years 9 months
and Process
                                        Senior Strategic Cloud Engineer
                                        June 2018 - Present (2 years 8 months)
                                        Austin, Texas


                                        Software Engineer
                                        January 2007 - June 2018 (11 years 6 months)
                                        Sunnyvale, California


                                        System Administrator
                                        May 2005 - January 2007 (1 year 9 months)
                                        Mountain View, California


                                        SGI
                                        Technical Support Engineer
                                        January 2000 - April 2005 (5 years 4 months)
                                        Eagan, Minnesota




                                        Education
                                        University of Houston-Clear Lake
                                        Master of Business Administration - MBA, Business Administration and
                                        Management, General · (1996 - 1998)


                                        Universidad Central de Venezuela
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                   Bachelor's degree, Computer Science · (1987 - 1993)




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Contact
                                     Catherine Perez
www.linkedin.com/in/cat-ockman       Software Engineer at Google
(LinkedIn)                           Austin, Texas Metropolitan Area

Top Skills                           Summary
C++
                                     Experienced Software Engineer with a demonstrated history of
iOS
                                     working in a full stack environment. Skilled in Python, C++, Java,
Software Development
                                     Bash, Web based development and Linux environments. Strong
Certifications                       engineering professional with a Bachelor's degree focused in
                                     Computer Engineering and Artificial Intelligence from Texas A&M
Architecting with the Google Cloud
Platform Specialization              University.



                                     Experience
                                     Google
                                     Software Engineer
                                     February 2020 - Present (1 year)
                                     Austin, Texas Area


                                     Home Depot
                                     4 years 9 months

                                     Senior Software Engineer
                                     July 2018 - February 2020 (1 year 8 months)
                                     Austin, Texas


                                     Software Developer
                                     June 2015 - July 2018 (3 years 2 months)
                                     Austin, Texas

                                     I have created several dashboards to support the daily functions across more
                                     than 2000 stores. My team saves The Home Depot thousands of hours of
                                     manual labor each week and continues to unearth problems before they
                                     become major emergencies. We were recently given the Best in Support
                                     Award for our work.


                                     I have gained experience in Linux, React, Java, Big Query and Pub/Sub,
                                     Python, and R.


                                     Texas A&M University
                                     Relevant Course Work
                                                                        Page 1 of 3
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                   August 2015 - December 2016 (1 year 5 months)
                   Bryan/College Station, Texas Area

                   Software Engineering(C++, javascript):
                   - I learned how to create my own database language and backend
                   - I created a multiplayer, turn based game using Unity Software


                   Senior Project(Python, C++, arduino)
                   - I was on a large scale, interdepartmental project which interfaced with several
                   Raspberry Pis and Arduinos to autonomously report back:
                   -- when the sensors were failing,
                   -- the air was becoming too pressurized or too hot
                   -- changed the lights based on the time of the day
                   -- much more
                   - I created a nice front end for the reports and history to show up
                   - Posited theoretical storage space on the station and researched current
                   technology to discover how to communicate back and forth


                   Artificial Intelligence
                   - I created software for a robotic arm (C++, C#)
                   -- Worked out the necessary formulas for correct movement and rotation on a
                   3 part arm
                   -- programmed the arm to follow inputs from human instruction
                   - Created my own version of several algorithms and a priority based AI
                   language (C++, Java, Python, PROLOG)
                   -- Greedy Algorithm
                   -- A* algorithm
                   -- Forward Chaining and Backward Chaining
                   -- Person v Computer Tic Tac Toe Game
                   -- Wumpus World Solution


                   Apple
                   iOS At Home Advisor
                   May 2014 - February 2015 (10 months)
                   I fix the software for the iOS devices at apple. My position includes speaking
                   with people and fixing their product while being fun and efficient and also
                   giving them the confidence to one day fix it on their own.




                   Education

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                   Texas A&M University
                   Bachelor's degree, Computer Engineering · (2012 - 2016)




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Contact
                                     Chethan Rajkumar
www.linkedin.com/in/                 Software Engineer at Google
chethanrajkumar (LinkedIn)           Austin

Top Skills                           Experience
Core Java
C#                                   Google
Python                               Software Engineer
                                     June 2020 - Present (8 months)
                                     Austin, Texas, United States
Languages
Hindi (Limited Working)
English (Native or Bilingual)        IBM
                                     Data Scientist - IBM
Kannada (Native or Bilingual)
                                     February 2017 - June 2020 (3 years 5 months)
                                     Austin, Texas Area
Certifications
                                     Building machine learning modules/products by leveraging Watson API's
Sun Certified Java Programmer
IBM Cloud Garage Method Advocate
                                     IBM
IBM Cloud Garage Method Explorer
                                     Cognitive Software Engineer (Intern) - Watson Group
IBM Cloud Garage Method
                                     May 2016 - August 2016 (4 months)
Developer Bootcamp
                                     Austin, Texas Area


                                     Samsung R&D Institute
                                     Lead Engineer
                                     February 2012 - July 2015 (3 years 6 months)
                                     Bangalore

                                     Svoice Server (NLP, Machine Learning)
                                     Windows Phone/Android application developer


                                     Cognizant Technology Solutions
                                     Programmer Analyst
                                     September 2010 - February 2012 (1 year 6 months)
                                     Banagalore

                                     Java Web Application Developer




                                     Education
                                     North Carolina State University
                                     Master's degree, Computer Science · (2015 - 2016)


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                   Bangalore University
                   Bachelor of Engineering (B.E.), Electronics and Communications
                   Engineering · (2006 - 2010)




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Kontakt
                                    Christoph Sachse
www.linkedin.com/in/christoph-      Software Engineer at Google
sachse-67251224 (LinkedIn)          Austin

Top-Kenntnisse                      Berufserfahrung
LaTeX
Web Development                     Google
C++                                 Software Engineer
                                    April 2019 - Present (1 Jahr 10 Monate)
                                    Austin, Texas Area
Languages
Deutsch (Native or Bilingual)
Englisch (Full Professional)        Indeed.com
                                    Software Engineer
Französisch (Limited Working)
                                    Oktober 2015 - März 2019 (3 Jahre 6 Monate)
                                    Austin, TX
Certifications
R Programming
                                    StructuredDomains.com
The Data Scientist’s Toolbox
                                    Co-Founder & CTO
                                    Juli 2012 - September 2015 (3 Jahre 3 Monate)
Honors-Awards                       Austin, TX
Otto Hahn Medal of the Max Planck
                                    Technical design and implementation of a platform for online marketplaces
Society

                                    Indeed.com
                                    Software Engineer
                                    Juli 2014 - Januar 2015 (7 Monate)


                                    TrafficMedia
                                    Software Engineer
                                    August 2011 - Juni 2012 (11 Monate)
                                    Domain Appraisal


                                    Universität Hamburg
                                    Post-Doc (Mathematics)
                                    Oktober 2010 - Juli 2011 (10 Monate)
                                    Mathematical research, teaching


                                    The University of Texas at Austin
                                    Postdoctoral researcher (Mathematics)
                                    September 2008 - August 2010 (2 Jahre)
                                    Mathematical research

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                   Ausbildung
                   The University of Texas at Austin
                   Theoretical and Mathematical Physics · (2008 - 2010)


                   Universität Leipzig
                   Dr. (PhD), Mathematics · (2004 - 2008)


                   Universität Würzburg
                   Diplom, Physics · (1997 - 2003)




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Contact
                                    Dale Markowitz
www.linkedin.com/in/dale-           Applied AI Engineer at Google
markowitz (LinkedIn)                Austin
daleonai.com (Blog)

                                    Summary
Top Skills
Java                                I'm an Applied AI Engineer at Google, where I work making Machine
C                                   Learning tools as user-friendly and intuitive as possible. I build a lot
Linux                               of prototypes.


Publications                        Projects and blogs at daleonai.com, or follow me on Twitter
Building an AI-Powered Searchable   @dalequark
Video Archive
Build Your Own AI-Powered           I don't contract. Sorry!
Moderator for Discord




                                    Experience
                                    Google
                                    2 years 9 months

                                    Applied AI Engineer
                                    May 2019 - Present (1 year 9 months)
                                    Austin

                                    I make Machine Learning as easy as possible to use in Google Cloud.

                                    Software Engineer, Google AI
                                    May 2018 - Present (2 years 9 months)
                                    New York, New York

                                    I worked on Natural Language Processing in Google Research, focusing on
                                    news.


                                    OkCupid
                                    1 year 11 months

                                    Software Engineer (Data Science/Backend)
                                    September 2015 - July 2017 (1 year 11 months)
                                    Greater New York City Area

                                    I'm an engineer on the Data Science and Backend teams OkCupid. I program
                                    primarily in C++ and Python. I'm particularly interested in the intersection of
                                    data science and engineering, i.e. how can we build site features that better
                                    integrate insights from our data? And of course, I spend lots of time thinking
                                                                        Page 1 of 3
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                   about how we can most effectively predict which two humans are going to fall
                   in love.

                   Data Scientist
                   September 2015 - July 2017 (1 year 11 months)
                   Greater New York City Area


                   Princeton Neuroscience Institute and Princeton Computer Science
                   Student Researcher
                   September 2014 - June 2015 (10 months)
                   Princeton University

                   I am currently working with the Princeton Neuroscience Institute to build a
                   brain-computer interface for measuring sustained attention. I've built a data
                   acquisition system for running experiments with the Emotiv EEG headset in
                   Java, with a browser-based display. I'm currently analyzing the data using
                   preprocessing and machine learning techniques in Matlab.


                   Princeton University
                   Computer Science Research Assistant
                   June 2014 - August 2014 (3 months)
                   Princeton University

                   With Professor Vivek Pai, I worked to build a software cache for developing
                   world countries. BeagleCache is a software cache that runs on a BeagleBone
                   Black, a $45 Linux Computer the size of a credit card. Built with Node.js and
                   C, it aims to help improve internet access speeds for users in developing world
                   countries by serving cached data, and sharing data with computers in high-
                   bandwidth regions over a compressed channel.


                   Floored
                   Engineering Intern
                   June 2013 - September 2013 (4 months)
                   NYC

                   At Floored, I built a device for taking 3D scans of interior spaces. Our robot
                   used Hokuyo laser scanners and a high resolution camera to capture point
                   clouds of rooms. I built the first prototype of this device, in Node.js/javascript.


                   ER Accelerator
                   Intern
                   June 2012 - August 2012 (3 months)




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                   Education
                   Princeton University
                   Bachelor’s Degree, Computer Science · (2011 - 2015)




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Contact
                                     Dan Lorenc
www.linkedin.com/in/danlorenc        Software Engineer at Google
(LinkedIn)                           Austin

Top Skills                           Experience
Software Development
Software Design                      Google
Disaster Recovery                    Software Engineer
                                     December 2012 - Present (8 years 2 months)
                                     Working on the infrastructure behind the Google Cloud Platform.


                                     DISQUS
                                     Software Engineer
                                     April 2012 - December 2012 (9 months)
                                     Designed, implemented and launched Promoted Discovery, an advertisement
                                     network currently handling hundreds of millions of impressions a day.


                                     Microsoft
                                     Software Development Engineer
                                     February 2010 - August 2012 (2 years 7 months)
                                     Bellevue, WA

                                     I'm a software development engineer working on Dynamics CRM Online.


                                     Intuit
                                     Software Development Engineering Intern
                                     May 2009 - August 2009 (4 months)
                                     I'm a software engineer working on Quickbase in Waltham, MA.


                                     MIT
                                     Engineering Intern
                                     May 2008 - May 2009 (1 year 1 month)
                                     I work in the Mechanical Engineering Department. I design and build lots of
                                     things like buoys that generate electricity from waves and inexpensive 3D-
                                     printers.


                                     Excel Engineering
                                     Engineering Intern
                                     May 2007 - January 2008 (9 months)
                                     I designed HVAC, electrical and plumbing systems for schools and hospitals.


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                   Education
                   Massachusetts Institute of Technology
                   Bachelor of Science (B.S.), Mechanical Engineering · (2006 - 2010)




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Contact
                                     David Fawcett
www.linkedin.com/in/david-fawcett-   Software Engineer at Google
a96a5687 (LinkedIn)                  Austin

Top Skills                           Summary
Leadership
                                     I am a problem solver. But what drives me more than the joy of
Programming
                                     problem solving, is the joy of helping other people solve problems.
Problem Solving
                                     Working with others to bring projects and ideas to fruition is at the
Honors-Awards                        core of engineering and what I love to do. I love to encourage and
                                     motivate my peers while bringing my own technical knowledge to
Eagle Scout
                                     bear. I want to foster a positive culture and environment around
National Merit Scholar
                                     me wherever I go and in whatever I do. Want to chat? Feel free to
President’s Endowed Scholarship
Kennedy Scholarship
                                     contact me. I am always ready to meet new people over coffee or
                                     lunch in Austin.



                                     Experience
                                     Google
                                     Software Engineer
                                     March 2020 - Present (11 months)
                                     Austin, Texas, United States


                                     National Instruments
                                     1 year 7 months

                                     Product Support Engineer
                                     October 2019 - March 2020 (6 months)
                                     Austin, Texas Area

                                     RF Measurement Software

                                     ELP Engineer
                                     September 2018 - October 2019 (1 year 2 months)
                                     Austin, Texas Area

                                     Interfaced with customers and sales to support the use of NI's product portfolio
                                     in automated test and embedded monitoring and control applications.


                                     Worked with R&D as a Technical Specialist for High-Speed Modular
                                     Instruments to act as a go-to resource for function generators, oscilloscopes,
                                     and Digital Pattern products within the technical support organization.


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                   Developed Python scripts using NI’s Modular Instrument Python modules
                   to showcase the Python Adapter for TestStand 2019 at NI Week. Used the
                   knowledge gained during this experience to produce a getting started guide for
                   TestStand’s Python Adapter.


                   Pariveda Solutions
                   Technology Consultant Intern
                   May 2017 - August 2017 (4 months)
                   Dallas/Fort Worth Area

                   Worked with The Center for BrainHealth and a team of consultants to create a
                   mobile application to increase awareness for brain health and bring recognition
                   to the center for its research and clinical resources. The application was
                   developed for both Android and iOS using Xamarin and used Contentful and
                   AWS for content and data management.


                   Increased avenues of learning for individuals with social cognitive disabilities
                   through the development of a proof of concept (POC) game using Unreal
                   Engine. Clinicians at the center use virtual reality to teach their clients key
                   social concepts. The POC was designed to complement training the clinicians
                   provided at the center.


                   Clear Measure, Inc.
                   Engineering Intern
                   June 2015 - August 2015 (3 months)
                   Austin

                   - Redeveloped Clear Measure's website on the Umbraco CMS
                   - Developed a simple production environment for the website to work with
                   another developer
                   - Gained experience in HTML, CSS, Javascript, and Twitter Bootstrap
                   - Participated in a three day master course on Domain Driven Design and
                   Continuous Integration




                   Education
                   Texas A&M University
                   Bachelor’s Degree, Electrical Engineering · (2014 - 2018)


                   Universidad Católica 'Santa Teresa de Jesús' de Ávila
                   Study Abroad, Spanish Language and Literature · (2012 - 2012)


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Contact
                                      Dre Coldwell
www.linkedin.com/in/                  Software Engineer at Google
andreacoldwell (LinkedIn)             Austin

Top Skills                            Experience
Microsoft Excel
PowerPoint                            Google
Microsoft Office                      Software Engineer
                                      October 2019 - Present (1 year 4 months)

Languages
English                               Dell Technologies
                                      3 years 2 months
Honors-Awards                         Senior Software Engineer
University Honors                     January 2018 - September 2019 (1 year 9 months)
                                      Austin, Texas Area
Q2 Bronze Award and On the Spot
Award                                 • Full stack developer extreme programming in .NET Core for a large
                                      ecommerce web application
                                      • Collaborated to create a common search platform to increase speed to
                                      market and to reduce experience inconsistencies
                                      • Coded an algorithm to determine which addresses were most relevant to a
                                      customer with the goal to identify accurate
                                      customer data and to reduce delays in revenue arising out of misaligned
                                      customer data
                                      • Created an index for Dell.com search using test driven development and
                                      continuous integration and deployment
                                      • Developed an automated program to traverse Dell.com in search of broken
                                      links to provide better customer experience
                                      • Selected to travel to the 2018 India Summit based on recognition of top
                                      performance and leadership
                                      • Nominated to a panel to discuss emerging changes from an engineering
                                      perspective in the pivotal transformation

                                      Software Developer Engineer
                                      August 2016 - January 2018 (1 year 6 months)
                                      Austin, Texas Area

                                      • Full stack developer working in C# backend and AngularJS front end for a
                                      large enterprise web application
                                      • Customized a feature allowing customers to repurchase an order to reduce
                                      users’ ordering time by 54% • Developed a single search quote page with an
                                      intuitive view and the ability to requote expired quotes

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                   • Patented an algorithm comparing pre-built products to a custom configured
                   device in real-time
                   • Presented to senior executives on the ITDP Summit winning hackathon
                   project to improve mobile conversion on dell.com
                   • Mentored 3 interns during the Dell summer internship program to help
                   improve overall work experience at Dell
                   • Lead a committee of 15 people to organize networking, social and volunteer
                   events for more than 75 people
                   • Ran day-of coordination for the Dell Make-A-Wish golf tournament raising
                   money to grant wishes for critically ill children


                   Spiceworks
                   Software Development Intern
                   August 2015 - May 2016 (10 months)
                   Austin, Texas Area

                   • Updated the internal UI Toolkit website to display the most recent frontend
                   tools available for developers
                   • Implemented a search feature in Ruby allowing internal users to more easily
                   navigate the website
                   • Created both EmberJS and Ruby on Rails API documentation to guide
                   developers in using internal tools


                   Dell Technologies
                   Intern Undergrad Analyst
                   May 2015 - August 2015 (4 months)
                   Austin, Texas Area

                   • Built a PHP web application standardizing technology roadmaps for projects
                   and teams within the IT organization
                   • Interviewed 6 subject matter experts to gather data on server life cycles and
                   best practices for software managements
                   • Enrolled in a training course on corporate social media and became certified
                   to submit posts on behalf of Dell
                   • Designed an AngularJS web application organizing intern profile and project
                   information for the Internovation Fair
                   • Organized setup of hardware for the Internovation Fair and planned an IT
                   intern team building event for 45+ interns
                   • Coordinated the sign up and scheduling of 45+ IT interns for a Dell campus
                   wide 5k fitness and fun run


                   ExxonMobil

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                   Upstream Build Intern
                   May 2014 - August 2014 (4 months)
                   Houston, Texas Area

                   • Created a SAP documentation process and trained 40+ global users
                   increasing the efficiency in retrieving information
                   • Secured a vulnerable VB.NET web application by implementing code
                   validation to remove risk of a user security breach
                   • Interviewed 9+ business users to gather requirements and propose an
                   upgrade of a Finance Windows application
                   • Presented project deliverables and results to 7 managers and team to show
                   business impact and value add to team
                   • Surveyed 47 interns to gather demographic data for the intern program end
                   of summer newsletter


                   Lakewood Country Club
                   Lifeguard Manager
                   May 2009 - August 2013 (4 years 4 months)
                   -Voted Employee of the Quarter in Summer 2013 by management for
                   consistent of delivery of quality performance
                   -Managed 30+ lifeguards for three consecutive summers assigning pool
                   maintenance and lifeguarding duties
                   -Created schedules for weekly rotations, lead weekly refreshers for lifeguards,
                   and helped coordinate swim meets
                   -Coordinated fitness center daily operations and maintained a clean and
                   comfortable workout environment
                   -Assisted members with exercise equipment to ensure safety and proper care
                   of facility equipment




                   Education
                   The University of Texas at Austin
                   Bachelor's Of Science and Arts, Computer Science · (2012 - 2016)




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Contact
                                      Edward Villalba
www.linkedin.com/in/edvilla           App Modernization Engineer - Google Cloud, O'Reilly Author
(LinkedIn)                            (Kuberneted Best Practices), USAF Veteran, Dad, Husband
                                      Austin, Texas Metropolitan Area
Top Skills
CISSP                                 Summary
CCNA
                                      Principal Software Engineer with in-depth knowledge of
Active Directory
                                      Infrastructure operations, Hybrid computing, DevOps integration and
                                      Automation technologies to bring Cloud Native technologies into the
Languages
                                      Enterprise. Specializing in Open Source Microservice and DevOps
English (Native or Bilingual)
                                      using Container Orchestration technologies and following Cloud
Spanish (Professional Working)
                                      Native Computing patterns and practices.

Certifications
                                      Co-Author: Kubernetes Best Practices by O'Reilly
MS: Implementing Microsoft Azure
Infrastructure Solutions              ISBN: 978-1-492-05647-8
Professional Cloud Architect
Certified Kubernetes Application      Specialties: CKAD: Certified Kubernetes Application Developer,
Developer                             CKA: Certified Kubernetes Administrator, MCSD: Azure Solutions
LFS132x: Introduction to Cloud        Architect, Full Stack Development MEAN
Foundry and Cloud Native Software
Architecture

                                      Experience
                                      Google
                                      Enterprise Application Modernization Engineer
                                      September 2020 - Present (5 months)
                                      Austin, Texas Metropolitan Area

                                      As an Enterprise Application Modernization Engineer I contribute experience
                                      and thought leadership to support Google Cloud Sales teams, and drive vision,
                                      mission, and strategy around
                                      application migrations and transformations. I meet with customers to facilitate
                                      business transformation, success patterns, and establish an architectural
                                      blueprint as the foundation for migration
                                      to Google Cloud.
                                      Responsibilities:
                                      - Support local sales teams in pursuit of key business opportunities, and
                                      engage customers to address aspects of the data lifecycle.
                                      - Identify business and technical requirements, conduct full technical
                                      discovery, and architect client solutions to meet gathered requirements.


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                   - Take responsibility for leading technical projects, including such activities
                   as technology advocacy, supporting bid responses, product and solution
                   briefings, proof-of-concept work, and the coordination of supporting technical
                   resources.
                   - Work hands-on with Google Cloud Platform products to demonstrate and
                   prototype integrations in customer/partner environments.
                   - Prepare and deliver product messaging in an effort to highlight the Google
                   Cloud Platform value proposition, using techniques that include whiteboard
                   and slide presentations, product demonstrations, white papers and RFI
                   response documents.


                   Microsoft
                   11 years 1 month

                   Principal Software Engineer
                   March 2019 - September 2020 (1 year 7 months)
                   Austin, Texas Area

                   Commercial Software Engineering (CSE) enables high-impact customers to
                   achieve more and drive the value of our intelligent cloud and edge.
                   We are a software engineering team that codes with our customers every
                   single day. We solve real problems and build trust by coding side-by-side with
                   engineers from customer and Microsoft teams.
                   My responsibilities include:
                   * Partnering with customer engineering teams to find key technology
                   opportunities
                   * Drive adoption and excitement with early technology programs by partnering
                   with companies to adopt key emerging capabilities of Microsoft Azure
                   * Collaborate and provide feedback to influence product roadmaps
                   * Develop and deploy commercially available solutions with a focus on
                   security, scalability and reliability

                   Azure Technology Solutions Professional - Global Black Belt
                   July 2016 - March 2019 (2 years 9 months)
                   United States

                   Act with superior customer focus in mind as an integral member of the
                   Microsoft sales teams in generating excitement to fill sales pipeline, accelerate
                   technical sales cycle and secure technical closure using deep technical
                   expertise in the Microsoft Azure Cloud Platform as well as in adjacent
                   technologies.Provide pre-sales technicals and architectural support, translating
                   customer’s requirements, to enable customers, MSFT services and partners
                   to assist in technical objection handling, architecture, demonstrations,

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                   deployment and consumption guidance of Microsoft Cloud technologies and
                   corresponding solutions (both 1st and 3rd party solutions).

                   Azure Technology Solutions Professional
                   March 2015 - July 2016 (1 year 5 months)
                   I serve as technical and business product expert for Microsoft Azure
                   Cloud platform to Business’ IT Pros and IT Sr. Executives. I possess
                   strong presentation skills, with the ability to develop and deliver technical
                   presentations with customers and to tailor content to audience as appropriate.
                   I can identify and propose specific strategies, initiatives and remedies
                   necessary to align Microsoft technology with corporate objectives. I routinely
                   translate customer business issues/opportunities into technical solution/
                   business requirements. I am also responsible to review and analyze current
                   technology infrastructure and its ability to support strategic corporate
                   objectives. Delivering technical sales engagements, Architectural Design
                   Sessions (ADS) and Proof-of-Concepts (POC).

                   Datacenter Technology Solutions Professional
                   January 2013 - March 2015 (2 years 3 months)
                   South Florida

                   I serve as technical and business product expert across Private Cloud, Hybrid
                   Cloud, Azure, System Center and Windows Server Business’ IT Pros and IT
                   Sr. Executives. I possess strong presentation skills, with the ability to develop
                   and deliver technical presentations with customers and to tailor content
                   to audience as appropriate. I can identify and propose specific strategies,
                   initiatives and remedies necessary to align Microsoft technology with corporate
                   objectives. I routinely translate customer business issues/opportunities into
                   technical solution/business requirements. I am also responsible to review and
                   analyze current technology infrastructure and its ability to support strategic
                   corporate objectives. Delivering technical sales engagements, Architectural
                   Design Sessions (ADS) and Proof-of-Concepts (POC).

                   Account Technology Strategist
                   September 2009 - January 2013 (3 years 5 months)
                   Lead technology strategist serving a small number of Microsoft's large
                   enterprise partners in the South Florida area. Collaborate with my account
                   team and those trusted enterprise partners in developing and executing a long
                   term strategy to meet their revenue goals and strategic business initiatives. I
                   specialize in infrastructure operations with concentration in Windows Server,
                   Desktop Management, Active Directory and Security.


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                   Seminole Tribe of Florida
                   Enterprise Architect Administrator
                   April 2008 - September 2009 (1 year 6 months)


                   BankAtlantic
                   Infrastructure Architect - Supervisor
                   September 2003 - April 2008 (4 years 8 months)
                   Design, planning, implementing and management of Active Directory,
                   Windows OS, Exchange 2003, SMS 2003, MOM 2005, IBM/NETApp SAN,
                   VMWare Virtual Infrastrcuture, StorageTek Tape Library, Symantec NetBackup
                   and all server hardware systems.




                   Education
                   Florida State University
                   Bachelor’s Degree, Computer Science · (1993 - 1995)




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Contact
                                       Eleanor Avrunin
www.linkedin.com/in/eavrunin           Software Engineer at Google
(LinkedIn)                             Austin

Top Skills                             Experience
Python
JavaScript                             Google
C++                                    Software Engineer
                                       October 2019 - Present (1 year 4 months)
                                       Austin, Texas Area
Languages
Spanish
English                                Reliable Autonomous Systems Laboratory
                                       Research Assistant
                                       2018 - 2018 (less than a year)
Honors-Awards                          Robotics Institute, Carnegie Mellon University
National Defense Science and
Engineering Graduate Fellowship        See Projects section

National Science Foundation
Graduate Research Fellowship           Duolingo
Branford College Fellows’ Prize        Software Engineer
Computing Research Association         2016 - 2016 (less than a year)
Outstanding Undergraduate
                                       Software Engineer on the Research Team. Involved in processing and
Researcher Award Finalist
                                       analysis of a large dataset of user activity. Set up data collection for an
Phi Beta Kappa
                                       experiment run with Pittsburgh-area schools. Designed, implemented, and

Publications                           supported a system for offering external language evaluations to a random
                                       sample of users learning English from Spanish and Spanish from English and
Incorporating active vision into the
body schema                            analyzing their results.
Effects Related to Synchrony and
Repertoire in Perceptions of Robot
Dance                                  Reliable Autonomous Systems Laboratory
                                       Research Assistant
Socially-Appropriate Approach Paths
Using Human Data                       2011 - 2015 (4 years)
                                       Robotics Institute, Carnegie Mellon University
Robots That Express Emotion Elicit
Better Human Teaching                  See Projects section
Using Human Approach Paths to
Improve Social Navigation
                                       Social Robotics Laboratory
                                       Undergraduate Research Assistant
                                       2008 - 2011 (3 years)
                                       Yale University

                                       See Projects section


                                       Quality of Life Technology Center REU

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                   Summer REU participant
                   June 2010 - August 2010 (3 months)
                   Carnegie Mellon University


                   Amherst Martial Arts
                   Instructor
                   2005 - 2007 (2 years)
                   Amherst, MA

                   Student for nine years and instructor for two years. Primary teacher for teen
                   class, assistant instructor for beginner 5- to 8-year-olds, and substitute teacher
                   for other classes. Second-degree black belt.




                   Education
                   Carnegie Mellon University
                   Master of Science (M.S.), Robotics · (2011 - 2015)


                   Yale University
                   Bachelor of Science (B.S.), Computer Science · (2007 - 2011)




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Contact
                                     Erik Haddad
www.linkedin.com/in/erikhaddad       Senior User Experience Engineer at Google
(LinkedIn)                           Austin, Texas Metropolitan Area
www.google.com (Company)

                                     Summary
Top Skills
AngularJS                            Full-stack developer setting the trajectory for this world's most
jQuery                               innovative moonshots. What exactly does that mean? Well, I wrote
Web Development                      an article about it: https://medium.com/google-design/why-full-stack-
                                     developers-make-the-best-ux-engineers-1ddbff6c1739
Languages
Spanish (Elementary)                 I also speak at conferences worldwide, evangelizing for web,
Sign Languages (Limited Working)     Android, Firebase, and Machine Learning technologies.
English (Native or Bilingual)
                                     Qualifications:
                                     - 16+ years of experience in full-stack development
                                     - 7+ years of full-stack development at ESPN/Disney
                                     - 5+ years of UX Engineering at Google
                                     - MBA in Technology Management
                                     - BS in Computer Science (minors in Criminal Justice and Modern
                                     History)


                                     Specialties:
                                     - Rapid prototyping UI/UX/HCI and data visualization using Angular,
                                     REST APIs, D3.js, and all things Firebase
                                     - Web development (HTML5, CSS3, JavaScript, Angular, AngularJS,
                                     Typescript, jQuery)
                                     - Software engineering (Java, SQL, database modeling, Android)
                                     - Product and project management, innovation, and entrepreneurship
                                     - All things User Experience



                                     Experience
                                     Google
                                     6 years 5 months

                                     Sr UX Engineer
                                     February 2020 - Present (1 year)
                                     Austin, Texas, United States

                                     Hiring/Staffing UX

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                   Duties:
                   Design, prototyping, and engineering of next generation recruitment tools and
                   features


                   Noteworthy:
                   Creator of avatar and persona generation tool: https://persona-creator.web.app

                   UX Engineer
                   July 2016 - February 2020 (3 years 8 months)
                   San Francisco, CA

                   Firebase UX


                   Duties:
                   Design, prototyping, and engineering of new products for database
                   management, Actions on Google, and Fabric integration.


                   Noteworthy:
                   Creativity at the Core conference presenter - July 2016
                   ng-europe hackathon host and conference presenter - October 2016
                   ngVikings conference presenter - February 2017
                   ng-nl conference presenter - March 2017
                   Angular Summit conference presenter - May 2017
                   JS Poland conference presenter - June 2017
                   Angular Up conference presenter - June 2017
                   AngularMix conference presenter - October 2017
                   Firebase Dev Summit conference presenter - October 2017
                   RIT GCCIS guest speaker - January 2018
                   ng-europe conference presenter - February 2018
                   ngVikings conference presenter - March 2018
                   Firebase Dev Summit Extended conference presenter - November 2018
                   Droidcon Boston conference presenter - April 2019
                   Google I/O conference presenter - May 2019
                   GDG Kuala Lumpur conference presenter - July 2019
                   DevFest Florida Orlando conference presenter - November 2019
                   React Berlin conference staffer - December 2019

                   UX Engineer
                   September 2014 - July 2016 (1 year 11 months)
                   Mountain View, CA

                   Work/Apps UX
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                   Duties:
                   Design, prototyping, and engineering of new products for communication,
                   storage, collaboration, and management.


                   Noteworthy:
                   ng-conf (internal) conference presenter - April 2015
                   RIT GCCIS guest speaker - February 2016
                   CABE conference presenter - March 2016


                   ESPN
                   7 years 3 months

                   Software Engineer III
                   March 2014 - September 2014 (7 months)
                   Bristol, CT

                   ESPN Technology - Consumer Devices


                   Software engineering (Java/Android SDKs) and web development (UI/UX)
                   for Google Glass, Google Chromecast, Android Wear and provide support for
                   WatchESPN products on set top boxes and internet-connected TVs.

                   Software Engineer III
                   August 2013 - March 2014 (8 months)
                   Bristol, CT

                   ESPN Emerging Technology - Advanced Development


                   Advanced development of tools and graphics for studio/broadcast applications.
                   Extensive use of REST APIs, AngularJS (JavaScript), Grunt, Bower, NPM,
                   websockets, MongoDB, HTML5, and CSS3.


                   Primary focus: social media tools, 3D graphics, and touchscreens for relaunch
                   of SportsCenter in May 2014


                   - Presenter at NYC "Visualized" Conference in February 2014: "Storytelling
                   with Big Sports Data at ESPN"


                   - Attended "ng-conf" in January 2014, Salt Lake City, UT
                   - Attended "MIT Sloan Sports Analytics Conference" in February 2014, Boston,
                   MA



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                   - Participated in "ESPN Digital Media Hackathon" in December 2013

                   Software Engineer III
                   November 2011 - August 2013 (1 year 10 months)
                   Hartford, Connecticut Area

                   ESPN Emerging Technology - Sports Data Repository


                   Development of APIs, iPad/iPhone apps, data visualizations and analytics,
                   touch screens apps, web video, and all things tech. An evangelist for web
                   development and API best practices.


                   - Attended "HTM5 Developer Conference" in April 2013, San Francisco, CA


                   - Participated in "ESPN Digital Media Hackathon" in December 2012
                   (Technical Achievement award)

                   Web Developer II
                   January 2009 - November 2011 (2 years 11 months)
                   Web development for ESPN.com advanced development projects regarding
                   biographical data and historical statistics.


                   - Attended "JavaOne" conference in September 2010, San Francisco, CA
                   - Attended "jQuery Conference" in October 2010, Boston, MA
                   - Attended "Java Masters" training in September 2011, Bristol, CT

                   Software Engineer I
                   July 2007 - January 2009 (1 year 7 months)
                   Software Engineer and Web Developer, splitting time working on the back-end
                   and the front-end of ESPN.com.


                   Projects: Game, player, draft, and NCAA tournament pages, data visualization,
                   editorial tools


                   Excellus BlueCross BlueShield
                   Software & Database Developer
                   September 2005 - June 2007 (1 year 10 months)
                   Development, testing, documentation, and debugging at all layers of insurance
                   provider software. JSP front-end work supplemented by Struts and Hibernate
                   interacting with DB2.


                   The CBORD Group, Inc.
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                   Quality Assurance Engineer
                   May 2004 - August 2004 (4 months)
                   Full-time internship (co-op) creating unit test scripts in VBScript for flagship
                   transaction processing software.


                   The CBORD Group, Inc.
                   Web Developer
                   May 2003 - August 2003 (4 months)
                   Full-time internship (co-op) creating front-end and back-end solutions for
                   management of company annual conference and customer satisfaction
                   surveys.




                   Education
                   Rochester Institute of Technology
                   MBA, Technology Management & Information Technology · (2006 - 2007)


                   Rochester Institute of Technology
                   BS, Computer Science · (2001 - 2006)




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Contact
                                   Evan Greco
www.linkedin.com/in/evan-greco     Software Engineer at Google
(LinkedIn)                         Austin

Top Skills                         Summary
TypeScript
                                   I am a full-stack software engineer, having worked professionally
Node.js
                                   on everything from Linux kernel drivers all the way up to TypeScript
Ruby on Rails
                                   Serverless APIs in AWS Lambda. One of my strongest skills is
                                   my ability and willingness to dive deep into old, crusty code and
                                   learn on the fly to solve business-critical problems. I have a history
                                   of shipping device drivers on a year-long cycle, bi-weekly pushes
                                   to production Ruby on Rails projects, hand-building RPMs and
                                   deploying to largely forgotten servers, and improving code bases
                                   along the way.



                                   Experience
                                   Google
                                   Software Engineer
                                   April 2020 - Present (10 months)
                                   Austin, Texas, United States


                                   FlightAware
                                   Software Developer
                                   September 2019 - April 2020 (8 months)
                                   Houston, Texas Area


                                   LegitScript
                                   Senior Software Engineer
                                   October 2017 - September 2019 (2 years)
                                   Portland, Oregon (remote)

                                   * Lead a software team (and at one point, 2 teams) designed to work on both
                                   modern and legacy code bases, ranging from multiple Ruby on Rails systems
                                   to green field TypeScript Serverless projects in AWS Lambda
                                   * Interface directly with the business to translate business needs to technical
                                   requirements
                                   * Work within an Agile framework and a product team to organize and execute
                                   on user stories


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                   * Triage and deploy hotfixes to business-critical systems, both legacy and
                   brand new
                   * Primary technologies: AWS (Lambda, CloudWatch, Serverless, etc.),
                   JavaScript/TypeScript, NodeJS, Clojure, Ruby on Rails, Python, Scrapy,
                   SalesForce (APEX), PostgreSQL, MySQL


                   Nike
                   Senior Data Engineer
                   February 2017 - October 2017 (9 months)
                   Portland, Oregon Area

                   * Designed and implemented tools used for cloud-based resource provisioning
                   for the Next Gen Platform Data & Analytics team
                   * Provided services with AWS Lambda, DynamoDB, API Gateway, and other
                   AWS technologies to enable data migrations and processing
                   * Primary technologies: Python 2.7, boto3, NodeJS, AWS (API Gateway,
                   Lambda, EC2, S3, DynamoDB, IAM being most prominent)


                   Steelcase
                   Software Engineer
                   August 2015 - October 2017 (2 years 3 months)
                   Portland, Oregon Area

                   * With a tight deadline, developed web application using Angular 2 and
                   NodeJS/Express which is used to securely manage Internet of Things
                   gateways already deployed in the field
                   * Developed software for the media:scape product line, which includes
                   solutions for streaming media in conference rooms to displays
                   * Media:scape technical landscape included native clients (Windows, OS X)
                   communicating with multiple receivers (Intel NUCs) using H.264, which display
                   content to connected monitors
                   * Worked on entire stack: Python on Ubuntu-based gateway, C#/NodeJS/
                   MySQL cloud-based processing nodes, and JavaScript (AngularJS) on the
                   frontend
                   * Primary technologies: Clojure, PostgreSQL, JavaScript (NodeJS/Express,
                   AngularJS, EmberJS), Python, C#, MySQL, Ruby


                   Eleven Software
                   Software Engineer
                   July 2014 - August 2015 (1 year 2 months)
                   Portland, Oregon Area



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                   * Implemented features for ElevenOS, a C#/.NET web application used for
                   network management within the hospitality industry
                   * Contributed to a Python-based cloud tool used for 802.1x authentication,
                   deployed via AWS
                   * Primary technologies: C#, Microsoft SQL Server (T-SQL), FreeRADIUS,
                   Python, Linux (Fedora)


                   National Instruments
                   Software Engineer
                   May 2012 - July 2014 (2 years 3 months)
                   Austin, Texas Area

                   * Designed and implemented USB device drivers and firmware for the Portable
                   DAQ Backplanes Software group
                   * Largest project involved a large (~1 million lines of C/C++) port from the
                   Windows NT kernel to a real-time Linux kernel (NI Linux Real-Time)
                   * Other projects include a USB bus driver for the Linux kernel as well as a
                   kernel extension used for firmware updates
                   * Prototyped novel USB device driver architecture for the Linux kernel in C
                   * Wrote extensions for internal web-based configuration framework in C# using
                   Silverlight/.NET
                   * Primary technologies: C/C++, Linux kernel, Windows NT kernel, OS X kernel
                   extensions, USB, LabVIEW




                   Education
                   Texas A&M University
                   Bachelor of Science - BS, Computer Science · (2008 - 2012)




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Contact
                                    Garrett Openshaw
www.linkedin.com/in/gopenshaw       Software Engineer at Google
(LinkedIn)                          Austin, Texas Metropolitan Area

Top Skills                          Summary
Python
                                    Full-stack software engineer with experience in machine learning
Java
                                    and networking. Delivering creative, testable solutions to business
Software Development
                                    problems in Python and Javascript.
Honors-Awards
                                    Languages: Python, Javascript, SQL, Java, C, Matlab
1st Place Team
                                    Frameworks/Tools: AWS EC2, VPC, CloudFormation; Django;
Top 24 Team
                                    Node.js; Vue.js; MySQL; MongoDB; Unix; Git;


                                    https://github.com/gopenshaw



                                    Experience
                                    Google
                                    Software Engineer
                                    April 2019 - Present (1 year 10 months)
                                    Austin, Texas


                                    Clinc, Inc.
                                    Software Engineer, Team Lead
                                    January 2018 - March 2019 (1 year 3 months)
                                    Ann Arbor, Michigan

                                    Conversational AI startup for financial services (chatbots)


                                    Arbor Networks, the security division of NETSCOUT
                                    Software Engineer
                                    May 2016 - January 2018 (1 year 9 months)
                                    Ann Arbor, MI

                                    Wrote software for a DDoS mitigation and network visibility appliance


                                    Ridge Tool Company
                                    Software Development Co-op
                                    January 2014 - November 2015 (1 year 11 months)
                                    Elyria, Ohio



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                   Education
                   University of Toledo
                   Bachelor of Science (BS), Computer Science and Engineering · (2012 - 2016)


                   Oberlin College
                   Bachelor of Music, Violin Performance · (2006 - 2010)




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Contact
                                     Ivan Oropeza
www.linkedin.com/in/ivan-            Software Engineer at Google
oropeza-85718943 (LinkedIn)          Austin

Top Skills                           Summary
Java
                                     I am a Master's student in Computer Science doing research in
C
                                     Information Retrieval and my interests are in machine learning and
C#
                                     artificial intelligence. I have had internships at Google, Travelocity,
Languages                            Cisco Systems, Heartland Payment Systems and Rockwell Collins.

English (Native or Bilingual)
                                     Skills:
Spanish (Native or Bilingual)
                                     Java, Python, C, C#, C++, Ada, MySQL, object oriented
Honors-Awards                        programming, and algorithm design

Gates Millennium Scholar
Dean's List Award
                                     Experience
                                     Google
                                     Software Engineer
                                     August 2015 - Present (5 years 6 months)


                                     The University of Texas at Austin
                                     Graduate Research Assistant
                                     August 2013 - September 2015 (2 years 2 months)
                                     Working under Dr. Matthew Lease, I investigate the creation of evaluation
                                     datasets for information retrieval system minimally with the use of
                                     crowdsourcing. In our current project we study how techniques such as
                                     sampling or active learning are affected by noisy judgements introduced by the
                                     crowds. Since such techniques empower a small subset of judgements, the
                                     effect on the ranking of systems and estimator metrics are unknown.


                                     Google
                                     College Intern
                                     May 2014 - August 2014 (4 months)
                                     Designed and developed an internal tool for advertising deal debugging in
                                     Python. The tool consolidates data from various sources in order to provide
                                     a meaningful yet user friendly snapshot of the state of the deal. In addition,
                                     the tool troubleshoots some of the typical problems in deal configurations.



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                   Moreover, the tool's modular design allows integration into other tools and fast
                   development of new features.


                   Travelocity
                   College Intern
                   May 2013 - August 2013 (4 months)
                   Developed, in a team competition, a sentiment analyzer tool to match Tweets
                   to flight data. This tool uses the following technologies: Google Places API,
                   Alchemy API, Tweeter API, Hibernate, MySQL, Twitter Bootstrap and JQuery.
                   Moreover, I developed an internal tool using Spring Roo, JQuery and MySQL
                   to facilitate managing legacy bookings for a new Travelocity partner. In
                   addition, I did code reviews and fixed bugs in production code.


                   Cisco Systems
                   College Intern
                   June 2012 - August 2012 (3 months)
                   Richardson TX

                   Develop an internal tool using Groovy and Grails (a high-productivity web
                   framework that uses Java's Hibernate and Spring technologies). This tool
                   replaced a tedious, error-prone, process and will serve as the first step in a
                   series of projects that will facilitate the development process at Cisco. The tool
                   consists of a RESTful web API that persists its data in a MySQL database.
                   This API is then used by a CLI client coded in Java, a browser, and potentially
                   an IDE.


                   Heartland Payment Systems
                   Security intern
                   June 2011 - August 2011 (3 months)
                   Learned C# to develop a program that deletes or encrypts files containing
                   sensitive data to comply with PCI-DSS standards; assisted other interns;
                   assessed the alerts generated by the DLP agents in the network; performed
                   document updates; analyzed data like physical security results; and verified
                   that hiring &amp; termination procedures were followed properly. All the code
                   developed was analyzed by vulnerability scanning software.


                   Rockwell Collins
                   Engineering co-op
                   June 2010 - August 2010 (3 months)




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                   Learned Ada and C++ to develop a program that controls a radio product; the
                   program was a prototype to demonstrate the feasibility of the project and would
                   be used as its foundation.




                   Education
                   The University of Texas at Austin
                   Master's degree, Computer Science · (2013 - 2015)


                   The University of Texas at Dallas
                   Bachelor's degree, Computer Science · (2008 - 2013)




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Contact
                                     James Ferreira
www.linkedin.com/in/james-           G Suite Specialist, US Public Sector at Google
ferreira-45411390 (LinkedIn)         Austin
www.amazon.com/gp/aw/
d/1491946180 (Other)
apps4gapps.com (Company)             Summary
                                     Now at Google doing great things in the Public Sector.
Top Skills
Cloud Computing
                                     Inventor of App Maker University,
Web Development
                                     Author of the O'Reilly books; "Google Apps Script, Web Application
Enterprise Software
                                     Development Essentials" and "Google Script - Enterprise Application
                                     Essentials"
                                     Google Developer Expert for G Suite


                                     Founder of http://GoogleScriptExamples.com, the largest place on
                                     the web for custom Google Apps Script libraries and code examples.
                                     You can also ask questions on our G+ Google Script Examples
                                     Page. Please use a public tag.


                                     Bio:
                                     James Ferreira, Founder of Ignite Synergy and App Maker
                                     University, develops and manages several Google Add-ons that help
                                     millions of users get the most out of their Google experience. He
                                     also teaches classes across the nation and has spoken at national
                                     conferences and technical events like Google I/O. Previously
                                     serving as Chief Information Officer for the New Mexico Office
                                     of Attorney General where migrated the first government agency
                                     to Google Apps, and wrote free software to extend Google Apps
                                     for education and non-profit. In partnership with Google James is
                                     working to improve the at work experience by helping businesses
                                     build their own apps using Google App Maker. Learn more at
                                     AppMakerUniversity.com



                                     Experience
                                     Google
                                     G Suite Specialist, US Public Sector
                                     April 2019 - Present (1 year 10 months)
                                     Austin, Texas Area


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                   Ignite Synergy
                   4 years 3 months

                   App Maker University
                   2017 - Present (4 years)


                   CEO
                   November 2016 - Present (4 years 3 months)
                   400 Gold Ave, Albuquerque, NM


                   Southwest Software Designs
                   CEO
                   January 2013 - November 2016 (3 years 11 months)
                   Albuquerque, New Mexico Area


                   Dito
                   Director of Development
                   2012 - 2013 (1 year)


                   New Mexico Office of the Attorney General
                   CIO
                   2006 - 2012 (6 years)




                   Education
                   The University of New Mexico
                   Bachelor of Communications




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Contact
                                    Jianfei Hua
www.linkedin.com/in/jianfei-hua-    Software Engineer at Google Cloud | G Suite
a4344711 (LinkedIn)                 Austin, Texas Metropolitan Area

Top Skills                          Summary
Java
                                    • Motivated and quick learner striving to try new technologies
Python
                                    • Embracing challenges and good at solving difficult problems
R
                                    • Excellent communication skills developed through years of team
Languages                           working

English
Chinese (Simplified)
                                    Experience
                                    Google Cloud | G Suite
                                    Software Engineer
                                    August 2019 - Present (1 year 6 months)
                                    Sunnyvale, CA

                                    Data center software


                                    Indeed.com
                                    Software Engineer
                                    August 2016 - August 2019 (3 years 1 month)
                                    CRM webapp and tools
                                    Salesforce data integration


                                    University of Pittsburgh School of Medicine
                                    Researcher, data analysis
                                    September 2010 - March 2016 (5 years 7 months)
                                    DATA ANALYSIS
                                    • Functionality prediction: Designed and implemented using java an algorithm
                                    to quantify activeness of sequence segment based on sequence variance.
                                    • Job query automation: Developed a program for downloading data from
                                    online database and submitting job query to web servers.
                                    • Big data analysis: Developed a MapReduce-based tool for large scale data
                                    processing and sequence mapping in distributed environments.


                                    INDIVIDUAL PROJECTS
                                    WaveChaser: A stock forecasting software that manages stock data and
                                    predicts stock price changes.

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                   • Implemented a data manager that downloads stock data from online sources,
                   and manages data and analysis results using relational databases.
                   • Designed and implemented a swing trade model based on long-term trend
                   and short-term stochastic, with ~50% average annualized performance on
                   large caps, 3 times the SPX benchmark.
                   • Designed and implemented an index price forecasting model based on the
                   statistics of VIX movements.
                   • Designed and implemented a machine learning model for forecasting the
                   next day price, based on stock candlestick pattern.
                   • Implemented a simulation model for modeling performance and risk of option
                   trading.
                   • Implemented data and analysis visualization using Java.


                   COURSE PROJECTS
                   • Seam Carving: A java solution for resizing images on different media
                   without introducing distortion. Implemented facial detection to retain all facial
                   information.
                   • WordNet: A lexical database for measuring semantic relatedness between
                   words in a natural language. Quick calculation of the semantic distance
                   between words was achieved by a graph representation of words.
                   • Boggle, Asteroid, Blackjack: Interactive web-based Python implementation of
                   classic games.


                   University of Pittsburgh
                   Researcher, image processing
                   August 2005 - December 2009 (4 years 5 months)
                   • Pattern recognition: Designed a statistics-based algorithm for automatic
                   recognition of objects of interest in very noisy images. Implemented the
                   algorithm with java and saved large workload of manual selection.
                   • Analysis of image objects: Developed a program for categorization and
                   quality control of selected image objects using support vector machines.




                   Education
                   University of Pittsburgh School of Medicine
                   Master’s Degree, Biophysics · (2005 - 2009)


                   University of Science and Technology of China
                   Bachelor’s Degree, Biology · (1999 - 2004)


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Contact
                                   Joey Kasnicki
www.linkedin.com/in/joeykasnicki   Software Engineer at Google
(LinkedIn)                         Austin
www.socialware.com/ (Company)

                                   Summary
Top Skills
Python                             Experienced programmer knowledgeable in design, maintenance,
Scala                              testing, and refactoring of large software systems.
Java


                                   Experience
                                   Google
                                   Software Engineer
                                   April 2014 - Present (6 years 10 months)
                                   Austin, Texas Area


                                   Socialware
                                   Software Engineer
                                   September 2011 - April 2014 (2 years 8 months)
                                   Socialware makes software that empowers professionals to identify
                                   new business relationships and strengthen existing ones via LinkedIn,
                                   Facebook,and Twitter. Since 2009, Socialware has worked with more than
                                   125 enterprise customers. In regulated industries, Socialware helps customers
                                   maintain strict compliance through archiving, moderation, and integration with
                                   existing enterprise IT systems.


                                   Google
                                   Software Engineer
                                   February 2010 - September 2011 (1 year 8 months)
                                   Mountain View

                                   Built a continuous deployment system for AdSense backend binaries.


                                   Cataphora
                                   Operations Engineer
                                   July 2009 - January 2010 (7 months)


                                   Advanced Micro Devices
                                   Co-op Design Engineer
                                   May 2008 - August 2008 (4 months)


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                   Advanced Micro Devices
                   Co-op Design Engineer
                   August 2007 - December 2007 (5 months)




                   Education
                   Cornell University
                   B.S., Electrical and Computer Engineering · (2005 - 2009)




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Contact
                                    Jon Simpkins, PhD
www.linkedin.com/in/jon-simpkins-   Software Engineer at Google
phd-a701418 (LinkedIn)              Austin

Top Skills                          Experience
Node.js
ElasticSearch                       Google
Software Development                Software Engineer III
                                    April 2019 - Present (1 year 10 months)
                                    Austin, Texas Area


                                    Amazon
                                    Software Development Engineer II
                                    October 2018 - April 2019 (7 months)
                                    Austin, Texas Area


                                    RetailMeNot, Inc.
                                    3 years 10 months

                                    Senior Software Engineer
                                    March 2017 - October 2018 (1 year 8 months)
                                    Austin, Texas Area


                                    Software Engineer II
                                    February 2016 - March 2017 (1 year 2 months)
                                    Austin, Texas Area


                                    Software Engineer I
                                    January 2015 - February 2016 (1 year 2 months)
                                    Austin, Texas Area


                                    Kessler Crane, Inc.
                                    Software Developer
                                    May 2013 - December 2014 (1 year 8 months)
                                    Plymouth, Indiana Area


                                    Parish Photography
                                    Video Editor
                                    April 2009 - July 2009 (4 months)


                                    Air Force Institute of Technology
                                    Research Intern
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                   May 2008 - August 2008 (4 months)




                   Education
                   University of Notre Dame
                   Doctor of Philosophy (PhD), Electrical Engineering · (2012 - 2016)


                   University of Notre Dame
                   MSEE, Electrical Engineering · (2009 - 2011)


                   Trinity University
                   BS, Engineering Science, Mathematics · (2005 - 2009)




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Contactar
                                     Jorge Limón Cabrera
www.linkedin.com/in/j-limon-         Software Engineer at Google
cabrera (LinkedIn)                   Austin

Aptitudes principales                Extracto
Leadership
                                     Software Engineer at Google. Graduated on December 2018 from
Teamwork
                                     Tecnológico de Monterrey, with a B.S. in Computer Science.
C++


Languages                            Worked at National Instruments as a Software Engineering Intern,
                                     developing new features for LabVIEW NXG. Also worked at Definity
English (Native or Bilingual)
                                     First as a QA Automation Intern. Some relevant Computer Science
French (Elementary)
                                     courses I enjoyed were Machine Learning, Compilers Design and
Spanish (Native or Bilingual)
                                     Web Development.
Certifications
                                     Involved in several hackathons, obtained a certification as a
Professional Scrum Master I
                                     Professional Scrum Master, and worked as the Content Director for
Honors-Awards                        Connect by SISCTI, an international IT Symposium that hosted more
                                     than 350 people. I enjoy going out with friends, dancing salsa music,
1st Place: 7° Concurso de Casos
de Administración (Business          and playing adventure or RPG videogames.
Management and Strategic
Development Contest)
1st Place: 8° Concurso de Casos
de Administración (Business          Experiencia
Management and Strategic
Development Contest)                 Google
3rd Place: Concurso de Creación de   Software Engineer
Videojuegos (Videogame Creation      febrero de 2019 - Present (2 años)
Contest)                             Austin, Texas Area


                                     National Instruments
                                     Intern/Co-op - Software Engineer
                                     mayo de 2018 - agosto de 2018 (4 meses)
                                     Austin, Texas Area

                                     - Worked in production code for new features of LabVIEW NXG.
                                     - Maintaining the code base of LabVIEW NXG.


                                     Definity First
                                     5 meses

                                     Intern/Co-op - QA Automation
                                     agosto de 2017 - octubre de 2017 (3 meses)
                                     Monterrey Area, Mexico
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                   • Optimized their C# test automation framework execution time from O(N*M) to
                   O(N), where N is the number of tests, and M the number of target browsers.
                   • Enhanced their test automation framework to include logging, exception
                   management and code reuse.
                   • Created and gave internal automation courses to QA and Software
                   Engineers.
                   • Created automated test scripts with MSTest and Selenium in C# for
                   integration testing.

                   Intern/Co-op - QA
                   junio de 2017 - agosto de 2017 (3 meses)
                   Monterrey Area, Mexico

                   - Manual testing for software development projects.
                   - Planning of regression and smoke testing by creating the corresponding test
                   plans.




                   Educación
                   Tecnológico de Monterrey
                   Bachelor of Science - BS, Computer Science · (2014 - 2018)


                   CEVRO Institut - Praha
                   Study abroad, Cyber Security, Cyber Attacks and Cyber Wars · (2017 - 2017)




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Contact
                                  Jorge Munoz
www.linkedin.com/in/jorge-        Software Engineer at Google
munoz-86663a4b (LinkedIn)         Austin
jimunoz1990.tumblr.com/ (Blog)

                                  Experience
Top Skills
Physics                           Google
Research                          Software Engineer
Android                           March 2020 - Present (11 months)
                                  Austin, Texas Metropolitan Area

Languages
English                           LivePerson
Spanish                           Software Development Engineer II
                                  October 2018 - January 2020 (1 year 4 months)
                                  Austin, Texas Area
Honors-Awards
Sigma Pi Sigma Physics Honors     - Serve as owner of API lifecycle development; responsible for improving code
Society                           quality, test coverage, scope definition, sprint planning, task estimation and
Summer Undergraduate Research     tracking.
Fellowship
                                  - Designed and developed frontend UI and API documentation.
Anson Credille Endowed
                                  - Develop NLU service integrations and expose via API with IBM Watson,
                                  Google Dialogflow, Amazon Lex and Microsoft Luis.


                                  Conversable
                                  Software Engineer
                                  June 2016 - October 2018 (2 years 5 months)
                                  Austin, Texas Area

                                  - Served as lead frontend developer for self-service platform that allowed users
                                  to build and deploy their own bot solutions.
                                  - Designed and built features for end-to-end external integrations with
                                  Facebook, Twitter and Alexa.
                                  - Assisted in design, requirements gathering and development of custom
                                  chatbot solutions for clients such as Pizzahut, Wholefoods, and Marvel.


                                  Bee Cave Games
                                  Software Engineer
                                  January 2015 - May 2016 (1 year 5 months)
                                  Austin, Texas Area

                                  -Full Stack Developer – Designed, implemented and maintained code for
                                  social casino game.



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                   -Worked with small team of engineers to develop and implement features
                   designed to promote
                   growth, increase retention, and develop tools for the company.


                   Yahoo
                   Software Developer Intern
                   June 2014 - September 2014 (4 months)
                   United States

                   -Front-end android development – wrote efficient, maintainable and reusable
                   code.
                   -Developed, shipped and maintained a feature used internationally.
                   -Efficiently contributed in an adaptive software development cycle with a team
                   of engineers


                   Jet Propulsion Laboratory
                   Student Independent Research Intern
                   January 2012 - December 2012 (1 year)
                   -Generated a thorough library of models using the stellar atmospheric models
                   MARCS with the radiative transfer code DUSTY.
                   -Created scripts to perform analysis on photometry using the generated library
                   of models.




                   Education
                   University of California, Los Angeles
                   Master's degree, Computer Science · (2013 - 2014)


                   Occidental College
                   Bachelor of Arts (BA), Physics and Mathematics, minor: computer
                   science · (2009 - 2013)


                   St.Stephen's Episcopal




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Contact
                                     Joshua Clark
www.linkedin.com/in/joshua-          Software Engineer at Google
clark-0b7a6436 (LinkedIn)            Austin
github.com/j-clark (Other)

                                     Summary
Top Skills
JavaScript                           I'm a full-stack engineer, with my greatest strengths in the middle to
Java                                 middle-back of the stack.
SQL
                                     My strongest technologies/ecosystems are Ruby/Rails and React/
Languages                            Redux. I've worked recently and extensively in both and have used
English (Native or Bilingual)        both ES6 and TypeScript for the React stack


                                     I'm rusty with Java, but do have a couple years of professional
                                     experience. I've done my fair share of DevOps and CSS work. I'm
                                     generally able to scale up quickly on new technologies and new
                                     codebases.



                                     Experience
                                     Google
                                     Software Engineer
                                     April 2020 - Present (10 months)
                                     Austin, Texas, United States


                                     Parachute Health
                                     Senior Software Engineer
                                     March 2018 - April 2020 (2 years 2 months)
                                     New York, New York, United States

                                     I work on all aspects of product development — front end React, backend
                                     Ruby, deployment on AWS and so on. I lead projects technically and manage
                                     a small number of other engineers


                                     PolicyGenius Inc.
                                     Senior Software Engineer
                                     March 2015 - February 2018 (3 years)
                                     Greater New York City Area

                                     Full-stack generalist responsible for building out core product and
                                     implementing best practices in the early days of Policygenius, to leading


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                   project teams and overseeing technical direction and architecture for all of
                   engineering in later years.


                   Some highlights:
                   - Primarily responsible for the design and implementation of Policygenius'
                   life insurance quoting and underwriting engine, which allowed for a dramatic
                   improvement in quoting accuracy
                   - Overhauled the Policygenius client-side architecture in 2015 from jQuery/
                   CoffeeScript to React/Redux, to allow the team to build out richer and more
                   maintainable client-side experiences
                   - Migrated CI and deployment from a hosted CI solution to an autoscaling,
                   Buildkite/AWS-based solution that reduced average build time from 30 minutes
                   to ~7 minutes
                   - Led initial build out for in-house CRM that improved efficiency of our
                   customer service team and has grown to be a core piece of customer
                   operations function


                   Pivotal Labs
                   Software Engineer
                   October 2013 - February 2015 (1 year 5 months)
                   Greater New York City Area

                   Consulted with startups and enterprises to deliver software and enable
                   their team to continue to deliver high quality software after I'm gone. Taught
                   clients Pivotal Labs' style of extreme programming, which emphasizes, test-
                   driven development, regular planning and retrospective meetings and pair
                   programming.


                   The ecosystems I used most : JavaScript, Ruby and Java.


                   mobi.
                   Software Engineer
                   December 2011 - September 2013 (1 year 10 months)
                   Full stack web development (configuration/deployment automation, SQL, Java,
                   JavaScript, Ruby)


                   Introduced lightweight Sinatra + AngularJS web development platform to
                   replace proprietary, .NET-based XML framework (LogiXML).


                   Provided significant performance improvements for mobi.Result by optimizing
                   data retrieval.

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                   Built resource management application (mobi.Resource) with Spring MVC and
                   MyBatis.


                   Assumed a leadership role in team building by overhauling the developer
                   interview process and mentoring new hires.


                   Built interactive mapping and reporting application (mobi.Insight) with a Google
                   Maps/JavaScript frontend and Java/Hibernate backend.


                   Texas State University
                   Undergraduate Researcher
                   August 2011 - December 2011 (5 months)
                   San Marcos, TX

                   Fully automate existing iris recognition software for experimental research.




                   Education
                   Texas State University-San Marcos
                   BS, Computer Science · (2010 - 2012)




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Contact
                                     Jovan Ivanoski
www.linkedin.com/in/jovan-           Application Engineer @ Google Cloud
ivanoski-b08759111 (LinkedIn)        Austin

Top Skills                           Summary
Java
                                     An experienced Salesforce Engineer with additional strong
PHP
                                     knowledge in Javascript and Web Design and Development.
JavaScript


Languages
Spanish (Limited Working)
                                     Experience
English
                                     Google
Macedonian                           Application Engineer
                                     January 2020 - Present (1 year 1 month)
Certifications                       Austin, Texas, United States
Talkdesk Certified Consultant
Salesforce Platform Developer        Florida International University
Salesforce Certified Administrator   Salesforce Application Developer III
(SCA)                                May 2018 - January 2020 (1 year 9 months)
                                     Miami/Fort Lauderdale Area


                                     Selas Technologies
                                     Product Developer, Salesforce
                                     April 2019 - November 2019 (8 months)
                                     Miami/Fort Lauderdale Area


                                     FIU School of Computing and Information Sciences
                                     Adjunct Professor
                                     July 2018 - May 2019 (11 months)
                                     Miami, Florida

                                     COP 4710 - Database Management: Fall 2018, Spring 2019
                                     COP 2210 - Programming I (Java): Spring 2019
                                     COP 3530 - Data Structures (in Java): Spring 2019


                                     Brillio
                                     Software Engineer - Salesforce
                                     June 2017 - May 2018 (1 year)
                                     Santa Clara, CA

                                     Previously Comity -> Acquired by Brillio in March 2018.


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                   • Responsible for design, development, implementation, testing, maintenance
                   and support of complex enterprise and web-centric applications on
                   Salesforce.com platform for internal engagements and external customers
                   • Design and build solutions either via point and click functions, and/or
                   technical components using object oriented concepts, Lightning, jQuery,
                   Visualforce, Apex, HTML, CSS, Javascript, Web Service call-outs (SOAP/
                   REST) and SOQL/SOSL
                   • Comity Product - Products to Assets Converter: Added new features and
                   upgraded the styling from salesforce classic to SLDS styling to match newest
                   industry standards. Designed, developed and tested the Lightning Experience
                   version of the product. (link: https://goo.gl/vKn9ud)
                   • Comity Product - Comity Mind (In development): This free product developed
                   by me leverages the functions of the Einstein Vision API and makes them easy
                   to use with a nice, clean and intuitive UI. In the product you can add, delete
                   and train datasets, add examples to them and make an AI prediction with it
                   once training is finished. Also, in the package there is a reusable component to
                   add wherever you like.
                   • Customer : AHM(Advanced Health Media), Lightning software engineer,
                   Designing, Developing, Implementing, Testing and Maintaining health media
                   software platform using Lightning components, Apex and external javascript
                   libraries like lodash, logger and cache


                   Pacific Northwest National Laboratory - PNNL
                   Masters Intern
                   May 2016 - June 2017 (1 year 2 months)
                   Richland/Kennewick/Pasco, Washington Area


                   • Creating, Updating, Maintaining and Deploying Sharepoint 2010 and
                   Sharepoint 2013 Websites, using advanced tools/libraries like CAML, SP
                   Services, MS SP 2013 List API, JSLink and XSL in the process
                   • Design, create and maintain the application frontend of .NET Sharepoint
                   websites, as well as ASP .NET websites
                   • Creating web interfaces and scripts for automating of Amazon Web Services
                   tasks and account
                   set up and configuration using the AWS CLI
                   • Helping determine tasks, projects and plans for 2017 summer interns
                   • Creating Service Profiles dashboards and reports for critical software
                   platforms and applications
                   within the infrastructure
                   • Unclassified Cyber Security monitoring

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                   • Windows and Linux Server monitoring and automation
                   • Analyzing machine generated big data and logs using Splunk to calculate IT
                   infrastructure health index.
                   • Developing advanced reports, dashboards and applications by consulting
                   with application development teams and senior leadership to streamline the
                   process of leveraging the Infrastructure Health Index to support key decisions


                   Florida International University
                   Student Assistant
                   January 2016 - May 2016 (5 months)
                   Miami

                   Primary responsibilities:
                   • Maintain and upgrade the computer platform and codes, maintain the
                   databases, provide support
                   services, and help operate the Florida Public Hurricane Loss Model (FPHLM).
                   • Work with the meteorological, actuarial, engineering, and statistical teams as
                   required.


                   Research:
                   • Creating and upgrading an Online multimedia system manager that uses
                   different Data Mining,
                   Machine Learning and Feature Extraction techniques that can process videos,
                   recognize objects
                   and actions in it, display the results




                   Education
                   Florida International University
                   Master’s Degree, Computer and Information Science · (2015 - 2017)


                   UIST St. Paul the Apsotle
                   Bachelor of Science (B.Sc.) , Computer Science and
                   Engineering · (2011 - 2015)




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Contact
                                     Justin Oliver
www.linkedin.com/in/justinoliver51   Software Engineer at Google
(LinkedIn)                           Austin, Texas Metropolitan Area

Top Skills                           Summary
Embedded Systems
                                     Versatile software engineer and entrepreneur with a track record
C
                                     for applying technical expertise to distributed systems, software
Software Engineering
                                     applications, embedded systems, and iOS/Android applications
Languages                            using Java, Python, C, C++ and Objective C.

English (Native or Bilingual)

                                     Experience
                                     Google
                                     Software Engineer
                                     November 2018 - Present (2 years 3 months)
                                     Austin, Texas


                                     HubSpot
                                     Software Engineer (Acquired Evolve)
                                     May 2017 - July 2018 (1 year 3 months)
                                     Greater Boston Area

                                     Improvements, maintenance and operations on scalable distributed data
                                     systems.


                                     For more about HubSpot's development process, see:
                                     http://product.hubspot.com/blog/how-we-built-our-stack-for-shipping-at-scale


                                     Techstars
                                     Hackstar
                                     January 2017 - May 2017 (5 months)
                                     Boston, Massachusetts

                                     Supported startups in their areas of need, ranging from software applications
                                     and embedded systems to technical research and marketing.


                                     NXP Semiconductors
                                     4 years 7 months

                                     Software Engineer
                                     June 2013 - December 2016 (3 years 7 months)


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                   Supported the functional validation team by developing the tools and
                   frameworks they used to validate networking microchips.
                   • Reduced the execution time of automated random tests (ART) by a factor of
                   1000 by developing a powerful Python validation framework to generate C, C+
                   + and assembly code to model test interaction with the device
                   • Saved two seconds off the start-up time of tests while using only one fifth the
                   memory footprint by refactoring the device tree to employ lazy instantiation
                   • Minimized the number of tests necessary to completely validate an IP -
                   increasing efficiency by up to 3000% - by constructing a constraint solver for
                   random variables
                   • Implemented C and Python servers/clients via shared memory IPC to
                   facilitate executing external C functions on chip from interactive Python on
                   an external host machine and to provide a method for C tests running on the
                   device to make requests from the host machine
                   • Created a code generator that generates random assembly instructions,
                   retrieves the expected intermediate results from an ISS, and verifies these
                   results against the runtime values to aid in Fmax hunts
                   • Designed a Python framework for the electrical team to perform Fmax hunts
                   through meaningful core based stress stimuli
                   • Developed low level drivers, including I2C and UART
                   • Mentored new hires with learning the tools, processes, and team dynamics

                   Rotation Engineer
                   June 2012 - June 2013 (1 year 1 month)
                   Four rotations of my choice through NXP's business groups.


                   • Software: Developed an interpreter for STAPL, a software language used to
                   program FPGAs, in C to enable customers to install FPGA release updates
                   offsite
                   • Validation: Created tools in Python and C to shmoo NXP products over
                   frequency, voltage, and temperature
                   • Design: Developed a hardware feature in Verilog for low-power products
                   to pause erasing flash memory when the on board bluetooth device is
                   communicating and to continue the erasing operation afterwards
                   • Process: Assisted with the bring up and process creation of an atomic layer
                   deposition tool for the fabrication plant


                   SceneCheck
                   Co Founder and CTO
                   June 2012 - June 2014 (2 years 1 month)
                   Austin, Texas Area
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                   Sole developer of a nightlife app that shows what's going on at every bar
                   and live music venue in your city using the latest iOS SDK, and successfully
                   submitted it to the App Store with multiple updates, https://itunes.apple.com/us/
                   app/scenecheck/id605945040
                   • Revenue generated through native ads using the Facebook Audience
                   Network
                   • Incorporated core technologies, including UI Elements, Graphics, Location,
                   Maps, Media, Animation, Data, Multitouch and Gestures and Backgrounding
                   • Integrated with Facebook, Twitter, Yelp, Foursquare and Google Analytics
                   • Created Python scripts to interface with many social media APIs to expand
                   SceneCheck into 13 major cities
                   • Developed Facebook and Twitter scrapers in Java to provide real-time
                   content.
                   • Built a Tomcat server in Java in Eclipse and a MySQL database


                   Logic PD
                   Associates Applications Engineer
                   May 2011 - May 2012 (1 year 1 month)
                   Austin, Texas

                   Worked with a variety of customers and companies, including Texas
                   Instruments, Adeneo, Material Imaginative LLC, to solve problems ranging
                   from hardware schematics to software bugs.




                   Education
                   The University of Texas at Austin
                   BSEE, Electrical Engineering · (2008 - 2012)




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Contact
                                     Kadeem Trimble
www.linkedin.com/in/kadeem-          Technical Specialist at Google
trimble-7b839096 (LinkedIn)          Austin

Top Skills                           Experience
Leadership
Public Speaking                      Google
Customer Service                     3 years

                                     Technical Specialist- Shopping Ads
                                     April 2020 - Present (10 months)


                                     Program Manager, Customer Development- Google Cloud
                                     February 2018 - April 2020 (2 years 3 months)
                                     Austin, Texas


                                     Booz Allen Hamilton
                                     Consultant
                                     July 2017 - February 2018 (8 months)
                                     Washington D.C. Metro Area

                                     Provided reliable and in- depth industry coverage for IRS Data Protection
                                     Safeguard project by developing narratives, drafted and prepared visual
                                     presentation material through condensing technical language and objectives
                                     for key customer executives


                                     Six Flags Over Georgia
                                     Culinary Managerial Supervisor
                                     February 2011 - July 2017 (6 years 6 months)
                                     Austell, GA


                                     -Presided over daily operations of 10 restaurants, including the employee
                                     cafeteria, earning over a combined $2,000,000 a year
                                     -Managed and mentored over 70 team members and 18 seasonal supervisors/
                                     leads, ensuring that the standard operation procedures were communicated
                                     and employees enhanced the guests’ culinary experience at Six Flags
                                     -Oversaw labor cost, spoilage, cost of sales, scheduling, and product
                                     requisition of all 10 locations and responsible for training over 300 employees
                                     in the Culinary Department including management training




                                     Education
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                   Emory University
                   Bachelor of Science - BS, Quantitative Science with a concentration in
                   Sociology, Minor in Educational Studies


                   University College of London
                   Study Abroad, Health Care/ Social Research


                   Druid Hills High School
                   High School




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Contact
                                     Kasturirangan Parthasarathy
www.linkedin.com/in/kasturirangan-   Software Engineer at Google
parthasarathy-a0723211 (LinkedIn)    Austin

Top Skills                           Summary
jQuery
                                     Over 10 years of world class experience with a Masters degree in
Java
                                     building highly scalable and customer centric software applications.
CSS
                                     Led highly critical and time sensitive initiatives including Amazon
                                     Alexa and Walmart robotics for grocery pickup.



                                     Experience
                                     Google
                                     Software Engineer
                                     July 2020 - Present (7 months)


                                     Guideline
                                     Senior Software Engineer
                                     November 2019 - July 2020 (9 months)
                                     Austin, Texas Area


                                     YapStone
                                     Senior Software Engineer
                                     July 2017 - November 2019 (2 years 5 months)
                                     Austin, Texas Area


                                     Walmart eCommerce
                                     Senior Software Engineer
                                     October 2015 - June 2017 (1 year 9 months)
                                     San Francisco Bay Area


                                     Amazon Lab126
                                     SDE
                                     October 2013 - October 2015 (2 years 1 month)


                                     Data Domain
                                     Senior Software Engineer
                                     November 2011 - October 2013 (2 years)


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                   ImageQuix
                   Software Engineer
                   February 2010 - November 2011 (1 year 10 months)


                   LGFCU
                   Web Developer Intern
                   June 2009 - August 2009 (3 months)


                   Cordys R&D
                   Software Engineer Intern
                   December 2007 - June 2008 (7 months)
                   Created an EJB Integrator for Service Oriented Architecture.




                   Education
                   North Carolina State University
                   Master of Science, Computer networking · (2008 - 2009)


                   PSG College of Technology
                   BE, Computer Science And Engineering · (2004 - 2008)


                   Holy Cross




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Contact
                                   Katherine Prutz
www.linkedin.com/in/katherine-     Software Engineer at Google
prutz-658b4484 (LinkedIn)          Austin

Top Skills                         Experience
Testing
PLC Ladder Logic                   Google
AutoCAD                            Software Engineer
                                   May 2019 - Present (1 year 9 months)
                                   Austin, Texas Area


                                   Quorum
                                   Software Developer
                                   June 2018 - May 2019 (1 year)
                                   Washington D.C. Metro Area

                                   Quorum is software built for public affairs, providing one place for stakeholder
                                   engagement, legislative tracking, and grassroots advocacy. Quorum was
                                   founded in 2014 so public affairs professionals could have modern software
                                   built for them. Headquartered in Washington, D.C. Quorum's software is used
                                   by thousands of public affairs professionals for their work in Washington,
                                   Brussels, all 50 states, and thousands of cities across the U.S. Quorum works
                                   with Fortune 500 companies, trade associations, advocacy groups, embassies,
                                   and nonprofits including Coca-Cola, Walmart, General Motors, Retail Industry
                                   Leaders Association, Human Rights Campaign, and the United Nations
                                   Foundation.


                                   Ab Initio Software
                                   Software Development Intern
                                   June 2016 - September 2016 (4 months)
                                   - Implemented rich interactive visual display for exploring the wide range of
                                   information available in data profiles
                                   - Created a set of reusable React components for integration into several
                                   single page applications.
                                   - Programmed in React, Typescript, d3, HTML, CSS, SVG. Wrote automated
                                   tests in Jasmine.
                                   - Developed nearly all of the React components including tables, Venn
                                   diagrams, interactive histograms, tabs
                                   - Coded against an abstract interface that asynchronously retrieves profile data


                                   QDS Systems
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                    Systems Integrator (Industrial Automation)
                    June 2014 - August 2014 (3 months)
                    Systems automation for process lines involving machines with delicate
                    processes, heating, chemical baths, and variable frequency drives (VFDs)
                    · Programmed ladder logic for controllers (PLCs), performed testing during
                    startup, and created all wiring diagrams using AutoCAD




                    Education
                    Massachusetts Institute of Technology
                    Bachelor's degree, Electrical and Electronics Engineering · (2014 - 2018)


                    University of Cambridge
                    Engineering Tripos · (2016 - 2017)




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Contact
                                  Kesann Walrond-McClean
www.linkedin.com/in/kesann-       Senior Software Engineer at Google
walrond-mcclean-aa771937          Austin
(LinkedIn)

                                  Experience
Top Skills
Java                              Google
MySQL                             7 years 1 month
Python                            Senior Software Engineer
                                  October 2018 - Present (2 years 4 months)


                                  Software Engineer III
                                  May 2015 - October 2018 (3 years 6 months)
                                  Mountain View


                                  Software Engineer II
                                  January 2014 - May 2015 (1 year 5 months)
                                  Mountain View


                                  Amazon
                                  Software Engineer
                                  February 2013 - December 2013 (11 months)
                                  Greater Seattle Area


                                  Amazon
                                  Software Engineer Intern
                                  May 2012 - August 2012 (4 months)
                                  Greater Seattle Area




                                  Education
                                  Florida Institute of Technology
                                  BS, Mathematical Science and Computer Science · (2009 - 2012)




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Contact
                                  Kevin Cheng
www.linkedin.com/in/kevin-        Software Engineer at Google
cheng-913555102 (LinkedIn)        Austin

Top Skills                        Experience
Software Development
Java                              Google
TypeScript                        Software Engineer
                                  July 2019 - Present (1 year 7 months)
                                  Austin


                                  RetailMeNot, Inc.
                                  Software Engineer II
                                  June 2018 - July 2019 (1 year 2 months)
                                  Austin, Texas Area


                                  athenahealth
                                  2 years 6 months

                                  Senior Software Developer
                                  July 2017 - May 2018 (11 months)


                                  Software Developer
                                  December 2015 - July 2017 (1 year 8 months)


                                  General Motors
                                  Software Developer
                                  June 2014 - December 2015 (1 year 7 months)




                                  Education
                                  Rice University
                                  Bachelor’s Degree, Bioengineering and Biomedical
                                  Engineering · (2010 - 2014)




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Contact
                                     Khyathi Balusu
www.linkedin.com/in/khyathibalusu    Data & Infra @ Google | Ex-PayPal | General Motors | UT Austin |
(LinkedIn)                           Deloitte | MIT
                                     Austin
Top Skills
Statistical Data Analysis            Summary
RESTful WebServices
                                     I am a Masters student at the McCombs School of Business, the
Amazon Web Services (AWS)
                                     University of Texas at Austin, with focus on Business Analytics. I
                                     have previously worked as a Java developer for Deloitte Consulting
Languages
                                     USI. My work typically consisted of creating applications for a cloud
English (Full Professional)
                                     computing and platform virtualization software giant. The skill sets
Telugu (Native or Bilingual)
                                     I can confidently boast of are Java Spring framework, AWS S3,
Hindi (Limited Working)
                                     REST APIs, Cloud servers, ElasticSearch, MongoDB, PCF to name
                                     a few. I have written REST APIs and web sockets using Python to
Certifications
                                     build a chat app for the company I have interned for. I have also
AMCAT Certified Data Processing
Specialist                           worked with a few friends to successfully deploy www.sevame.in,
Google Analytics for Beginners       a home services website based in Bangalore, that deals with local
Matlab OnRamp                        marketplace services. My preferred way of working is rapid and user-
AMCAT Certified Business Analyst     centric which brings out the best in me.
Advanced Google Analytics


Honors-Awards                        Experience
Young Promising Engineer Award
                                     Google
                                     Cloud Engineer - Data & Infra
                                     August 2020 - Present (6 months)
                                     Sunnyvale, California, United States


                                     PayPal
                                     Product Solutions Engineer
                                     June 2020 - August 2020 (3 months)
                                     United States


                                     General Motors
                                     Capstone Data Science Consultant
                                     January 2020 - May 2020 (5 months)
                                     Austin, Texas Area

                                     Worked on fuel efficiency drivers and performance recommendations in
                                     General Motors' commitment towards Zero Emissions.


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                    Stealth Startup
                    Data Science Consultant
                    August 2019 - December 2019 (5 months)
                    Austin, Texas, United States

                    Signup Drivers: Devised a Classification model using Logistic Regression in R
                    to understand the key factors influencing customers sign up and KPIs, based
                    on the historical data; Visualized and presented results as Tableau dashboard
                    to stakeholders and helped them improve their business model


                    Potential Customer Base: Identified potential customer base by extraction
                    and aggregation of historic summary level demographics and psychographics
                    using Google Analytics and R; Led to better marketing and sales process by
                    streamlining target customers


                    Deloitte India (Offices of the US)
                    Business Technology Analyst
                    August 2016 - July 2019 (3 years)
                    Hyderabad, Telangana, India

                    Application Development: Led prototyping and development of custom
                    navigation analytics application using ElasticSearch n-gram tokenizer and
                    Redis
                    Forecasting: Designed and developed financial analysis tool for predicting
                    budgeting forecasts, resulting in formation of four development accounts
                    ML Ops: Worked on data migration and ETL from enterprise legacy servers to
                    cloud servers in the re - architecure of virtualization support modules thereby
                    increasing efficiency


                    My typical day consisted of AWS S3 buckets, Spring applications, REST calls
                    and PCF/Liferay deployments prominently. I was responsible for creation and
                    seamless integration of complete back end functionality for a wide range of
                    applications, which include navigation, resiliency, ﬁnancial data, Microsoft API
                    based operations, Amazon S3 based services. Cloud servers were used to
                    host these applications and my responsibility was to code -> integrate -> unit
                    test -> deploy.


                    Thrymr Software
                    Development Intern
                    May 2015 - December 2015 (8 months)
                    Hyderabad, Telangana



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                    Developed a custom chat application for the startup, including enrollment
                    requests using REST APIs in Python for increasing employee efficiency.


                    LV PRASAD EYE INSTITUTE HYDERABAD
                    Student Consultant
                    June 2014 - May 2015 (1 year)
                    India

                    To use engineering skills to design products as requested by ophthalmologists
                    for use in their day to day consultations.


                    Massachusetts Institute of Technology (MIT)
                    Student Researcher
                    June 2014 - December 2014 (7 months)
                    MIT - LV PRASAD EYE HOSPITAL 's assitive technology innovations lab-
                    SRUJANA:
                    Led a team of four student interns in designing a first of its kind software that
                    accurately calculates the deflection in human gaze, in collaboration with MIT
                    media lab and an ophthalmology hospital chain


                    ISTE
                    Student Representative
                    August 2013 - November 2014 (1 year 4 months)
                    Hyderabad Area, India

                    Handling and Managing events conducted under ISTE regional chapter




                    Education
                    The University of Texas at Austin
                    Master's degree, Business Analytics · (2019 - 2020)


                    Jawaharlal Nehru Technological University
                    Bachelor of Technology (B.Tech.), Electrical, Electronics and Communications
                    Engineering · (2012 - 2016)


                    Sri Aurobindo International School
                    secondary education, Mathematics · (1998 - 2010)




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Contact
                                   Lina Yang
www.linkedin.com/in/lina-          Software Engineer at Google
yang-6610b393 (LinkedIn)           Austin

Top Skills                         Summary
JavaScript
                                   A software engineer who loves to implement new technologies
AngularJS
                                   and turns ideas into practical applications. I'm passionate about
MongoDB
                                   designing solutions to solve problems that would best fit the situation
Languages                          with given constraints. Enjoy delivering tech products that solve
                                   day-to-day problems and improve existing solutions' efficiency or
Mandarin Chinese (Native or
Bilingual)                         presentation.


                                   Check out my github profile (https://github.com/t886515) to know
                                   more about what I have worked on.



                                   Experience
                                   Google
                                   Software Engineer
                                   December 2020 - Present (2 months)
                                   Austin, Texas, United States


                                   Amazon
                                   Frontend Engineer
                                   September 2019 - December 2020 (1 year 4 months)
                                   Austin, Texas Area


                                   The Home Depot
                                   Software Engineer
                                   January 2018 - August 2019 (1 year 8 months)
                                   Austin, Texas Area

                                   Internal Tool - Browser Automation Testing Framework


                                   • Integrate slack API to Home Depot's internal testing framework to customize
                                   test results slack templates and allow instant update upon test completion in
                                   Concourse CI/CD pipelines.
                                   • Set-up and configure Concourse CI/CD pipeline for continuous automation
                                   testings on B2C sites to catch functional defects.


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                    • Integrate third-party MobileLabs to internal testing framework to allow
                    automation test on real mobile devices on CI/CD pipelines.
                    • Design and optimize browser test report data structure to enable flexible use
                    of nesting test suites for Selenium/Webdriver.io and Mocha browser tests.
                    • Implement GraphQL with Apollo and Express server for internal tool's
                    Graphical User Interface backend.
                    • Design and build Graphical User Interface of Home Depot's internal browser
                    testing tool using Vue.js and Apollo.


                    Customer-facing App - B2C Web Application


                    • Deliver front end features on Home Depot's B2C web applications using
                    jQuery, Mustache and SCSS stack.
                    • Improve B2C sites' reliability through integration of Automation Tests using
                    Selenium/Appium/Webdriver.io
                    • Improve the front end build process of Home Depot's B2C application through
                    the implementation of Webpack.


                    Private
                    Freelance Software Developer
                    June 2017 - June 2018 (1 year 1 month)
                    Austin, Texas Area

                    • Design static and dynamic personal websites using MERN or MEAN stack.
                    • Implemented styled-components, Material-ui v.0 for interactive UI design.
                    • Collaborate with a team of developers to design interactive web application
                    for clients.


                    Private Tutorials
                    Private Tutor
                    October 2015 - July 2017 (1 year 10 months)
                    Austin, Texas Area

                    Worked as a Mandarin Chinese private tutor for High School students.
                    Developed individual lesson plans and plan out suitable study strategies for
                    students.


                    • Tutored high school students Mandarin Chinese, levels varied from Chinese
                    starter to advanced level
                    • Provided personal help on homework and tests that enhanced her
                    understanding over the appointed subject



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                    • Depends on student needs, design personal lesson plans to improve
                    classroom performance


                    Trinity Episcopal School for Ministry
                    Substitute Teacher
                    September 2016 - May 2017 (9 months)
                    Austin, Texas Area

                    • Conduct middle school level science classrooms and elementary school level
                    Chinese classrooms based on lesson plans
                    • Monitor student activities and organize student discussions to maintain an
                    interactive learning environment


                    Eanes Independent School District
                    Substitute Teacher
                    September 2016 - May 2017 (9 months)
                    Austin, Texas Area

                    • Conduct high school level Mandarin Chinese classroom, level ranged from
                    beginner to advanced placement level
                    • Organized student activities and monitored student discussions to ensure
                    students are learning in a positive classroom environment
                    • Assessed students' knowledge informally through classroom interaction and
                    keep records to track individual students' learning progress.


                    Austin Independent School District
                    Substitute Teacher
                    October 2015 - May 2017 (1 year 8 months)
                    Austin, Texas Area

                    • Conduct high school and middle school classrooms, subjects focuses on
                    science education
                    • Organized student activities and monitored student discussions to ensure
                    students are learning in a positive classroom environment


                    Ivy International Curriculum Study Center
                    Instructor
                    May 2015 - September 2015 (5 months)
                    Shanghai City, China

                    • Taught entry level TOFEL(Test Of English as a Foreign Language) Reading,
                    Writing, Speaking and Listening sections
                    • Designed lesson plans that trained students’ English RWSL level to improve
                    their TOEFL scores


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                    • Based on individual students’ learning style, designed specific study plans
                    that assists students to achieve their target TOFEL scores


                    James Bowie High School
                    Student Teacher
                    September 2014 - December 2014 (4 months)
                    Austin, Texas Area

                    • Student taught 10th grade Academic Chemistry
                    • Designed interactive class activities and assessments to engage student and
                    promote student interests in Chemistry
                    • Implemented inquiry-based learning style and group-discussion learning style
                    to maintain an interactive classroom environment




                    Education
                    The University of Texas at Austin
                    Bachelor's degree, Chemistry · (2010 - 2014)


                    Hack Reactor
                    Full Stack Developer Immersive, Fullstack Development · (2017 - 2017)




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Contact
                                   Michael Kinkley
www.linkedin.com/in/michael-       Software Engineer at Google
kinkley-285058126 (LinkedIn)       Austin

Top Skills                         Experience
Python
Java                               Google
C++                                Software Engineer
                                   May 2019 - Present (1 year 9 months)
                                   Austin, Texas


                                   Facebook
                                   Software Engineering Intern
                                   June 2018 - September 2018 (4 months)
                                   Menlo Park, CA


                                   University of Washington
                                   Teaching Assistant
                                   September 2016 - June 2018 (1 year 10 months)


                                   HP
                                   Software Engineering Intern
                                   June 2017 - September 2017 (4 months)
                                   Vancouver, WA




                                   Education
                                   University of Washington
                                   Computer Science · (2015 - 2019)




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Contact
                                     Michael Zetune
www.linkedin.com/in/zetune           Software Engineer at Google
(LinkedIn)                           Austin, Texas Metropolitan Area

Certifications                       Experience
Go Essential Training
CodePath Professional iOS            Google
Certification                        Software Engineer
Google Cloud Platform                June 2020 - Present (8 months)
Fundamentals: Core Infrastructure    Austin, TX


Honors-Awards
                                     The University of Texas at Austin
National AP Scholar                  Teaching Assistant - Elements of Programming
                                     January 2020 - May 2020 (5 months)
                                     Austin, Texas Area

                                     • Assist non-computer science students learning to program in Python for the
                                     first time
                                     • Explain course material and homework assignments with students in office
                                     hours
                                     • Grade exams and homework assignments collaboratively with other teaching
                                     assistants


                                     Atlassian
                                     Software Engineer Intern
                                     May 2019 - August 2019 (4 months)
                                     New York City

                                     • Revamped authentication process for third-party Trello integrations,
                                     increasing transparency
                                     • Collaborated with designer to produce user-friendly, minimalistic front end
                                     experience
                                     • Implemented a native Trello web feature in the iOS app, integrating Swift and
                                     Objective-C
                                     • Worked with MongoDB, JavaScript, Node.js, Express, Redis, HTML/CSS,
                                     and Mustache


                                     Amazon
                                     Software Engineer Intern
                                     May 2018 - August 2018 (4 months)
                                     Austin, Texas



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                    • Enhanced order fulfillment simulation service for supply chain optimization
                    organization
                    • Added team-based collaborative sharing functionality to an existing internal
                    web portal
                    • Created and published a new book recommendation Alexa skill at company
                    hackathon
                    • Worked with DynamoDB, Spring Boot, Java, Lombok, and Thymeleaf


                    Futureal Group
                    Data Analyst Intern
                    June 2017 - July 2017 (2 months)
                    Tel Aviv, Israel

                    • Imported data onto Excel from online real estate reporting tools
                    • Synthesized data to establish relationships between different tenant stratum
                    • Discovered relationships between turnovers and tenant categories
                    • Created moving average visualizations to better understand patterns over
                    time




                    Education
                    The University of Texas at Austin
                    Computer Science · (2016 - 2020)




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Contact
                                  Miranda Huang
www.linkedin.com/in/miranda-      Software Engineer at Google
huang-3503a4123 (LinkedIn)        Austin, Texas Metropolitan Area

Top Skills                        Experience
Java
Python                            Google
C++                               Software Engineer
                                  February 2020 - Present (1 year)
                                  Austin, Texas


                                  Facebook
                                  Software Engineering Intern
                                  May 2019 - August 2019 (4 months)
                                  Greater Seattle Area

                                  • Full stack Android development on a new product inside Facebook for
                                  Android groups tab
                                  • Familiarized with and utilized Litho and other Facebook internal UI
                                  frameworks to implement the frontend
                                  • Familiarized with and utilized GraphQL to implement the backend
                                  functionality
                                  • Implemented performance tracking and took measures to improve the
                                  performance
                                  • Implemented, operated, and analyzed results from several internal and public
                                  experiments


                                  Amazon
                                  Software Development Engineering Intern
                                  May 2018 - August 2018 (4 months)
                                  Greater Seattle Area

                                  • Designed and developed web-based auditing and analysis tools for ML
                                  models
                                  • Integrated the tools with ML developing and releasing processes


                                  iD Tech Camps
                                  Instructor
                                  June 2017 - August 2017 (3 months)
                                  Austin, Texas Area

                                  • Prepare lesson plans, and teach a class with up to 8 students
                                  • Languages used: Java, JavaScript

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                    • Ensure all students are meeting set curriculum goals
                    • Apply behavior management techniques to enforce rules and safety
                    regulations
                    • Socialize with families during points of contact


                    The University of Texas at Austin
                    1 year 5 months

                    Learning Assistant
                    January 2017 - May 2017 (5 months)
                    Austin, Texas Area

                    • Assist professor with calculus lectures and hold office hours

                    Student Assistant
                    January 2016 - December 2016 (1 year)
                    Austin, Texas Area

                    • Maintained high-standard customer service under fast-paced operations




                    Education
                    The University of Texas at Austin
                    Bachelor of Science (B.S.), Computer Science · (2016 - 2019)


                    The University of Texas at Austin
                    Bachelor of Science - BS, Psychology · (2015 - 2016)




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Contact
                                     Mohammad Hossain
www.linkedin.com/in/sajjad-hossain   Staff Software Engineer at Google, Technical Lead, Manager
(LinkedIn)                           Austin

Top Skills                           Experience
Algorithms
C++                                  Google
Java                                 Staff Software Engineer
                                     January 2012 - Present (9 years 1 month)
                                     Austin, Texas Area
Languages
Bengali
                                     Google
Honors-Awards                        Software Engineering Intern
                                     May 2011 - August 2011 (4 months)
ACM ICPC World Finalist              Mountain View, CA
Best Paper Award

                                     Google
                                     Software Engineering Intern
                                     May 2010 - August 2010 (4 months)
                                     Mountain View, California, United States


                                     Google
                                     Software Engineering Intern
                                     May 2006 - August 2006 (4 months)
                                     Mountain View, CA




                                     Education
                                     Purdue University
                                     Ph.D., Computer Engineering · (2008 - 2011)


                                     Stony Brook University
                                     M. Sc., Computer Science · (2005 - 2008)


                                     Bangladesh University of Engineering and Technology
                                     B.Sc., Computer Science and Engineering




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Contact
                                      Mossab Alsadig
www.linkedin.com/in/malsadig          Software Engineer at Google
(LinkedIn)                            Austin

Top Skills                            Experience
Java
AngularJS                             Google
C#                                    Software Engineer
                                      November 2019 - Present (1 year 3 months)
                                      Austin, Texas Area
Languages
Arabic (Native or Bilingual)
Spanish (Limited Working)             Rally Health
                                      Senior Software Engineer
                                      May 2019 - November 2019 (7 months)
Certifications                        Washington D.C. Metro Area
Oracle Certified Professional, Java
SE 6 Programmer
                                      Etsy
                                      Senior Software Engineer
                                      November 2017 - April 2019 (1 year 6 months)
                                      Brooklyn, NY

                                      - Technologies used: Hadoop, Git, Java, Python, Scala + Scalding, React.js,
                                      Chef, Kafka, Storm, Vertica
                                      - Developed and maintained the experimentation framework, which manages
                                      analytics, A/B testing, and key health indicators for the company.
                                      - Worked with stakeholders and data scientists to build out an automated
                                      experiment reporting platform. These generated reports were presented
                                      weekly to executive management to support decision-making and growth.
                                      - Created tooling and dashboards to assist experimenters in determining and
                                      debugging errors in their experiments’ data and configurations.


                                      Walmart Technology
                                      Software Developer
                                      January 2016 - November 2017 (1 year 11 months)
                                      10790 Parkridge Blvd, Reston, VA 20191

                                      - Technologies used: Angular, Java, Git, Graph Databases, Cassandra, CCM,
                                      Kafka
                                      - Created microservices that will be Walmart’s next generation of internal
                                      applications.
                                      - Launched data migration code to transfer legacy store locations to a new
                                      cloud system. Reduced run time from 1 hour per store to 8 minutes per store.

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                    - Scaled applications to handle large volume (up to 10,000 transactions per
                    second).
                    - Expanded unit and integration tests to cover 90% of code.


                    AddThis
                    Software Engineer
                    December 2014 - September 2015 (10 months)
                    1595 Spring Hill Road, Suite 300, Vienna, Virginia 22182

                    - Technologies used: Java, PHP, SQL, JS, Git
                    - Developed the main site, dashboard, and Pro Tools that more than 15 million
                    end users utilize.
                    - Converted and rewrote a major analytics job from NodeJS to Java. This job
                    sends an email to each of 15 million users informing them of the analytics they
                    have had on their site for the previous week. Improved the job's run time from
                    4.5 hours to 2 hours.
                    - Patched security vulnerabilities including, but not limited to: XSS prevention,
                    SQL injection, and securing sessions.
                    - Overhauled our payment flow and introduced a new billing system using a
                    tiered pricing model.
                    - Made major migrations to port old code from PHP to Java in the backend.


                    Fifth Tribe
                    Software Developer
                    May 2014 - December 2014 (8 months)
                    8245 Boone Blvd Suite #250, Vienna, VA, 22182

                    - Technologies used: C# & ASP .NET, WPF, JS
                    - Worked in a collaborative development environment to create web apps, web
                    sites, and mobile solutions for clients.
                    - Worked alongside the CEO of Hult Prize to develop and launch their site,
                    hultprizeat.com.
                    - Developed work tools: image re-sizing utility, efficient logging program, and
                    email scrapping.
                    - R&D and implementation of web security, including DDoS prevention and
                    mitigation.
                    - Used WPF to co-create a production level presentation application (similar to
                    PowerPoint).


                    Dequeue Ltd
                    Software Engineer
                    June 2012 - August 2013 (1 year 3 months)
                    (Remote)
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                    - Technologies used: Java, JVM Bytecode, PHP, SQL
                    - Developed an automation platform and framework for the game RuneScape.
                    - Developed scripts to perform in-game tasks humanly and efficiently.
                    - Created a site for my scripts and gave end users an ability to monitor and
                    track their progress in real time.
                    - Created and administered the "Contributor" entrance exam (a rank given to
                    experienced developers on the team).
                    - Worked in gathering working knowledge of assembly/machine code,
                    compiler/JVM theory, Java internals, and bytecode.




                    Education
                    Carnegie Mellon University
                    School of Computer Science




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Contact
                                     Nalini Belaramani, PhD
www.linkedin.com/in/nalini-          Engineering Leader @ Google
belaramani-phd-1965a6 (LinkedIn)     Austin
www.belaramani.org/nalini
(Personal)
                                     Summary
Top Skills                           An energetic engineering leader with a successful track record
Storage                              in building teams from scratch and turning them into centers of
Distributed Systems                  excellence. An outstanding people manager skilled at driving
Computer Science                     initiatives and delivering results. A highly collaborative influencer
                                     experienced in setting up strong cross-functional ties between
Languages                            engineering teams, product management, and business and
Sindhi (Native or Bilingual)         operations teams.
French (Elementary)
Spanish (Elementary)                 Currently leading a 50+ team to build business critical infrastructure
                                     and tools. A highly skilled technical leader contributing to key
                                     design decisions for a broad range use-cases including using
                                     internal CRM tools, compliance tools, contract management,
                                     operations efficiency, machine learning for predictive business
                                     insights, customer-facing web applications and large-scale
                                     distributed systems.



                                     Experience
                                     Google
                                     11 years 3 months

                                     Senior Engineering Manager
                                     January 2019 - Present (2 years 1 month)
                                     Austin, Texas, United States

                                     Leading engineering teams for crucial Global Affairs and Legal operations
                                     tooling as well as business critical infrastructure.

                                     Senior Engineering Manager
                                     April 2017 - January 2019 (1 year 10 months)
                                     Austin, Texas Area

                                     Leading engineering teams built customer-facing applications and internal
                                     infrastructure crucial for Google Cloud customer support.

                                     Engineering Manager
                                     December 2014 - March 2017 (2 years 4 months)

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                    Austin Texas

                    Site-lead for Google for Work (previously known as Google Enterprise)
                    engineering operations in Austin. Managing a team of 10+ engineers to deliver
                    high-quality web-applications and scalable backend infrastructure. Leading
                    high-level system design as well as carrying out hands-on development.

                    Senior Software Engineer
                    July 2013 - November 2014 (1 year 5 months)
                    Austin, Texas Area

                    Tech Lead for sales and support related projects geared for Googlers,
                    Partners and Customers.

                    Software Engineer
                    November 2009 - July 2013 (3 years 9 months)
                    Developer for backend infrastructure and web applications for enterprise
                    operations.


                    Developer for new storage infrastructure for ads and customer data with
                    support for replication and load-balancing.


                    The University of Texas at Austin
                    Phd Student
                    January 2004 - August 2009 (5 years 8 months)
                    Worked on the following projects


                    PADS: A Java-based framework over which distributed data replication
                    systems can be implemented simply by specifying a routing policy for update
                    flows and a blocking policy for consistency. Using this approach, I have built
                    a dozen systems inspired by literature, each requiring less than 100 lines of
                    policy code and only a couple of weeks of development time.




                    R/Overlog: A typed declarative language that can be used to build Internet
                    overlays as well as complex replication systems as a small set of rules.




                    PRACTI: An infrastructure that provides all the necessary mechanisms for
                    building replication systems including object storage, consistency meta-data
                    maintenance and conflict detection.



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                    Motorola Semi-Conductors HK Ltd
                    Engineer
                    September 2002 - December 2003 (1 year 4 months)
                    Product team member for the Innovative Convergence Platform Project that
                    developed multiple reference hardware and software configurations for mobile
                    phones. My role involved:


                    (1) Software Release Management -- Oversaw and handled monthly software
                    releases. Kept track of feature and bug lists for each release. Followed up with
                    the software team on the status of bug fixes and required new features.


                    (2) Development -- Planned, negotiated, developed, and rolled-out the
                    incorporation of software-based license control for development tools that were
                    used by regional teams and customers world-wide.


                    (3) Customer Support -- Provided technical support and made
                    recommendations for software customizations to customers and regional
                    teams in Korea, Taiwan, China, France, US, and Denmark.




                    Education
                    The University of Texas at Austin
                    PHD, Computer Science · (2004 - 2009)


                    The University of Hong Kong
                    MPhil, Computer Science · (2000 - 2002)


                    The University of Hong Kong
                    BEng, Computer Engineering · (1997 - 2000)


                    Maryknoll Convent School




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Contact
                                     Nazaret Ramirez
www.linkedin.com/in/                 Site Reliability Engineer at Google
nazaretramirez (LinkedIn)            Austin

Top Skills                           Summary
C#
                                     I am a very proactive developer. I always carry a positive attitude,
JavaScript
                                     and I like working in environments where this is a shared value
React.js
                                     amongst co-workers.
Languages
                                     I like the fast-moving pace of technology, and I'm always striving to
Spanish (Native or Bilingual)
                                     learn new things. I am someone who likes to try first before asking. I
English (Professional Working)
                                     consider myself a problem solver, but I also know when to rely on my
Certifications                       teammates for support/help.

MCTS: .NET Framework 4, Web
Applications
MCTS: SQL Server 2008, Database      Experience
Development
MS: Programming in HTML5 with        Google
JavaScript and CSS3                  Site Reliability Engineer - SWE
                                     August 2020 - Present (6 months)
Honors-Awards
First Place Winning Team, Startup    Rev.com
Weekend Santo Domingo
                                     5 years
2nd Place, Lean Startup Machine
Santo Domingo                        Staff Software Engineer
                                     February 2019 - June 2020 (1 year 5 months)
                                     Austin, Texas Area

                                     > Understanding the broad architecture of the portions of the architecture/
                                     codebases where they have worked
                                     > Identify the critical external interfaces those systems depend on or provide
                                     services to
                                     > Contributing to the design and architecture to enable secure, scalable and
                                     maintainable software
                                     > Providing technical advice and weighing in on technical decisions that impact
                                     other teams or technologies/systems they've worked on
                                     > Evaluating tools, technologies, and processes to ensure the highest quality
                                     and performance is achieved
                                     > Identifying and proactively prioritizing technical debt before it grows into debt
                                     that requires significant up-front work to resolve

                                     Senior Software Engineer
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                    February 2017 - February 2019 (2 years 1 month)
                    Austin, Texas Area

                    > Owning epics from design and implementation to post-deployment support
                    > Independent - requires minimal direction/oversight
                    > Helping prioritize technical issues with engineering managers
                    > Proactively guiding technical decisions in a domain of expertise
                    > Providing on-call support for a technical area
                    > Collaborating with other engineering teams when needed
                    > Identifying technical debt before it grows into debt that requires significant
                    up-front work to resolve

                    Software Engineer Consultant
                    July 2015 - February 2017 (1 year 8 months)
                    Dominican Republic

                    > Working side by side with my teammates defining scopes and development
                    times.
                    > Developing integrations with YouTube, Vimeo, Kaltura, Ensemble.
                    > Using Backend cutting edge technologies mostly ASP.NET MVC.
                    > Building Frontend reactive components with ReactJS.
                    > Other technologies/tools I use day by day: C# 6, SQL Server, Visual Studio,
                    KnockoutJS, Backbone.js, Bootstrap, LESS, Jquery, Git, Github, Slack, Gulp,
                    JIRA, PHP.


                    Upwork
                    Freelance Software Developer
                    April 2015 - July 2015 (4 months)
                    Dominican Republic

                    > Defining and delivering web projects.
                    > Developed important features for the following startups:
                    ** Tenfold.com (Callinize.com)
                    Building CRM Integrations for Microsoft Dynamics.
                    ** Jompeame.com
                    Building the first Dominican Crowdfunding Platform.


                    Atlas Solutions & Systems
                    Lead Software Developer
                    September 2013 - April 2015 (1 year 8 months)
                    Dominican Republic

                    Atlas is a technology consulting company with experienced people in different
                    areas of computing knowledge. Actually offers infrastructure and software
                    solutions for clients in the Dominican Republic and the USA.
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                    > Defined scope, development times, and risk assessment.
                    > Implemented Scrum Agile methodology for better team organization.
                    > Helped deliver various successful projects:
                    ** Wicarga
                    Built web application to allow users to track their packages, as well as their
                    main LOB app to manage their service offering
                    ** Merlata
                    Developed a web application to help the company manage thousands of
                    personal loans and payroll financing.


                    Sistema Único de Beneficiarios (SIUBEN)
                    Software Engineer Consultant
                    October 2014 - February 2015 (5 months)
                    Dominican Republic

                    SIUBEN is the Dominican government institution responsible for creating and
                    managing the database of poor households across the country and ensures
                    that they have access to the government helped programs and subsidies. For
                    the gathering process SIUBEN hires third-parties and temporary employees
                    to collect the information with PDAs, my role was to build a web application to
                    show the status to the quality staff o SIUBEN.


                    --> Developed a system to detect irregularities in a government-funded
                    program that targets low-income families for subsidies. The system uses pre-
                    existing demographic data to assess income levels in the area and adjust
                    subsidies to correct levels. This change in the discovery phase reduced fraud
                    by around 70%.


                    BANAK
                    Software Engineer
                    January 2014 - June 2014 (6 months)
                    Dominican Republic

                    BANAK is a Microsoft Certified Business Partner. I worked as an on-site
                    consultant for Occidental Hotels, where we developed a new booking system
                    for their vacation club. The implemented solution had the following results:
                    > Reduced the average agent booking time by 40% due to a better, more
                    organized, and user-oriented interface that cut off unnecessary steps.
                    > Enabled multiple payment types for booking agents.


                    CREDLI

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                    Web Software Engineer
                    March 2013 - December 2013 (10 months)
                    Dominican Republic

                    CREDLI is a startup trying to disrupt the Latin-American financial sector, by
                    allowing customers to solicit loans in multiple financial institutions at the same
                    time. I worked as part of the first engineering team building the platform from
                    scratch.


                    TeKnowLogic Dominicana
                    Junior Software Developer
                    January 2012 - February 2013 (1 year 2 months)
                    Dominican Republic

                    TeKnowLogic is a consulting company which builds custom software solutions
                    on top of Microsoft products aimed at the corporate sector.


                    -Developed C# applications in ASP.NET windows form, wpf, wcf and web
                    forms to integrate with Microsoft Dynamics CRM and GP.
                    -Actively participated in business meetings with different clients, figuring out
                    their needs, taking in account their current resources and objectives.




                    Education
                    Pontificia Universidad Católica Madre y Maestra
                    Bachelor of Science (B.Sc.), Computer Engineering · (2009 - 2013)


                    Instituto Tecnológico de las Américas
                    CCNA, Computer Systems Networking and
                    Telecommunications · (2006 - 2007)




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Contact
                                       Nolan Corcoran
www.linkedin.com/in/nolan-             Cloud Solution Engineer at Google
corcoran-524b2088 (LinkedIn)           Austin

Top Skills                             Summary
Cloud Computing
                                       Graduate of the University of Texas at Austin with a Bachelor of
Mobile Applications
                                       Science degree in Electrical and Computer Engineering.
JavaScript


Languages
English (Native or Bilingual)
                                       Experience
                                       Google
Certifications                         Cloud Technical Solutions Engineer
Oracle Cloud Platform Enterprise       April 2020 - Present (10 months)
Mobile 2018 Certified Associate        Austin, Texas, United States
Developer
Oracle Cloud Infrastructure 2018
Certified Architect Associate          Oracle
Business Foundations                   Cloud Engineer
Oracle Cloud Platform Application      July 2017 - April 2020 (2 years 10 months)
Integration 2018 Certified Associate   Austin, Texas

                                       • Develop and implement multiple cloud-native applications in parallel for
                                       various rapidly moving customer engagements
                                       • Build repeatable cloud solution demonstrations and proof of concepts
                                       • Deliver hands-on cloud computing workshops
                                       • Create new industry-focused solution innovations


                                       The Center for Identity
                                       Software Engineer
                                       May 2015 - January 2017 (1 year 9 months)
                                       Austin, Texas Area

                                       • Helped design an ensemble classifier to better identify trusted sources for
                                       disease surveillance purposes
                                       • Created several scripts that download user data from several social media
                                       sites into different user networks
                                       • Designed algorithms that score user reliability on the basis of authority,
                                       reputation, expertise, and experience
                                       • Contributed to the time series and network visualizations for the front-end
                                       interface via Angular.js
                                       • Contributed to the back-end migration to the Flask web framework


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                    The University of Texas at Austin
                    Teaching Assistant
                    August 2016 - December 2016 (5 months)
                    Austin, Texas Area

                    • Lead a recitation class each week; reviewed an in-class exercise; answered
                    any of the students’ questions
                    • Held 5 office hours during the week; helped students with programming
                    assignments and other class material
                    • Graded program assignments, exams, quizzes, topic exercises, and
                    recitation exercises


                    The University of Texas at Austin
                    IT Services Assistant - Athletic Department
                    May 2014 - August 2014 (4 months)
                    Austin, Texas Area

                    • Responded to department staff via email or phone, troubleshooting any
                    technical problems they had.
                    • Set up users with their computers, server settings, integration of collaborated/
                    user files, etc.
                    • Kept track of and maintained the department's technical parts and equipment.




                    Education
                    The University of Texas at Austin
                    Bachelor of Science (B.S.), Electrical and Computer
                    Engineering · (2012 - 2017)




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Contact
                                     Oliver Yu
www.linkedin.com/in/oliveryky        Software Engineer at Google
(LinkedIn)                           Austin, Texas Metropolitan Area

Top Skills                           Summary
Java
                                     I'm currently a software engineer at Google.
Go
SQL


Languages                            Experience
Chinese (Native or Bilingual)
                                     Google
English (Native or Bilingual)        Software Engineer
                                     March 2020 - Present (11 months)


                                     Squarespace
                                     Software Engineering Intern
                                     June 2019 - August 2019 (3 months)
                                     Greater New York City Area


                                     University of Utah
                                     Tutor
                                     June 2018 - June 2019 (1 year 1 month)




                                     Education
                                     University of Utah
                                     Master of Science - MS, Computer Software Engineering · (2018 - 2019)


                                     University of Rochester
                                     Bachelor of Arts - BA, Biology · (2013 - 2017)




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Contact
                                     Parag Teredesai
www.linkedin.com/in/parag-           Senior Software Engineer at Google
teredesai (LinkedIn)                 Austin

Top Skills                           Summary
Pivotal Cloud Foundry (PCF)
                                     20+ years of hands on expertise building and managing teams,
Enterprise Architecture
                                     architecting and developing solutions.
.net


Languages
Hindi
                                     Experience
English
                                     Google
Marathi                              Senior Software Engineer
                                     June 2020 - Present (8 months)
Certifications                       Austin, Texas, United States
Robotics: Mobility
Feature Engineering                  Charles Schwab
Launching into Machine Learning      Technical Director
R Programming                        August 2017 - June 2020 (2 years 11 months)
Autonomous Vehicles                  Austin, Texas Area
Nanodegree(Term1,2)                  Providing Technical solutions and Leading multiple teams to migrate Legacy
                                     and traditional on-premise hosted applications to the Pivotal Cloud.


                                     IBM
                                     Senior Cloud Integration Architect
                                     March 2017 - August 2017 (6 months)
                                     Austin, Texas Area

                                     Architecting integrations with various cloud services providers as part of
                                     developing a cloud brokerage product


                                     Lincoln Financial
                                     Senior Enterprise Architect
                                     August 2007 - March 2017 (9 years 8 months)
                                     Greater Chicago Area

                                     Handled multiple Enterprise level Architecture initiatives including Salesforce
                                     Evalution for Wealth Mgmt. Domain, Solution Architect for Financial Advisor
                                     workstation development, Enterprise Architect for Retirement Plan Services,
                                     Group Protection, Unifier and AutoEnrollment Application


                                     United Airlines
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                    Technical Solutions Architect
                    July 2004 - August 2007 (3 years 2 months)
                    Greater Chicago Area

                    Architect for the United Airlines Booking engine Website development and the
                    associated Administration application.


                    Discover Financial Services
                    Senior Architect
                    December 2000 - July 2004 (3 years 8 months)
                    Greater Chicago Area

                    Architecture for Discover Card's CRM application on Web based and Fat
                    Clientapplication.


                    AT&T
                    J2EE Architect
                    January 2000 - November 2000 (11 months)
                    Comverted a Unix Curses (green screen) application to a JSP Servlet
                    application


                    TransUnion
                    Java Architect
                    September 1999 - January 2000 (5 months)
                    Chicago

                    Architected a Java to Assembler bridge using JNI. Also mentored mainframe
                    programmers on Java and OO Design and Design Patterns


                    Discover Financial Services
                    Java & C++ Consultant
                    February 1995 - December 1999 (4 years 11 months)
                    Developed Java Swing Credit Card Call Center application.
                    Also developed Unix C++ Standard Template libraries based Event Notification
                    System called Cortex.


                    IBM Canada Ltd.
                    Staff Programmer
                    February 1993 - February 1995 (2 years 1 month)
                    Developed SQL precompiler language constructs for IBM's DB2 database on
                    AIX (Unix) using C++




                    Education
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                    Indian Institute of Technology, Madras
                    M.S, Computer Science · (1991 - 1993)


                    College of Engineering Pune
                    B.S, Mechanical · (1987 - 1991)




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Contact
                                   Qing Zhang
www.linkedin.com/in/sorayazhang    Senior Application Engineer at Google
(LinkedIn)                         Austin

Top Skills                         Summary
Agile Methodologies
                                   • Over 10 years of experience in Analysis, Design, Development,
Java
                                   Prototyping and Database Management
Software Project Management
                                   • Proficient with Java Development
                                   • Design and implement Enterprise Web service application
                                   • Expertise in GUI design for Enterprise Application
                                   • Develop Eclipse plug-ins and RCP applications
                                   • OO design and modeling, Design Patterns, MVC Frameworks
                                   • Domain Specific Language(DSL), XText
                                   • iOS Developmet, design, implement and publish to Apple Store
                                   (personal project)
                                   • Committed, efficient, problem-solver, result-oriented
                                   • Strong skills in communication. Multicultural skills and fluent in
                                   Chinese and Spanish



                                   Experience
                                   Google
                                   Senior Application Engineer
                                   September 2019 - Present (1 year 5 months)
                                   Austin, Texas Area


                                   Infosys
                                   Senior Software Engineer
                                   December 2018 - August 2019 (9 months)
                                   Austin, Texas Area


                                   XO Group
                                   Software Engineer Contractor
                                   February 2017 - November 2017 (10 months)
                                   Austin, Texas Area


                                   Intuit
                                   10 years 3 months

                                   Sr. Software Engineer
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                    January 2012 - September 2016 (4 years 9 months)
                    San Diego, CA

                    June 2014-present Migrate Turbotax to new platform
                    Migrate Turbotax to new platform to enable tax accuracy and flexible user
                    experience. Work on Middle layer which migrate legacy system to new
                    platform, integrate with different layers, owns end to end of the tax topic,
                    support all the way to production.
                    Tools Used: WebStorm, Tomcat, XML, JSON, NodeJS, HTML, GIT, GitHub


                    June 2013-2014 Update TurboTax Web Application
                    Update Web Screens for TurboTax online users to have better experience
                    when they filing for return. Create animated pages to show user their federal
                    and state tax summary, AB Test on different screens.
                    Tools Used: Intellij, AngularJS, Tomcat, HTML, XML, CSS, GIT, GitHub


                    June 2011-2012 Define DSL for internal Tax expert
                    Design and develop tools to read in Tax content as XML. Store that info as
                    object and process business logic to transcode it into json and html for web
                    application to consume.
                    Tools Used: Eclipse plugin, Java, Soy Template, HTML, CSS3, Ruby on Rails,
                    Javascript, Maven, Perforce, Tomcat


                    Jan 2012-May 2012 Develop Mini engine which render Tax Content
                    Develop and maintain a lightweight tool, which allow Tax Expert to view and
                    verify the content on their computer right away, instead of waiting for releases
                    from application team. The tool kind of like a simulator of real application,
                    allow Tax Expert to see how the content render on screen, the layout, etc. As
                    well as toggle the layout between desktop version and web version. It also
                    support the business logic, which allow Tax Expert to walk through different
                    screens depending on the user enter data, as well as setting particular
                    backend data for testing purpose.
                    Tools Used: Visual Studio, C#, C++, HTML, Maven, Perforce

                    Software Engineer
                    July 2006 - September 2016 (10 years 3 months)


                    Software Engineer
                    July 2006 - November 2011 (5 years 5 months)
                    San Diego

                    Jan 2011-Dec 2011 Update legacy runtime to support new DSL content


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                    Update legacy runtime code to support both legacy content and new xText
                    DSL content. Support existing product running in production, while allow Tax
                    expert create new content or migrate existing content to the newly define DSL
                    at the same time. Which minimize the risk and transition time of migration.
                    Tools Used: Eclipse plugin, Visual Studio, C++, Java, Maven, Perforce


                    Jan 2010-Dec 2010 Define DSL for internal Tax expert
                    Define new DSL using XText for tax expert to define Tax logic including
                    workflow, screen layout, linked to back-end database fields, etc. Provide
                    content assist, linking functionalities, etc.
                    Tools Used: Eclipse-plugin, RCP, XText, Visual Studio, C++, Java, Maven,
                    Perforce


                    07/2007 –Dec 2009        Develop Turbo tax backend engine Web Service
                    Create Web Service that support Turbo Tax backed interview business logic.
                    Define Rest Websevice API, that maintain session, workflow, data validation,
                    create, update and delete worksheet depending on user input. Define UI and
                    layout of interview screen, loading and storing the user data from and to the
                    backend tax form field, .etc.
                    Tools Used: Intellij, JAX-RS, RESTLET WS, JAXB, XML, XSD, Coherence,
                    JBoss, Maven, Flex


                    07/2006 – 2007       Develop Eclipse Plug-in Tools for Tax Developer
                    Develop a Flow tool that allow tax developer to define the tax interview work
                    flow logic diagram by drag and drop screen nodes and specifies which path to
                    go by setting conditions.
                    Tools used: Eclipse, RCP, SWT, JFace, GEF, GMF, EMF, XSD, XSLT, HTML,
                    Flex, WindowTester to auto testing the tools


                    Precipia Systems Inc
                    Software Engineer
                    October 2005 - June 2006 (9 months)
                    Arlington, VA

                    10/2005 – 12/2005       Develop a web-based research tool
                    Develop and maintain a web-based research tool that can gather articles from
                    different websites and monitor and organize the results.
                    Tools used: Eclipse 3.1, Weblogic 8.1, Oracle, Web Service, JAXB, EJB, JSP,
                    XSLT, XML, HTML, JDK5.0




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                    11/2005 – 01/2006     Convert existing web-based web application to Weblogic
                    Portal
                    Convert existing servlet-based research tool to a Weblogic Portal web
                    application.
                    Tools used: Weblogic 8.1, Weblogic workshop, Oracle, Web Service, JAXB,
                    EJB, JSP, XSLT, XML, HTML, JDK 5.0


                    01/2006 – present      Design and develop a research tool manager
                    Design and architect the research tool manager using Eclipse RCP and
                    Eclipse plug-in architecture. The tool manager component is constructed at
                    run time based on an XML configuration file. As a user clicks any item in the
                    tool manager component, a corresponding plug-in will be launched. Items of
                    launched plug-in perspectives can be dragged and dropped between each
                    other based on a central Drag and Drop manager module.
                    Tools used: Eclipse 3.1, Weblogic 8.1, Web Service, Oracle, Eclipse plug-in,
                    RCP, XML, SWT, JFace, JDK 5.0


                    Digital Harbor Inc
                    Software Engineer
                    January 2000 - September 2005 (5 years 9 months)
                    Reston, VA

                    • Design a rule interface that allow user to dynamically create complex rules for
                    the J2EE base system.
                    • Integrate J2EE based system with Oracle, SQL Server, Sybase, SAP and
                    Web Service.
                    • Create a central data model, which update data from Database by executing
                    dynamically created query statement.
                    • Designed and implemented the individual components using MVC modeling
                    that register with the central data model to correlate and collaborate
                    information with each other.
                    • Created a central system that monitors all activities to the database. In
                    order to immediately update, in real time, all client application once the data
                    changes.
                    • Persisted application information to and from XML and XSD.
                    • Wrote design document, UML, use cases, test cases.
                    • Wrote some automate tests using SilkTest.




                    Education

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                    Brigham Young University
                    Bachelor of Science (B.S.) Computer Science, Computer
                    Science · (1997 - 1999)


                    Brigham Young University
                    BS, Computer Science · (1996 - 1999)




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Contact
                                   Ryan McNair
www.linkedin.com/in/ryan-mcnair-   Software Engineer at Google
bb124594 (LinkedIn)                Austin

Top Skills                         Experience
Software Development
Python                             Google
Java                               Software Engineer
                                   May 2016 - Present (4 years 9 months)
                                   Austin Texas


                                   IBM
                                   Software Engineer
                                   July 2013 - May 2016 (2 years 11 months)
                                   Austin, Texas

                                   OpenStack Development:
                                   ● Upstream contributor on OpenStack (mostly Cinder), working primarily with
                                   Python
                                   ● List of patches (http://goo.gl/oV7uKh) and reviews (http://goo.gl/4QacBi)
                                   ● Responsibilities entail supporting IBM’s OpenStack offerings by developing
                                   new
                                   features, troubleshooting failures, and pushing fixes back to the community
                                   ● Leveraged Vagrant and Devstack to automate the setup of a VM for
                                   OpenStack
                                   development, making it easy for newhires to get started
                                   (https://github.com/rmcnair/devstack_vagrant)


                                   IBM Storage Insights Development:
                                   ● Developer on IBM's SaaS storageresource management solution, working
                                   primarily with
                                   Java and Javascript
                                   ● Responsibilities included being the techlead for a small team of developers,
                                   helping
                                   design usable features, and meeting with customers to gather feedback
                                   ● Architected a testautomation framework (underpinned by JUnit and Rest-
                                   Assured) to
                                   enable easy development of automated functional tests for the product, a
                                   crucial need for
                                   our product


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                    ● Automated the setup of a development environment with Vagrant for a
                    NodeJS
                    application for a team that was struggling with development setup on Windows
                    ● Contributed to IBM’s intellectual property with 5+ patents pending and many
                    others
                    published




                    Education
                    Penn State University
                    Bachelor of Science (BS), Computer Science · (2009 - 2013)




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Contact
                                     Sarah Gillett
www.linkedin.com/in/sarah-gillett-   Software Engineer at Google
a5764858 (LinkedIn)                  Austin

Top Skills                           Summary
C++
                                     Experienced Software Developer with a demonstrated history of
Java
                                     working in information technology and the automotive industry.
Machine Vision
                                     Skilled in software development and architecture using Delphi, C+
                                     +, Java and SQL. Strong engineering professional with a Master's
                                     degree focused in Mechanical Engineering from University of
                                     Michigan.



                                     Experience
                                     Google
                                     Software Engineer
                                     June 2019 - Present (1 year 8 months)
                                     Austin, Texas Area


                                     VRSI
                                     Software Developer and Project Engineer
                                     October 2014 - March 2019 (4 years 6 months)
                                     Plymouth, MI

                                     • Developing an integrated solution using Nikon Laser Radar meteorology
                                     device, for automotive clients
                                     • Software Architect and Product Manager VRSI’s Laser Radar and TScan
                                     solutions


                                     IBM
                                     Smarter Process Consultant
                                     July 2013 - October 2014 (1 year 4 months)
                                     • Automated and optimized business process via IBM BPM platform using
                                     Java, HTML and JavaScript languages.
                                     • Designed user interfaces and data management solutions for finance and
                                     aviation clients.


                                     University of Michigan
                                     Student
                                     September 2011 - December 2012 (1 year 4 months)
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                    Masco Cabinetry
                    Tauber Institute Intern
                    May 2012 - August 2012 (4 months)
                    • Developed a network design optimization tool allowing for scenario analysis
                    and output savings opportunities.
                    • Identified improved supply chain resulting in $10.8 M annual savings.
                    • Created a user guide and conducted training sessions with employees,
                    allowing optimization tool to be incorporated into make vs. buy analysis and
                    utilized for further network design in the future.


                    Variation Reduction Solutions (VRSI)
                    Project Engineer
                    May 2011 - August 2011 (4 months)
                    Plymouth MI

                    • Installed and integrated machine vision and robot guidance systems used in
                    automotive assembly processes.
                    • Oversaw from start to finish three systems for production of the Chevy Volt,
                    a fixed vision system for roof loading, and two systems with robot mounted
                    cameras for framer inspection as well as pallet inspection.
                    • Created training guides and provided instruction on Perceptron software,
                    allowing VRSI technology to be viable and user friendly for plant workers at
                    GM and Chrysler facilities.




                    Education
                    University of Michigan
                    Master's degree, Mechanical Engineering · (2011 - 2012)


                    University of Michigan
                    Bachelor of Science (B.S.), Mechanical Engineering · (2007 - 2011)




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Contact
                                     Sravya Chelikani
www.linkedin.com/in/sravya-          Software Engineer at Google
chelikani-7549bb114 (LinkedIn)       Austin

Top Skills                           Experience
Software Development
Java                                 Google
Android Studio                       Software Engineer
                                     October 2019 - Present (1 year 4 months)
                                     Austin, Texas Area
Languages
Telugu (Native or Bilingual)
Hindi (Full Professional)            Mohu Consumer Electronics
                                     Software Engineer
English (Native or Bilingual)
                                     September 2017 - October 2019 (2 years 2 months)
                                     Raleigh-Durham, North Carolina Area

                                     • Worked on a project to wirelessly stream over-the-air and over-the-top video
                                     to streaming devices like phone, tablet and televisions via mobile and tv
                                     applications over customers' home network.
                                     • Responsible for development of MohuTV application for this project on
                                     iOS, tvOS and Roku platforms. Helped design and implement RESTful web
                                     services that used JSON data exchange for controlling a hardware device.
                                     • Used Git for version control and Bamboo for continuous integration.
                                     Implemented Google Analytics to the applications using custom variables and
                                     monitored user behaviors to make necessary bug fixes.
                                     • Worked on an iOS application to detect antenna signal strength, locate
                                     towers and return a list of stations broadcasted by the tower within 50 miles of
                                     a user’s desired location on the map.


                                     Ticketmaster Mobile Studio
                                     Software Engineering Intern
                                     May 2017 - August 2017 (4 months)
                                     Raleigh-Durham, North Carolina Area

                                     Key Contributions:
                                     • Working on a team to implement Ticketmaster's services on Google Assistant
                                     and Amazon Alexa
                                     • Gained deep understanding of dependency injection using Dagger
                                     • Used natural language processing tools like API.ai for training the voice
                                     interfaces
                                     • Contributing to production level code in Java and Kotlin, and using Google’s
                                     App Engine as the development environment.

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                    Ticketmaster
                    Software Engineering Intern
                    May 2017 - August 2017 (4 months)


                    Duke University
                    Research Assistant
                    June 2016 - May 2017 (1 year)
                    Raleigh-Durham, North Carolina Area

                    • Applied computer vision algorithms to detect solar panels on rooftops in high
                    resolution aerial images, in a team of 2.
                    • Co-authored publication: 'Trading Spatial Resolution for Improved Accuracy
                    when using Detection Algorithms on Remote Sensing
                    Imagery” in International Geoscience and Remote Sensing Symposium
                    (IGARSS 2017).
                    • Published a new method to exploit error patterns in the images which is
                    statistically significantly superior at 1% significance and improved panel
                    detection accuracy.




                    Education
                    Duke University
                    Master of Science (M.S.), Electrical and Computer Engineering · (2015 - 2017)


                    Gayatri Vidya Parishad College of Engineering (Autonomous),
                    530048(CC-13)
                    Bachelor's degree, Electrical, Electronics and Communications
                    Engineering · (2011 - 2015)




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Contact
                                     Stepan Riha
www.linkedin.com/in/sriha            Software Engineer at Google
(LinkedIn)                           Austin
github.com (Other)
ballotboxonline.com (Company)
                                     Summary
Top Skills                           Software architect with experience leading a team of engineers in the
Software Development                 area of SaaS and mobile enterprise applications.
Amazon Web Services (AWS)
TypeScript                           Extensive design and development experience in a variety of
                                     environments. Current work has strong focus on backend design
Languages                            and full-stack development (Java/Node/AngularJS) with scalable
English (Native or Bilingual)        architecture and deployment on Amazon Services.
German (Professional Working)
Czech (Native or Bilingual)          Extensive experience with TypeScript, PostgreSQL, Node, AWS
                                     and JavaScript open source development. Past focus on MS
                                     SQLServer, .Net framework, Windows Mobile and Cordova on iOS
                                     and Android in an enterprise environment. Legacy experience with
                                     LAMP and Perl environments.


                                     Specialties: Software Architecture and Design, and distributed and
                                     N-tier systems. Design and development experience on single-page
                                     web applications (AngularJS) and in Windows and Unix.


                                     TypeScript and JavaScript (browser and Node), C#, Java, C++, Perl,
                                     SQL, HTML/CSS
                                     Node, IIS, Apache, PostgreSQL, SQLServer, MySQL
                                     Windows, Linux, MacOS



                                     Experience
                                     Google
                                     Software Engineer
                                     October 2019 - Present (1 year 4 months)
                                     Austin, Texas Area


                                     BallotBoxOnline LLC
                                     Co-Founder and Principal Software Engineer
                                     2003 - Present (18 years)
                                     Austin, Texas Area
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                    Responsible for design, implementation and operations of BallotBox's secure
                    online poll service.


                    - Sunsetting legacy (Apache/Perl) implementation
                    - Architected scalable deployment on Amazon Services (ECS, RDS, SWF,
                    SQS, ElastiCache, Lambda, API Gateway, S3)
                    - Implemented a high-throughput backend in Node/Express/PostgreSQL
                    - Designed modern web and mobile-friendly UIs (SPAs in AngularJS)
                    - Shared modularized, unit-tested code between front- and backend
                    (TypeScript, Mocha)
                    - Integrated and leveraged 3rd party services (SparkPost, Rollbar)
                    - Managing product roadmap, issues and releases (GitLab, Docker)


                    Spanning Cloud Apps
                    Principal Software Engineer
                    October 2017 - August 2019 (1 year 11 months)
                    Austin, Texas Area

                    Responsible for implementation and enhancements of Spanning's cloud
                    backup service for Office 365.


                    - Developed heterogenous distributed services using Java, JavaScript and
                    TypeScript
                    - Designed graceful and scalable recovery for work exceeding available
                    memory
                    - Analyzed and optimized external API usage to improve throughput and lower
                    costs


                    @hand Corporation
                    16 years 10 months

                    Senior Director of Development for Platform & Architecture
                    May 2014 - September 2016 (2 years 5 months)
                    Austin, Texas Area

                    Responsible for architecture and implementation of @hand's M-Tier platform
                    and FMS framework.


                    - Leading a team of developers and continuously improving development
                    processes
                    - Maintaining legacy client/server architecture (Windows Stack)
                    - Exposing and expanding M-Tier services via REST APIs (.NET)
                    - Expanding footprint on emerging platforms (HTML5, smart devices)

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                    Director of Software Development
                    December 2006 - May 2014 (7 years 6 months)
                    Austin, Texas Area

                    Development of @hand's FMS framework


                    - Leading platform development team
                    - Architecting configuration-based, pluggable mobile application framework
                    - Implementing FMS application configuration tool (.NET WinForms)
                    - Implementing FMS runtime engine for Windows/Windows CE/ASP.NET
                    - Optimizing M-Tier data distribution performance and capabilities

                    Principal Software Developer
                    December 1999 - December 2006 (7 years 1 month)
                    Austin, Texas Area

                    Development of @hand's M-Tier platform


                    - Porting M-Tier Client to PalmOS devices
                    - Refactoring client source code to make it reusable on Windows/Windows CE/
                    PalmOS
                    - Implementing server COM/COM+ components for data access and data
                    distribution


                    National Instruments
                    Software Developer
                    May 1991 - December 1999 (8 years 8 months)
                    Design and development of NI's LabVIEW software product and associated
                    toolkits.




                    Education
                    The University of Texas at Austin
                    BSCS, Computer Science · (1987 - 1991)




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Contact
stevenpatrickcarter@gmail.c
                                   Steven Carter
om                                 Software Engineer at Google
                                   Austin
www.linkedin.com/in/steven-p-
carter (LinkedIn)
                                   Summary
Top Skills                         I enjoy building and leading high-caliber teams to create software
JavaScript                         that reaches millions of users. I feel successful when my teams love
React.js                           what they do and our users love what we've built. I tend to be hands-
Java                               on and highly technical.


                                   As an experienced systems engineer, I understand the importance
                                   of focusing on business and customer needs, then understanding
                                   and meeting them. I've applied analytical skills to solving problems
                                   and proactively escalated issues that would have negative impact.
                                   I actively supported projects throughout all phases of the software
                                   development life cycle, from requirements gathering to release
                                   and support. I collaborated with cross-functional teams to define
                                   technology strategy.


                                   I also excel at discussing or presenting complex technology concepts
                                   to any level of audience, including senior leadership, developers,
                                   and customers, and technical documentation including requirements,
                                   specifications, action and test plans, use case analyses, etc. I
                                   advocated usability within the organization, including managing
                                   a complete, hands-on usability test with internal and external
                                   resources.


                                   I've been building services and applications that provide real value
                                   throughout my career. I am a leader you can count on. I have formed
                                   new teams to implement products/features from the ground up, and I
                                   have led pre-existing teams to improve process and productivity and
                                   deliver significant new versions.



                                   Experience
                                   Google
                                   Tech Lead
                                   March 2017 - Present (3 years 11 months)
                                   Austin, Texas, United States
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                    Netflix
                    Senior Software Engineer
                    September 2012 - March 2017 (4 years 7 months)
                    Los Angeles Metropolitan Area


                    Fidelity Investments
                    Software Engineer II
                    January 2009 - September 2012 (3 years 9 months)


                    Accenture
                    Software Engineer
                    August 2006 - January 2009 (2 years 6 months)




                    Education
                    Princeton University
                    Bachelor of Science - BS, Computer Science · (2002 - 2006)




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Contact
                                     Sumathi Swain
www.linkedin.com/in/sumi-swain       Software Engineer at Google
(LinkedIn)                           Austin
github.com/sumilly (Other)

                                     Experience
Top Skills
Python (Programming Language)        Google
JavaScript                           Software Engineer
C#                                   January 2020 - Present (1 year 1 month)
                                     Austin, Texas Area

Languages
Japanese (Elementary)                Humble Bundle
Tamil (Native or Bilingual)          Software Engineer
                                     May 2016 - January 2020 (3 years 9 months)


                                     Electronic Arts (EA)
                                     Software Engineer
                                     October 2015 - April 2016 (7 months)
                                     Orlando

                                     * Verify, manage and update 85% of the game's pipelines including those for
                                     art export, design, database and UI adapters
                                     * Work with artist and designers to integrate and debug problems in new
                                     assets
                                     * Profile performance and memory used new assets and identify bottlenecks
                                     * Modify and enhance flow of non-interactive sequences
                                     * Collaborate with audio artists to implement new sound
                                     * Implement and change UI in AS2
                                     * Port features and game play from Xbox One/PS4 or from older versions of
                                     title to Xbox 360/PS3 in C++
                                     * Add enhancements to existing game play features
                                     * Fix and update in-house tools in C#
                                     * Perform code reviews in area of ownership
                                     * Bug fixes


                                     Florida Interactive Entertainment Academy
                                     Student
                                     September 2014 - December 2015 (1 year 4 months)
                                     Master's in Interactive Entertainment : Game Programming


                                     Cognizant Technology Solutions
                                                                       Page 1 of 2
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                    Programmer Analyst
                    December 2012 - July 2014 (1 year 8 months)
                    Backend Java Application Development, Technical Support and Training


                    Rajiv Gandhi College of Engineering and Technology, Puducherry,
                    India
                    Student
                    August 2008 - May 2012 (3 years 10 months)




                    Education
                    Florida Interactive Entertainment Academy
                    Masters in Interactice Entertainment, Game Programming · (2014 - December
                    2015)


                    Rajiv Gandhi College of Engineering and Technology
                    B.Tech, CSE · (2008 - 2012)


                    St. Joseph of Cluny, Puducherry
                    · (1995 - 2008)




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Contact
                                     Tanner Mitchell
www.linkedin.com/in/tanner-          Software Engineer at Google
mitchell-73a42711 (LinkedIn)         Austin
toastkitten.com/ (Personal)

                                     Experience
Top Skills
Python                               Google
React.js                             Software Engineer
Redux.js                             June 2019 - Present (1 year 8 months)
                                     Austin, Texas Area

Languages
English (Native or Bilingual)        Ping Identity
Spanish (Native or Bilingual)        Software Engineer
                                     October 2017 - February 2019 (1 year 5 months)
                                     Austin, Texas Area


                                     Soft iCastle
                                     Full Stack Web Developer
                                     September 2015 - August 2016 (1 year)
                                     Orem, Utah Area


                                     BYU Archaeology
                                     App Developer
                                     April 2015 - September 2015 (6 months)


                                     BYU Broadcasting
                                     Web Developer
                                     September 2014 - April 2015 (8 months)




                                     Education
                                     Brigham Young University
                                     Bachelor of Science - BS, Computer Science · (2017)


                                     South Grand Prairie High School
                                     · (2006 - 2010)




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Contact
                                     Temitope Ajagbe
www.linkedin.com/in/temitope-        Technical Solutions Engineer at Google
ajagbe-946b9418 (LinkedIn)           Austin

Top Skills                           Summary
License Management
                                     *Management*
Enterprise Architecture
                                     Analyze complex systems, synthesize intuitive solutions and write
Vendor Management
                                     business focused narrative
Languages                            Software engineering w/ Project management
                                     Great team spirit and effective mentoring skills, Passionate
English (Full Professional)
                                     leadership
Certifications                       Execute business plans ( driven by meaningful metrics)
                                     Trusted advisor on all things cloud
Systems Security Certified
Professional
AWS Certified Solutions Architect    *Technical*
Sun Certified Programmer for J2SE    Security and Privacy Management
5.0                                  Hands-on Full-stack development:
                                     Mobile, desktop platform, front-end, middleware integration and
                                     backend and batch systems
                                     SDLC , API management and object-oriented design experience
                                     Infrastructure Management: Capacity planning, Traffic management/
                                     planning, Networking (regional/global)


                                     *Technologies and Frameworks*
                                     Programming languages: Java < Python < Go << Ruby < C++ < C
                                     << Assembly
                                     Software Dependency Management : IBM RTC, Maven, GIT, Make,
                                     Gradle, Ant :-)
                                     Continuous Integration/Continuous Deployment - AWS
                                     CodePipeline, Jenkins
                                     Applications Servers: Websphere, Tomcat, JBoss, Jetty
                                     Cloud Infrastructure deployment - AWS(EC2 ,S3, SQS, RDS) ,
                                     Google Cloud Platform (GCE, GCS, Cloud PubSub, CloudSQL, K8s)


                                     *Storage*
                                     Databases: MySQL, PostgreSQL, Spanner , BigTable, DB2 , MS
                                     SQLServer, Oracle )
                                     NoSQL (Cassandra,DynamoDB,MongoDB)
                                     Operating Systems (Windows, Linux, *Nix )
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                    CI/CD and Monitoring (Jenkins, AWS CodeDeploy, AWS Pipeline,
                    Splunk, Nagios)



                    Experience
                    Google
                    Technical Solutions Engineer
                    April 2018 - Present (2 years 10 months)
                    Austin, Texas Area

                    Diagnose and resolve customer problems for Google Cloud Platform products;
                    Engineer and implement new operations, productivity and investigation tools to
                    increase efficiency for Technical Solutions Engineering.


                    Act as a consultant and subject matter expert for Product Managers, Software
                    Engineering teams, Sales Engineers, Site Reliability Engineers, and Strategic
                    Customer Engineers to resolve technical deployment obstacles and improve
                    the product's vision.


                    Obtain and maintain an in-depth understanding of Google's product technology
                    and underlying hardware and software architectures, to build in-product self-
                    service solutions.


                    Work closely with multiple Product Management and Software Engineering
                    teams on understanding ways to improve the product, and interact with our
                    Site Reliability Engineering (SRE) teams to drive production excellence.


                    Be an advocate for our customers in representing their issues to Product
                    Management and Software Engineering and develop innovative ways to
                    resolve issues.


                    iHeartMedia
                    Senior Devops Engineer
                    February 2018 - April 2018 (3 months)
                    San Antonio, Texas Area

                    Design and development of pipelines + micro-services architecture for
                    large data stream processing for Royalty calculations and billing process
                    optimization.


                    Amazon Web Services

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                    2 years 2 months

                    Software Development Engineer
                    January 2016 - February 2018 (2 years 2 months)
                    Greater Seattle Area

                    Designed and implemented Business Rule Evaluation engine with support
                    for loss-less serialization/persistence and stateless evaluation using AWS
                    infrastructure for storage and notification.
                    Created detailed systems design document and implementation strategy.
                    Implemented infrastructure for scalable component guaranteeing high volume /
                    low latency SLA
                    Established continuous development pipeline supporting high-velocity change
                    rate and steady deployment with minimal manual oversight
                    Created Rule transformation business logic handling hierarchical rules with
                    capability to serialize, transport, evaluate, compose
                    Designed and implemented business rule validation and evaluation web
                    application with dynamic rule loading and evaluation support.

                    Systems Engineer
                    January 2016 - January 2017 (1 year 1 month)
                    Greater Seattle Area

                    All Things Massive + Simplified = Creativity
                    - Rethink , design and implement scalable workflow automation to generate
                    accurate time-bound bills for all AWS customers.
                    - Develop and implement operational excellence functional practice across
                    support teams to set new bar of sustainable operational success
                    - Identify and eliminate bottlenecks for 2x-10x growth in computation and
                    computing resources - risk management and capacity planning
                    - Migrate business and operational processes (DevOps) to cloud with minimal
                    human intervention
                    - Business continuity planning and disaster recovery planning
                    - Develop toolset for operational tasks (Java, Ruby , Node.js ... Groovy/C++)
                    - Mentor and provide guidance to other engineers to achieve higher corporate
                    IQ
                    - Design and implement services and client applications with ~100%
                    availability in mind
                    - Drive communications and process implementation across teams and subject
                    matter areas to ensure the corporate goal is achieved
                    - Plan team project sprints for continuous delivery of team and organization
                    objectives



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                    USAA
                    Systems Engineer/ J2EE App Integrator
                    June 2007 - December 2015 (8 years 7 months)
                    - Performed rigorous code review to develop strong software development
                    culture and reduce technical debt incurred by lack of oversight
                    - Mentored developers and systems integrators for operational support and
                    software development practices
                    - Provided new features and maintained web application security framework
                    and identity proofing system
                    - Implemented periodic patch and new features implementation for user
                    authentication and application authorization modules
                    - Engaged as SME in various tiger-teams to troubleshooting in-house
                    developed J2EE components and 3rd-party software faults to drive resolution ,
                    performance optimization and
                    redesign , when necessary
                    - Consulted with business teams to refine business requirements and eliminate
                    requirement contradictions through formal analysis
                    - Re-factored critical components for modularity, testing and traceability
                    Mentored java developers
                    - Implemented device customizable CAPTCHA (Image and Audio) solution
                    based on open source
                    - Developed systems design and documentation for various components in
                    Authentication
                    and Authorization (Identity Verification , Machine Authentication , Multi-factor
                    Authentication)
                    - Integrated vendor applications and middle-ware components (Webshere
                    Application
                    Server ,Jboss , Entrust IdentityGuard , TransactionGuard , Verisign VIP )
                    - Developed application prototypes for feasibility assessment
                    - Built regression test suite for multi-browser testing of critical front-end
                    application to ensure cross browser functionality baseline


                    State Farm Insurance
                    Systems Engineer/ J2EE - Websphere
                    March 2006 - April 2007 (1 year 2 months)
                    Built J2EE components for security provisioning system
                    Developed service layer, business-tier and data layer to implement adapters
                    for IBM Tivoli Identity Manager APIs.
                    Developed middle tier logic to migrate business function from PL-1 to J2EE


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                    Created mapper classes for COBOL copybook and associated business rules
                    implementation


                    Robert Half Technology
                    Java Software Consultant/ Picis
                    January 2006 - March 2006 (3 months)
                    Greater Chicago Area

                    Designed and built Human interface framework for a Hospital Triage and
                    Patient Management application.
                    Developed and built a working solution with enhanced featured like drag-
                    and-drop , custom floor-plan and patient avatars by types, patient search by
                    status , alerts management using Scalable Vector Graphics - (Batik java open
                    source )
                    Integrated java client with perl-based web service


                    First Bank of Nigeria Plc
                    Systems Analyst/ J2EE
                    January 2005 - December 2005 (1 year)
                    Developed Java component for SMS-based transaction management
                    Built prototype application for asynchronous multi-platform integration using
                    IBM MQ Series
                    Researched Lotus Dominos DomDoc integration with other applications


                    Socketworks
                    Project Manager / Business Analyst
                    September 2003 - February 2005 (1 year 6 months)
                    Lagos , Nigeria

                    Managed clients' engagement plan and requirement analyst
                    Created project plans , work breakdown structure and budget estimates
                    Provided project update to management and communicated effective status to
                    clients
                    Managed teams of developers and resources needed to deliver customer
                    products on budget and time
                    Managed portfolio of Application as a Service (SaaS) integration projects from
                    inception to client acceptance implementing business process on custom
                    portals in JBoss Application Server
                    Managed data transformation services for clients across database platforms


                    Metropolitan Bank
                    Financial Systems Analyst
                    September 2001 - September 2003 (2 years 1 month)
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                    Lagos, Nigeria

                    Built, maintained and integrated software solutions for Financial Control unit
                    Implemented patch and upgrade management for enterprise application
                    servers - Mail , Proxy, Firewall , Exchange and application servers.
                    Defined access controls for network-based applications
                    Designed and developed network-based image matching application for real-
                    time customer verification integrated to core banking module
                    Developed and maintained FOREX integration module with core banking
                    application for audit compliance and reconciliation
                    Managed software updates across bank locations
                    Reviewed vendor software and specification compliance


                    Aptech Computer Education UAE
                    Microsoft Certified Trainer
                    April 2000 - August 2001 (1 year 5 months)
                    Lagos, Nigera

                    Taught development and management of Microsoft Technologies from
                    Networking , Server Administration to Software Development (pioneered .Net
                    curriculum training)


                    Warri Refining & Petrochemical Company Limited
                    Program Analyst
                    February 1999 - December 1999 (11 months)
                    Warri , Nigeria

                    Reviewed and analyzed power plant operation data
                    Provided analysis for power plant downtime and capacity utilization for Turn
                    Around Maintenance
                    Developed automated tool for resource forecasting and Mean Time To Failure




                    Education
                    The University of Texas at San Antonio
                    Doctor of Philosophy (Ph.D.), Parallel and Distributed Systems · (2015 - 2020)


                    The University of Texas at San Antonio
                    Master of Science (M.S.), Computer Science · (2008 - 2014)


                    Stanford University
                    Professional Certificate, Software Security Foundations
                    Certificate · (2011 - 2011)
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                    University of Lagos
                    B.Sc, Computer Science · (1994 - 1998)




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Contact
                                     Tianyun Duan
www.linkedin.com/in/tianyun-         Software Engineer at Google
duan-80266895 (LinkedIn)             Austin, Texas Metropolitan Area

Top Skills                           Summary
Java
                                     Hi. My name is Tianyun Duan, but you can always call me Leon.
Python
C
                                     I recently graduated from the University of Texas at Austin with a
Languages                            B.S. degree in Electrical and Computer Engineering. Throughout
                                     my college career and internships, I acquired rich experience writing
Cantonese (Native or Bilingual)
                                     mid- to large-sized projects in various programming languages, as
English (Professional Working)
                                     well as a strong hardware background in embedded systems and
Chinese (Native or Bilingual)
                                     computer architecture.
Honors-Awards
                                     I am a ...
University Honors
                                     • Quick learner, as evidenced by self-teaching web technologies
                                     (JS, CSS, HTML, React, REST), Bash, Visual Basic, and data
                                     visualization with Python.
                                     • Meticulous professional, adept at writing code compliant with
                                     design specifications and requirements for a variety of software
                                     projects.
                                     • Articulate communicator, skilled at collaborating with team
                                     members to work on software projects from initiation to deployment;
                                     multilingual (English/Cantonese/Mandarin Chinese).


                                     When it comes to software development, I am experienced in coding
                                     in Python, Java, and C. I am also skilled in Linux, Git, PostgreSQL,
                                     GraphQL, REST, React, AWS, Spark, and algorithm design.


                                     I am currently working as a Software Engineer at Google.


                                     My github: https://github.com/LeonDuan



                                     Experience
                                     Google
                                     Software Engineer
                                     February 2019 - Present (2 years)
                                     Austin, Texas
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                    RetailMeNot, Inc.
                    Software Engineer
                    July 2018 - February 2019 (8 months)
                    Austin, Texas Area


                    The University of Texas at Austin
                    Teaching Assistant
                    January 2018 - May 2018 (5 months)
                    Austin, Texas Area

                    I was a teaching assistant for the class Software Testing at the University of
                    Texas at Austin


                    IGT
                    Software Developer Intern
                    May 2017 - August 2017 (4 months)
                    Austin, Texas Area

                    Designed and developed multiple utilities and tools; conducted research on
                    engaging the Millennials to play the lottery and collaborated on a presentation
                    presented to senior management. During my internship, I
                    - overhauled a sales report balancing utility written in C by adding a GUI and
                    plenty automation features to enhance ease of use; added multi-processing to
                    improve performance to up to 3x faster.
                    - developed a graphical Backup/Restore utility in Visual Basic; included
                    automation features that allow the utility to programmatically interact with
                    HTML pages; adopted for QA departmental use.
                    - created a Python Remote Disk Space Visualizer to display storage usage on
                    remote servers; enabled engineers to locate unneeded/garbage files without
                    using the command line.




                    Education
                    The University of Texas at Austin
                    Bachelor of Science (B.S.), Computer Engineering · (2014 - 2018)




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Contact
                                   Tom Li
www.linkedin.com/in/tom-           Senior Software Engineer at Google
li-8791289 (LinkedIn)              Austin, Texas Metropolitan Area
hi.baidu.com/leo_bear (Blog)

                                   Summary
Top Skills
Machine Learning                   Tom obtained his PhD degree in Applied Math in May 2014, under
Python                             the supervision of Dr. Charles Chui, from University of Missouri-
Computer Science                   St. Louis. His research focus simulation and signal processing of
                                   cochlea models. Tom worked as a summer intern in the Argonne
Languages                          National Lab in year 2012 and 2013. He was the programmer for the
Chinese                            distributed multi-level Toeplitz solver.
Cantonese
                                   Tom was a Master of Philosophy student from Computer Science
                                   department, City University of Hong Kong. He is under the
                                   supervision of Dr. Andy Chun Hon Wai, the current CIO of the
                                   school. Tom was working on the research area of music information
                                   retrieval.


                                   Tom obtained his bachelor degree in Wuhan University, PRC. Before
                                   that, he graduated from Qingyuan No.1 Middle School.


                                   Tom would like to meet technical people in various discipline for
                                   the opportunity of cross-discipline collaboration. Should you feel
                                   interested, please contact him via Linkedin or Email.


                                   Specialties: Fluent English, Fluent Mandarin, Fluent Cantonese,
                                   Parallel Programming with MPI, Data Mining, Python,



                                   Experience
                                   Google
                                   6 years 6 months

                                   Senior Software Engineer
                                   October 2016 - Present (4 years 4 months)


                                   Software Engineer
                                   August 2014 - Present (6 years 6 months)
                                   Mountain View, California


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                    Design and implement software systems. Run system in production. Start
                    experiments and study their results.


                    University of Missouri - St. Louis
                    PHD Student
                    August 2010 - May 2014 (3 years 10 months)
                    PhD student in applied math


                    Argonne National Laboratory
                    Summer Intern
                    May 2013 - August 2013 (4 months)
                    Programmer for the distributed multi-level Toeplitz solver project.


                    Argonne National Laboratory
                    Summer Intern
                    May 2012 - August 2012 (4 months)
                    Programmer for the distributed multi-level Toeplitz solver project.


                    City University of Hong Kong
                    MPhil of CS Department
                    September 2008 - August 2010 (2 years)
                    Research on machine learning and audio information retrieval.


                    Wuhan University
                    Undergraduate Student
                    September 2004 - June 2008 (3 years 10 months)




                    Education
                    University of Missouri-Saint Louis
                    Doctor of Philosophy (Ph.D.), Applied Mathematics · (2010 - 2014)


                    City University of Hong Kong
                    MPhil, Computer Science · (2008 - 2010)


                    Wuhan University
                    Bachelor, Computer Science · (2004 - 2008)


                    City University of Hong Kong
                    Exchange, Computer Science · (2006 - 2006)

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                    University of Missouri-Saint Louis




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Contact
                                  Tommy Messbauer
www.linkedin.com/in/              Software Engineering Manager at Google
tommymessbauer (LinkedIn)         Austin

Top Skills                        Summary
JavaScript
                                  Engineering leader and architect with a unique breadth of knowledge
Node.js
                                  around all software. Deep expertise in databases, middle-tier,
Neo4j
                                  microservices, event driven distributed platforms, front end web
                                  development, UX research, dev-ops, and more. Recent roles have
                                  spanned Program Management, Platform Architecture, Patterns and
                                  Practices, Solution Architecture acorss all layers of organizations
                                  both large and small. A towering strength is technical writing as
                                  well as verbal communcation to both technical and non-technical
                                  stakeholders. A natural leader and engineering polyglot. While many
                                  at this level no longer find time to build, I continue to code because
                                  I love doing it. I has been a key to effectively and efficiently applying
                                  technology to wide variation of problem spaces and industries.



                                  Experience
                                  Google
                                  Software Engineering Manager
                                  July 2020 - Present (7 months)
                                  Austin, Texas, United States


                                  Panther Shark
                                  Founder
                                  May 2019 - Present (1 year 9 months)
                                  Austin, Texas

                                  Custom product development, software architecture, and software
                                  development services - full stack, back-end design, cloud architecture, and
                                  front end expertise.


                                  Specialized in functional programming. Expert in SQL, no-sql, neo4j, React,
                                  Elm, AWS, Google Cloud, GraphQL, REST, Azure, server-less, containers.


                                  Recent projects involved Go, Typescript, Elm, Hasura, Postgres, Cesium,
                                  React. I also do team/people consulting, process analysis/optimization


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                    including best practices wrt code read, project management, product
                    management, and technology decision making.


                    CBANC Network
                    CTO
                    February 2014 - June 2019 (5 years 5 months)
                    Austin Area, Texas

                    Launched next generation community platform as well as mission critical
                    banking applications using combination of open source and native AWS
                    services combined with cutting edge technology. Leader in recruiting/ hiring,
                    software development lifecycle, and technology choices.
                    • Node.js micro-services and application servers powering mobile and web
                    apps
                    • Distributed event bus, leveraging AWS Lambda and other core services
                    • Elm and ReactJS/Redux front end applications, PWA’s (progressive web
                    apps)
                    • Responsive, mobile-first implementing Material Design
                    • Graph database as a core dependency leveraging Neo4j
                    • Data warehouse and analytics for driving industry insights
                    • Designed and Implemented dev-ops and full software development lifecycle
                    • No legacy. Always on latest version of everything
                    • Multiple team members are now technical leads or managers at companies
                    around Austin.
                    • Platform tech: Node.js, Webpack, Babel, Elastic Search, Neo4j, Postgres,
                    Auth0, AWS, RDS, SNS, Cloudwatch, S3, Lambda, Elm, React, Redux, SASS,
                    Material Design, Redash, Docker


                    Vast.com
                    Platform Architect / Front End Lead Engineer
                    January 2012 - January 2014 (2 years 1 month)
                    Austin, TX

                    Lead architect for front end and middle tier services. Designed cutting edge
                    patterns for middle tier service aggregation, front end development, and
                    platform / container / framework leadership targeted at turnkey and fully
                    custom app development.
                    • Architected node.js application platform, optimized to power many white
                    labeled applications.
                    • Implemented middle-tier event bus and microservices for search indexing
                    which reduced “time to site” metric to under 3 minutes and reduced operations
                    costs.

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                    • Empowered a 15+ person team in 3 countries to be leaders. Most became
                    managers or engineering leads in their next company.
                    • Platform tech: Node.js, SASS, jQuery, Backbone.js, Redis, RabbitMQ,
                    Angular.js, Elastic Search, Solr, Cassandra, Graphite.


                    Hewlett-Packard
                    Senior Engineer / Front End
                    April 2011 - December 2011 (9 months)
                    Austin, Texas Area

                    Front-end lead developer for 2 e-commerce teams supporting a migration
                    to next-generation e-commerce platform. UX redesign, front end patterns/
                    practices leveraging jQuery plugin architecture, and middle tier support.


                    • UX design/ wireframes, HTML5, CSS/CSS3, jQuery plugin development
                    • Led US-based developers. Main point of contact for large team in Singapore
                    • SEO strategist – urls, meta-data, microformats
                    • Assisted back end team with data pipelines and platform services
                    • Collaborated with ops on virtual machines for developers


                    Neudesic
                    Lead developer / Microsoft Communities
                    November 2007 - April 2011 (3 years 6 months)
                    Austin, TX

                    Lead developer for Microsoft using ASP.NET MVC3, jQuery, HTML5, CSS,
                    and Umbraco.


                    • Performance optimized SQL Server database
                    • Built new middle tier data access layer
                    • Implemented ASP.NET MVC front end application and ground-up HTML/CSS
                    rebuild
                    • Keynote speaker at Umbraco Conference


                    The following sites re-designed and re-implemented under my leadership.
                    http://www.asp.net, http://www.silverlight.net, http://forums.asp.net, http://
                    forums.silverlight.net, http://forums.iis.net


                    The following were maintained and incrementally improved under my
                    leadership
                    http://weblogs.asp.net ,http://www.iis.net, http://windowsclient.net



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                    29th Drive
                    Contract Developer
                    2010 - 2011 (1 year)
                    Built the foundation for http://moreblu.com. MoreBlu lets you and others
                    upload, present, and comment on both desktop and mobile designs similar to
                    the features in InVisionApp, but before it existed.


                    Dell
                    Software Developer Architect
                    July 2004 - November 2007 (3 years 5 months)
                    Austin, Texas Area

                    Led a green-fields software platform for the escalation support team which was
                    brought over to IT. Once in IT, the application was a Class 1 (meaning it costs
                    $1M or more every minute it is down) so high performance and high availability
                    was critical. Saved company $35 million annually supporting human and HW
                    infrastructure is extremely low compared to other company applications.


                    This is a cool story that happened within a large company in a way that rarely
                    occurs. Ask me about this.


                    Full Sail
                    Game Design Instructor
                    2000 - 2003 (3 years)
                    Orlando, Florida Area

                    Taught game development programming, OpenGL, and artificial intelligence
                    for the game design program. Collaborated with Sun on Java 3D and
                    presented at Game Developer conference.




                    Education
                    University of Central Florida
                    Bachelor of Science, Computer Science · (1995 - 2000)




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Contact
                                   Trevor Pace
www.linkedin.com/in/pacetrevor     Software Engineer at Google
(LinkedIn)                         Austin

Top Skills                         Summary
JavaScript
                                   I'm a full-stack engineer with a strong background in Javascript. I
Node.js
                                   excel at solving the problems that come with creating an engaging
Express.js
                                   user experience, I have a passion for open-source, and I love to
                                   build new and exciting things with my skill set. When tackling a
                                   problem, I like to research the problem in depth and explore a
                                   variety of solutions. Before touching the keyboard, I like to walk
                                   through the logic I've written to make sure everything is sound. I
                                   thrive in fast-paced environments with great communication and a
                                   focus on autonomy. As far as engineering goes, I enjoy the process
                                   from beginning to end, from early mock-ups and product design, to
                                   deployment and beyond.



                                   Experience
                                   Google
                                   Software Engineer
                                   November 2018 - Present (2 years 3 months)
                                   Austin, Texas, United States


                                   Datafiniti
                                   Software Engineer
                                   July 2016 - November 2018 (2 years 5 months)
                                   Austin, TX

                                   ● Upgrade legacy Erlang API to Java to modernize technology
                                   ● Build reusable front-end components using React + Redux
                                   ● Write back-end code using NodeJS/Express to power front-end applications
                                   ● Write custom web crawls utilizing node.js for a distributed web crawling
                                   platform
                                   ● Update legacy Java code to improve data quality standards throughout the
                                   product
                                   ● Work towards bridging the gap between the technical and non-technical staff


                                   Weebly
                                   Customer Success Advocate
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                    September 2015 - February 2016 (6 months)
                    Scottsdale, AZ

                    ● Increased customer website traffic by 25% using various SEO tactics
                    ● Maintained over 25 client accounts at any given time
                    ● Generated a total of $1000 in revenue each week while solving technical
                    issues
                    ● Improved the user experience by participating in QA tests for new product
                    releases
                    ● Documented issues throughout QA tests


                    Concentrix
                    Customer Support
                    January 2015 - September 2015 (9 months)
                    Tempe, AZ

                    ● Answered incoming calls & directed to several departments
                    ● Provided detailed information on company services
                    ● Answered consumer e-mails with supportive information related to their
                    inquiry
                    ● Assisted with questions regarding product, payment and order status


                    Herff Jones
                    Data Entry Clerk
                    2014 - 2015 (1 year)
                    Arcola, IL

                    ● Increased company productivity by keying over 100 entries an hour into data
                    entry software
                    ● Keyed height, weight and cap measurements for student graduations
                    ● Filed paperwork in alphabetical filing system as well as saved information
                    online


                    Sam's Club
                    Electronics Sales Associate
                    2012 - 2013 (1 year)
                    Champaign, IL

                    ● Aided customers with any questions they had about our products/services
                    ● Set up TVs/Computers for display in-store
                    ● Helped rest of the store with other responsibilities:
                    - stocking
                    - cleaning,
                    - aiding lifts

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                    Eastern Illinois University
                    Technology Help Desk Associate
                    August 2011 - May 2012 (10 months)
                    Charleston, IL

                    ● Made forms using Microsoft Word/Excel for office use
                    ● Filed documents regarding repairs as well as entering into a ticketing system
                    ● Took phone calls from students/professors alike regarding technical issues
                    ● Worked with issues from malware to internet connection issues on campus
                    ● Entered calls into a ticketing system as we helped users
                    ● Urged users who had hardware issues to bring their machines in
                    ● Offered a laptop malware removal service in-office




                    Education
                    Parkland College
                    Computer Science · (2012 - 2015)


                    Hack Reactor
                    Computer Software Engineering · (2016)


                    Eastern Illinois University
                    Management Information Systems, General · (2011 - 2012)




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Contact
                                      Turgay Senlet, PhD
www.linkedin.com/in/turgay-senlet-    Software Engineer at Google
phd (LinkedIn)                        Austin
paul.rutgers.edu/~tsenlet/ (Other)

                                      Summary
Top Skills
Algorithms                            I am a computer science researcher and software engineer with 11
Software Engineering                  years of industry experience. Worked in software and research roles
Computer Vision                       at Google and Aselsan. I also worked as Computer Vision research
                                      intern at Google and Technicolor.
Languages
French (Elementary)                   I have interest in Computer Vision, Robotics and Software
Turkish (Native or Bilingual)         Engineering.
English (Full Professional)
                                      During my time in industry, I performed duties of algorithms designer,
Honors-Awards                         software engineer and software team leader.
Honor Award
                                      I have considerable experience in software development with Java,
Publications                          C/C++, C#, Python, GoLang and UML. In addition to my job work,
Technical Report - Connecting to      I built several mid-size commercial applications. Furthermore, I am
Rhapsody from C# Programming          very proficient in algorithms design using Matlab.
Language using COM Interface
Vision Based Obstacle Detection
and Avoidance Using Low Level         I have a major degree in Electrical and Electronics Engineering and
Image Features                        a double major degree in Mathematics. I have done my masters in
Technical Report - Connecting         Electrical and Electronics Engineering.
to Matlab from C# Programming
Language using COM Interface
Technical Report - Creating           In my Ph.D. I worked with Prof. Ahmed Elgammal on building novel
Graphical User Interfaces for         3D computer vision algorithms that will enable robots to exist and
Rhapsody Programs using Borland
C++ Builder
                                      interact with people in their daily environments and devised visual
Segmentation of Occluded
                                      outdoor localization algorithms.
Sidewalks in Satellite Images
                                      Specialties: Computer Vision, Robotics, Robot Localization, Target
                                      Tracking, UML, System Architecture



                                      Experience
                                      Google
                                      Software Engineer
                                      October 2014 - Present (6 years 4 months)
                                      Austin, Texas Area
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                    Working in Google for Cloud Technical Solutions Team team under CorpEng
                    as a Tech Lead and Software Engineer.


                    Rutgers University
                    5 years 8 months

                    PhD Student at Department of Computer Science
                    September 2009 - April 2015 (5 years 8 months)
                    New Brunswick, NJ

                    - Robot Campus Navigation
                    - Precise Robot Localization on Sidewalks Using Satellite Images and
                    Sidewalk Probabilities
                    - Global Vehicle Localization Using Stereo Images and Satellite and Road
                    Maps
                    - Developing the Rutgers Environment Sensing Robot Platform
                    - Developing Technology to Support Complex Work of Trauma Resuscitation
                    Teams

                    Teaching Assistant
                    September 2009 - October 2014 (5 years 2 months)
                    Department of Computer Science

                    - CS334 Introduction to Imaging and Multimedia - Instructed part of the course
                    where fundamentals of image processing, computer vision and multimedia
                    computing concepts were introduced. Contributed in the design of student
                    projects and graded them. Taught recitations with new course topics.
                    - CS213 Introduction to
                    Software
                    Methodology
                    - Essential principles, techniques, tools, and methods used to develop large
                    software programs in Java. Object-oriented programming and design, UML,
                    testing and debugging, event-driven programming in a GUI framework, version
                    management, building software on mobile platforms, multithreading and
                    network programming and object persistence. Designed main course project,
                    guided creation of novel project ideas and graded assignments, projects and
                    exams.
                    - CS214 Systems Programming with C and Unix - Introduced systems
                    programming in C and Unix with key concepts like memory management,
                    multi-threading, testing and debugging.
                    Graded projects in terms of design and coding, designed one of the projects,
                    taught recitations and review sessions.



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                    - CS112 Data Structures with Java - Given introduction to essential properties
                    of data structures and algorithms to extending to search, sort and hashing
                    techniques.
                    Done recitations, lab sessions and grading.
                    - CS110 Introduction to Computers and Their Application - Given introduction
                    to computer programming and modern application packages for non computer
                    science majors.
                    Done review sessions, lab sessions, project and exam grading.


                    Google
                    SWE - Research Intern
                    June 2013 - August 2013 (3 months)
                    Google Research

                    Computer Vision Research Intern


                    Active view selection research for 3D object recognition for products using C/C
                    ++, Matlab and MapReduce


                    Google
                    SWE - Research Intern in Self-Driving Car Project
                    June 2012 - August 2012 (3 months)
                    Mountain View, CA

                    Worked on Google Self-Driving Car Project - Computer Vision Group


                    -Performed research and development on Google Self-Driving Car software
                    -Built an entire on-board computer vision module including algorithms design,
                    implementation of real-time code and the tests
                    -Patent applications for built computer vision algorithms


                    Technicolor Corporate Research
                    SWE - Research Intern in 2D to 3D Video Conversion Project
                    June 2010 - August 2010 (3 months)
                    Princeton, NJ

                    Research Intern at Technicolor Corporate Research located in Princeton, NJ
                    as a member of the 2D to 3D video conversion team
                    - Performed research and development on 2D-3D video conversion and
                    reconstruction, especially on video mosaicing, image inpainting and visually
                    consistent video inpainting algorithms
                    - Developed a video inpainting and stereo reconstruction software which
                    reduces the operator’s workload by 90% in 2D to 3D video conversion process

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                    - Patent application pending for developed algorithms, systems and software


                    Aselsan
                    Senior Software Engineer
                    June 2002 - August 2009 (7 years 3 months)
                    - Expertise in model based design, safety critical programming and computer
                    vision
                    - Developed company-wide coding, design and reusability standards for C++,
                    C# and UML
                    - Responsible for integration of helicopter control software project
                    - Responsible for coordinated software integration of several major avionics
                    projects
                    - Designed and developed Computer Vision algorithms for multi-target tracking
                    algorithms in thermal imaging systems. Algorithms are being used in several
                    manned and unmanned airborne, ground and naval vehicles
                    - Designed modular target tracking architecture for multi-platform application of
                    the target tracking algorithms. With this architecture, same algorithm code was
                    being used in in production systems with 4+ CPU different types and 5+ OSs
                    different without any changes
                    - Designed and developed real-time 3D visual simulation environment for
                    target tracking application to be used in multiple projects. Production code was
                    being directly tested on simulation environment
                    - Developed UML design strategies for company division
                    - Developed graphical user interface design and testing tool for avionic
                    systems for rapid prototyping, document generation and generating complete
                    live system mocks
                    - Gave one-to-one and group trainings to new employees on ongoing projects,
                    design criteria, safety critical coding and system integration topics
                    - Published nine company-wide technical reports


                    Aselsan
                    Intern Engineer
                    July 2000 - August 2000 (2 months)
                    - Worked on video processing algorithms to reconstruct analog video signals in
                    to color digital image frames using Matlab Simulink


                    Aselsan
                    Intern Engineer
                    July 1999 - August 1999 (2 months)



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                    - Worked on data transfer using modulated LASER signals for long distance,
                    low-loss data communications
                    - Worked on video processing algorithms to reconstruct analog video signals in
                    to digital image frames using Intel 8051 microprocessors




                    Education
                    Rutgers, The State University of New Jersey-New Brunswick
                    Doctor of Philosophy (Ph.D.), Computer Science · (2009 - 2015)


                    Orta Doğu Teknik Üniversitesi / Middle East Technical University
                    Master of Science (M.Sc.), Electrical and Electronics
                    Engineering · (2003 - 2006)


                    Orta Doğu Teknik Üniversitesi / Middle East Technical University
                    B.Sc., Mathematics · (1999 - 2003)


                    Orta Doğu Teknik Üniversitesi / Middle East Technical University
                    B.Sc., Electrical and Electronics Engineering · (1998 - 2002)




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Contact
                                    Tyler O'Meara
www.linkedin.com/in/tyleromeara     Software Engineer at Google
(LinkedIn)                          Austin

Top Skills                          Summary
Java
                                    I'm a Software Engineer with experience working at Quora,
Python
                                    Dropbox, and Visa. My areas of interest within Computer Science
C++
                                    are Distributed Systems, Security Engineering, Networking, and
Languages                           Software Engineering. While at Quora and Dropbox, I worked on the
                                    infrastructure security teams, developing applications and designing
English
                                    distributed systems tailored for security and reliability in large internal
Publications                        infrastructures.

Securing DNSSEC Against State
Level Adversaries
Securing NFC Credit Card Payments   Experience
against Malicious Retailers
                                    Google
                                    Software Engineer
                                    January 2018 - Present (3 years 1 month)
                                    Mountain View, California


                                    Quora
                                    Software Engineer
                                    January 2017 - January 2018 (1 year 1 month)
                                    Mountain View, California

                                    At Quora I worked as a Software Engineer on the Infrastructure team
                                    with a primary focus on Infrastructure Security. In addition to my work on
                                    infrastructure security, I worked with other members of the infrastructure team
                                    to propose and enact changes to our core infrastructure to improve security,
                                    reliability and operational overhead. I also assisted engineers across the
                                    company in designing distributed systems that are performant, reliable, and
                                    secure while maintaining simplicity.


                                    • Designed, implemented, and rolled out new extensible SSH infrastructure to
                                    all developers with minimal interruption to existing workflows
                                    • Leveraged the new SSH infrastructure to require two factor authentication
                                    (2FA), central key management, and improved auditability for all SSH
                                    connections
                                    • Developed a long term plan for the ingestion, processing, and analysis of
                                    security logs in collaboration with the Data Platform team
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                    • Led infrastructure modernization efforts by pioneering the use of new
                    industry standard technologies such as Docker containers and autohealing
                    infrastructure
                    • Coordinated with several engineers to enact process improvements for
                    documentation, response, and long term resolution of infrastructure incidents
                    and to improve team efficiency


                    Dropbox
                    Software Engineering Intern
                    May 2016 - August 2016 (4 months)
                    San Francisco

                    Member of the Infrastructure Security Team, which works to keep Dropbox's
                    production infrastructure secure.
                    I worked on security improvements to Grouper (https://github.com/dropbox/
                    grouper), which is an open source Python based access control/authorization
                    program used at Dropbox for managing the access of employees.
                    Changes I made include:
                    * Support for groups to have default expiration times after which members are
                    automatically removed
                    * Support for users to select which shell they prefer to use (i.e. bash or zsh)
                    * Tagging public keys, which allows users to restrict what uses a given SSH
                    key is valid for
                    * Adding Service Account support in order to facilitate access for non-human
                    users (such as automated scripts and programs)
                    * Add support for integrating with and managing secret distribution systems
                    * Enable users to add passwords to their accounts for backwards compatibility
                    with applications that don't yet support OAuth2
                    * Automatically detect users with improper access to audited groups and
                    revoke that access


                    Visa
                    Software Engineering Intern
                    June 2015 - August 2015 (3 months)




                    Education
                    Stanford University
                    Master of Science - MS, Computer Science · (2019 - 2021)


                    The University of Texas at Austin
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                    Bachelor of Science (B.S.), Computer Science · (2014 - 2016)




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Contact
                                     Vamsi Vishnubhotla
www.linkedin.com/in/                 Software Engineer at Google
vamsivishnubhotla (LinkedIn)         Austin

Top Skills                           Experience
Web Development
JavaScript                           Google
Computer Science                     Software Engineer
                                     April 2020 - Present (10 months)
                                     Austin, Texas, United States
Languages
Telugu (Limited Working)
English (Native or Bilingual)        Amazon Web Services (AWS)
                                     Software Development Engineer II
                                     July 2019 - March 2020 (9 months)
                                     Greater Seattle Area


                                     athenahealth
                                     4 years 9 months

                                     Senior Software Engineer
                                     February 2017 - May 2019 (2 years 4 months)
                                     Austin, Texas Area

                                     • Implemented an HL7 FHIR-compliant REST API for surfacing Scheduling
                                     related data
                                     to consumers, both within the company and to third-party partners.
                                     • Building and deploying containerized microservices to perform event stream
                                     processing for the Patient Access and Scheduling applications.
                                     • Led the technical design for a real-time data pipeline using Kafka from our
                                     on-prem
                                     data centers to our public cloud hosted applications so we could gradually
                                     migrate
                                     clients to our new services.

                                     Software Engineer
                                     September 2014 - February 2017 (2 years 6 months)
                                     Austin, Texas Area

                                     • Briefly worked on Production Support for athenaCoordinator, the platform that
                                     allows practices to share documents (referrals, orders, etc) with one another.
                                     • While on the Scheduling team, where we did a re-architecting of the
                                     scheduling solutions for healthcare providers, including developing the



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                    platform and APIs for surfacing appointment availability that both internal and
                    external applications consume.
                    • Built the workflows that enable clients to migrate from the legacy scheduling
                    system onto the newly constructed one.


                    The University of Texas at Austin
                    Student Associate Developer
                    September 2013 - July 2014 (11 months)




                    Education
                    The University of Texas at Austin
                    Bachelor of Science (BS), Computer Science · (2009 - 2014)


                    Mcneil High School
                    High School Diploma · (2005 - 2009)




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Contact
                                       Wenbin Chen
www.linkedin.com/in/ericchen99         Software Engineer at Google
(LinkedIn)                             Austin

Top Skills                             Summary
Microsoft Office
                                       • Language: Java (4+ years) and Python (3+ years)
Microsoft Excel
                                       • Computer Science Basic: excellent analytic and problem solving
Microsoft Word
                                       skills, solid in data structures, algo-
Languages                              rithms, SQL, and OOP/OOD
                                       • Distributed System: HDFS, Dynamo, BigTable, Kafka
English (Professional Working)
                                       • Database: MySQL, Cassandra, MongoDB
Mandarin (Native or Bilingual)
                                       • Big Data: Fluent in data collection, data extracting, data clean, data
Publications                           analysis and visualization; familiar with big data frameworks such as
                                       Storm and Hadoop
Crush GMAT on First Try
                                       • Machine Learning: SVM, Logistic Regression, Neural Network and
GMAT Verbal Preparation
                                       Deep Learning



                                       Experience
                                       Google
                                       Software Engineer
                                       March 2020 - Present (11 months)
                                       Austin, Texas, United States




                                       Education
                                       International Technological University (ITU)
                                       Master's degree, Computer Software Engineering · (2017 - 2019)


                                       The University of Taxas at Dallas
                                       M.S., Information Technology and Management · (2013 - 2014)


                                       Xi'an Jiaotong University
                                       B.S., Public Health · (2001 - 2006)




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Contact
                                   William Gerber
www.linkedin.com/in/wgmit          Software Engineering Manager at Google
(LinkedIn)                         Austin

Top Skills                         Summary
Agile Methodologies
                                   Over 18 years of software development life cycle experience with
Cloud Computing
                                   hands on involvement in all stages of delivering on-prem, hosted,
Project Management
                                   and cloud native solutions. Experienced working with stakeholders
                                   to turn ideas into concrete requirements and plans. Collaborative
                                   team leadership approach used to foster ownership of goals and
                                   sustain high velocity team output. Constant balancing of time-to-
                                   market, cost, and quality based on deep technical knowledge and
                                   open exchange of ideas.



                                   Experience
                                   Google
                                   Software Engineering Manager
                                   December 2019 - Present (1 year 2 months)
                                   Austin, Texas Area


                                   Zenoss, Inc.
                                   8 years 1 month

                                   Senior Software Engineering Manager
                                   September 2017 - November 2019 (2 years 3 months)
                                   Austin, Texas Area

                                   - Created company’s first cloud native application on schedule with fixed
                                   resources.
                                   - Achieved rapid results through the use of GCP technologies including Cloud
                                   Dataflow, Pub/Sub, Kubernetes, Bigtable, and more.
                                   - Composed initial set of SLI/SLO/SLAs for new application by working with
                                   stakeholders and operations/SRE team.
                                   - Designed and implemented modern UX/UI by working with internal and
                                   external stakeholders to define user journeys, wireframes, and prototypes.

                                   Software Engineering Manager
                                   November 2012 - September 2017 (4 years 11 months)
                                   Austin, Texas Area


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                    - Improved installation and manageability of on-prem application through
                    Docker containerization and distribution/coordination across multiple hosts.
                    - Optimized time series data storage system by replacing existing storage with
                    OpenTSDB on HBase.
                    - Regulated license compliance through training and licenses scanning.
                    - Directed customer crisis escalations through ultimate resolution.

                    Senior Software Engineer
                    November 2011 - October 2012 (1 year)
                    Austin, Texas Area

                    - Dramatically decreased ETL load time by optimizing MySQL stored
                    procedures, SQL queries, and database schema design.
                    - Served as sole engineer supporting business intelligence tool using Java,
                    Spring Framework, MySQL stored procedures, and ETL processes.
                    - Investigated and resolved customer escalations.


                    Coral Networks
                    Software Engineering Manager and Developer
                    August 2009 - November 2011 (2 years 4 months)
                    - Initial developer hired by founder to expand on his Java application and
                    integrate it with Rackspace VM services.
                    - Built engineering team from ground up and served as manager and
                    developer.


                    Eastern Research Group (ERG)
                    Project Manager and Engineer
                    March 2001 - August 2009 (8 years 6 months)
                    - Designed, developed, and launched online systems for reporting and
                    managing air pollution inventories for various state and national agencies.
                    - Architected Oracle data warehouse with Star Schema, wrote ETL processes,
                    and created Oracle stored procedures.




                    Education
                    Massachusetts Institute of Technology
                    Masters, Nuclear Engineering


                    The University of Texas at Austin
                    BS, Mechanical Engineering

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Contact
                                    William Magro
www.linkedin.com/in/william-magro   Chief Technologist, High Performance Computing at Google
(LinkedIn)                          Austin

Top Skills                          Experience
High Performance Computing
Parallel Computing                  Google
Business Strategy                   Chief Technologist, High Performance Computing
                                    August 2020 - Present (6 months)
                                    Austin, Texas, United States
Languages
German
                                    Intel Corporation
                                    20 years 4 months

                                    Intel Fellow and Chief Technologist, High Performance Computing
                                    March 2017 - August 2020 (3 years 6 months)
                                    Austin, Texas Area


                                    Intel Fellow and Chief Technologist, HPC Software
                                    November 2015 - March 2017 (1 year 5 months)
                                    Urbana-Champaign, Illinois Area


                                    Intel Fellow and Chief Technologist, Technical Computing Software
                                    April 2014 - November 2015 (1 year 8 months)


                                    Director, Technical Computing Software Solutions
                                    September 2011 - April 2014 (2 years 8 months)


                                    Director, HPC Software Solutions
                                    2006 - September 2011 (5 years)


                                    Director, Parallel Applications Center
                                    May 2000 - 2006 (6 years)


                                    Infiniband Trade Association
                                    Co Chair, Technical Working Group
                                    November 2007 - August 2020 (12 years 10 months)
                                    As co-chair of the Technical Working Group, responsible for the technical
                                    definition and evolution of the InfiniBand specification and standard, including
                                    classic InfiniBand fabrics and RoCE (RDMA over Ethernet). The TWG
                                    oversees all IBTA technical working groups, including Link WG, Electrical WG,
                                    Software WG, Management WG, and ad hoc working group, as required.


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                    Kuck and Associates, Inc.
                    Product Manager
                    September 1997 - May 2000 (2 years 9 months)


                    Cornell University
                    3 years

                    Member of the Technical Staff, Cornell Theory Center
                    1996 - September 1997 (1 year)


                    NSF Postdoctoral Fellow
                    1994 - 1996 (2 years)
                    Ithaca, New York, United States

                    Postdoctoral associate in Physics and High-Performance Computing at the
                    Cornell Theory Center, an NSF-funded national super-computing center.




                    Education
                    University of Illinois at Urbana-Champaign
                    Ph.D., Quantum Many-body Physics · (1988 - 1994)


                    Cornell University
                    B.Eng, Applied and Engineering Physics · (1984 - 1988)




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Contact
                                  Xuezhu Zhang
www.linkedin.com/in/xuezhu-       Software Engineer at Google
zhang-494757115 (LinkedIn)        Austin

Top Skills                        Summary
C++
                                  --Strong Data Structures, Algorithms knowledge and analysis skills,
SQL
                                  solid understanding of
Java
                                  object oriented programming and design patterns
                                  --Experienced in software development utilizing multiple languages
                                  including Java, JavaScript，C++, Ruby，PHP and SQL with IDEs/
                                  tools(Eclipse, vim)
                                  --Hands on experience in UNIX/Linux/OS X environments
                                  --Experience in web application and mobile app development using
                                  WordPress and Android
                                  studio
                                  --In-depth knowledge in multi-thread, asynchronous and event based
                                  programming
                                  --Highly self-motivated, quick learner, excellent communication and
                                  interpersonal skills



                                  Experience
                                  Google
                                  Software Engineer
                                  November 2019 - Present (1 year 3 months)
                                  Austin, Texas


                                  Amazon
                                  Software Development Engineer
                                  February 2018 - November 2019 (1 year 10 months)
                                  Austin, Texas


                                  Amazon
                                  SDE Intern
                                  May 2017 - August 2017 (4 months)
                                  Austin, Texas Area




                                  Education
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                    Texas State University
                    Master of Science (M.S.), Computer Software Engineering · (2016 - 2017)


                    University of Houston
                    Bioengineering and Biomedical Engineering · (2014 - 2015)


                    Sun Yat-Sen University
                    Bachelor of Engineering (B.E.) · (2008 - 2012)




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Contact
                                     Zach Wilson
www.linkedin.com/in/zakrywilson      Software Engineer at Google
(LinkedIn)                           Austin
github.com/zakrywilson (Portfolio)

                                     Experience
Top Skills
Java                                 Google
Python                               2 years 8 months
C                                    Software Engineer
                                     June 2020 - Present (8 months)
Languages                            Austin, Texas, United States
English (Native or Bilingual)
                                     Technical Solutions Engineer
                                     June 2018 - June 2020 (2 years 1 month)
Certifications
                                     Austin, Texas Area
Audio Recording Technology
                                     One year doing support for GCP; another year developing for the GCP console
                                     before switching to Software Engineer.
Honors-Awards
Colorado State Cup Soccer MVP
                                     a.i. solutions
                                     Software Engineer
                                     May 2016 - June 2018 (2 years 2 months)
                                     Colorado Springs, Colorado Area

                                     • Java 8, Python, Kotlin, Bash, Batch
                                     • Linux (CentOS, Fedora, Ubuntu), Windows
                                     • WebLogic, JBoss WildFly, WildFly Swarm, Tomcat, Jetty
                                     • Spring Boot, Netflix OOS, Dropwizard, Swagger, Jersey, Apache CXF
                                     • REST, SOAP, JMS (HornetQ, ActiveMQ), JAX-WS, JAXB, JAX-RS
                                     • JPA (Hibernate), JDBC, MySQL, PostgreSQL, Oracle, MongoDB
                                     • SoapUI, JUnit, Mockito, WireMock, Arquillian
                                     • JavaFX, Java Swing
                                     • XML, HTML, CSS, YAML, JSON
                                     • Git, GitHub, Bitbucket, SVN
                                     • Maven, Gradle, Jenkins


                                     New Life Church
                                     Audio Engineer
                                     February 2015 - November 2016 (1 year 10 months)
                                     • In-depth knowledge of audio systems
                                     • Audio signal processing
                                     • Microphone techniques

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                    • Attention to detail
                    • Working well under pressure
                    • Ability to change priorities and demands on the fly
                    • Working as a team


                    Northrop Grumman Corporation
                    Software Developer (Intern)
                    May 2015 - May 2016 (1 year 1 month)
                    Colorado Springs, Colorado

                    • Decreased execution time of Java message manipulation system by 52%.
                    • Designed Java Swing GUI for simpler usage of file processing systems
                    • Improved team project code coverage by 37%.
                    • Refactored and merged several packages to enhance extensibility and
                    increase simplicity of code base.
                    • Eliminated 95% of all FindBugs in team Java code base.




                    Education
                    University of Colorado Colorado Springs
                    Bachelor of Science (B.S.), Computer Science · (2012 - 2016)


                    Citrus College
                    Audio Engineering Certificate, Recording Arts Technology/
                    Technician · (2011 - 2012)


                    Azusa Pacific University
                    Music Theory · (2010 - 2011)




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